Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20      Desc
                         Main Document    Page 1 of 146


      SEAN A. O’KEEFE – State Bar No. 122417
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  6
                            UNITED STATES BANKRUPTCY COURT
  7                          CENTRAL DISTRICT OF CALIFORNIA
                                  LOS ANGELES DIVISION
  8

  9    GLENROY COACHELLA, LLC                     Case No. 2:21-bk-11188-BB
 10
             Debtor.                              Chapter 7
 11
                                                  DEFENDANT ELLIOT B. LANDER’S
 12                                               OPPOSITION TO CHAPTER 7
                                                  TRUSTEE’S MOTION FOR ENTRY
 13                                               OF ORDER (1) DETERMINING
                                                  THAT TRUSTEE DOES NOT HAVE
 14
                                                  TO RESPOND TO NON-
 15                                               BANKRUPTCY COURT SUBPOENA
                                                  FOR FAILURE TO COMPLY WITH
 16                                               BARTON DOCTRINE; OR, IN THE
                                                  ALTERNATIVE, (2) AUTHORIZING
 17                                               TRUSTEE TO INCUR
 18                                               ADMINISTRATIVE EXPENSES AND
                                                  TO USE ESTATE PROPERTY TO
 19                                               RESPOND TO NON-BANKRUPTCY
                                                  COURT SUBPOENA;
 20                                               DECLARATION OF SEAN A.
                                                  O’KEEFE IN SUPPORT THEREOF
 21

 22                                               DATE: September 6, 2023
                                                  TIME: 10:00 a.m.
 23                                               PLACE: Courtroom 1539 of the Edward
                                                  R. Roybal Federal Building and
 24                                               Courthouse at 255 E. Temple Street, Los
                                                  Angeles, California
 25

 26

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Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                 Desc
                             Main Document    Page 2 of 146


  1          Dr. Elliot B. Lander (“Dr. Lander”) hereby submits the within Opposition to the Chapter 7

  2   Trustee’s Motion For Entry Of Order (1) Determining That Trustee Does Not Have To Respond

  3   To Non-Bankruptcy Court Subpoena For Failure To Comply With Barton Doctrine; Or, In The

  4   Alternative, (2) Authorizing Trustee To Incur Administrative Expenses And To Use Estate Property

  5   To Respond To Non-Bankruptcy Court Subpoena (the “Motion”) filed by Richard Marshack, the

  6   Chapter 7 trustee (the “Trustee”). This Opposition is supported by the attached Declaration of Sean

  7   A. O’Keefe (the “OKeefe Decl.”).

  8                                  I     SUMMARY OF OPPOSITION

  9          On July 21, 2023, counsel for Dr. Lander issued a subpoena duces tecum to the Trustee

 10   seeking documents relevant to the claims and defenses asserted in U.S. Real Estate Credit Holdings

 11   III-A, LP. V. Glenroy Coachella, LLC, et. al., a case pending before the California Superior Court

 12   for the County of Riverside as Case No. RIC1905743 (the “State Court Case”). (Ex. 1, OKeefe

 13   Decl.). This discovery request seeks a very narrow category of documents: The communications the

 14   Trustee exchanged with U.S. Real Estate Credit Holdings III-A, LP/Calmwater Capital, Gary

 15   Stiffelman, and Edwin Leslie (the receiver appointed in the State Court Case) during in the 2021

 16   through 2023 time frame. Id.

 17          The requested documents could be assembled within an hour by a paralegal, via an outlook

 18   search, since no privilege exists. If this single hour of time is too great a burden for the bankruptcy

 19   estate, Dr. Lander’s counsel is more than willing supply a paralegal at his expense to conduct this

 20   search. Instead of simply complying with Dr. Lander’s de minimis discovery request, the Trustee

 21   filed a five hundred page motion that seeks to preclude access. This motion should be denied for the

 22   following reasons:

 23                  A.      The Trustee’s attempt to exempt the estate from complying with third party

 24   discovery requests is directly contrary to the mandate in 28 U.S.C. § 959(b):
             … a trustee, receiver or manager appointed in any cause pending in any court of the
 25          United States, including a debtor in possession, shall manage and operate the property
 26          in his possession as such trustee, receiver or manager according to the requirements
             of the valid laws of the State in which such property is situated, in the same manner
 27          that the owner or possessor thereof would be bound to do if in possession thereof.

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Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                             Main Document    Page 3 of 146


  1   Id. This import of this statute is clear: A trustee or receiver must comply with the laws of the State

  2   “in the same manner that the owner”. Since Glenroy would have been required to comply with the

  3   subpoena, the Trustee is required to comply.

  4                  B.      The relief prayed for in the Motion is directly contrary to controlling

  5   precedent in this district. See In re Media Group, Inc., 2006 WL 6810963 (9th Cir. B.A.P. 2006)

  6   (Declining to expand the Barton Doctrine to bar compliance with a subpoena).

  7                  C.      The relief prayed for misconstrues the Barton Doctrine. As the Court

  8   explained in In re Christensen, 598 B.R. 658, 664–65 (Bankr. D. Utah 2019):”

  9          Stated another way, Barton “does not shield trustees from lawsuits. Rather, the
 10          doctrine requires the bankruptcy court to determine where the suit may be brought,
             not whether the trustee may be sued.”14 In sum, Barton is strictly a “jurisdictional
 11          gatekeeping doctrine,”15 and it strips all courts—except the bankruptcy court that
             appointed the trustee—of subject-matter jurisdiction to hear a lawsuit against the
 12          trustee unless the appointing court gives its permission to sue the trustee elsewhere.16
             Only if the Debtors' proposed complaints pass through Barton's jurisdictional gate
 13
             will the Debtors be able to file suit against the Trustee outside of this Court.
 14   Id. Dr. Lander is not asserting any claims against the Trustee through the subpoena. He is not
 15   seeking to file a “lawsuit” in this Court or in any other. Accordingly, he is under no duty to seek
 16   permission to do what he does not intend to do.
 17                  D.      The relief prayed for would be contrary to the plethora of authorities that hold
 18   the automatic stay does not bar the issuance of third party to discovery to debtors-in-possession and
 19   trustees. See In re Miller, 262 B.R. 499, 505 (B.A.P. 9th Cir. 2001); In re Kenoyer, 489 B.R. 103,
 20   121–22 (Bankr. N.D. Cal. 2013); Couture Textile, Inc. v. Rue 21, Inc., No. CV 16-05544-BRO
 21   (AGR), 2017 U.S. Dist. LEXIS 222962, at *14 (C.D. Cal. July 21, 2017) (quoting In re Miller, 262
 22   B.R. at 507); Blue Cross of Cal. v. Sonoma W. Med. Ctr., Inc., No. CV 2:18-4912-SJO (GJSx), 2019
 23   U.S. Dist. LEXIS 44004, at *26 (C.D. Cal. Feb. 7, 2019) (“The operation of the automatic
 24   bankruptcy stay merely prevents the case from continuing against [debtors] as Defendants, it does
 25   nothing to shield them from providing information necessary to the continued litigation against the
 26   non-debtor Defendants.”); Alcantara v. United Furniture Indus., Inc., No. 522CV02110MCSAFM,
 27   2023 WL 3407154, at *2 (C.D. Cal. Apr. 21, 2023). If the broad and all-encompassing protection
 28


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Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                 Desc
                             Main Document    Page 4 of 146


  1   afforded by the automatic stay does not bar discovery requests, the narrow Judge-made protection

  2   provided by the Barton Doctrine surely does not as well.

  3                  E.      The Trustee is a fiduciary for creditors. See In re Cochise Coll. Park, Inc.,

  4   703 F.2d 1339, 1357 (9th Cir. 1983) (“A bankruptcy or reorganization trustee is a fiduciary of each

  5   creditor of the estate….). Full disclosure of the documents sought to ALL creditors is his duty.

  6   USRECH aka Calmwater purchased the estate’s primary asset. Any effort by the Trustee to inhibit

  7   access to communications between the Trustee and this creditor is untenable. Every creditor should

  8   have the right to review the same for any reason or no reason. In the case of Stiffelman, he made a

  9   secret $3.1 million payment to USRECH/Calmwater, pursuant to an agreement wherein both parties

 10   agreed this payment would not be disclosed. Given this subterfuge all communications between

 11   Stiffelman and his agents, and the Trustee must be disclosed. In the case of the communications

 12   between Edwin Leslie, the receiver appointed by USRECH, the disclosure of his communications is

 13   also mandatory. He operated the estates primary asset and USRECH incorporated his expenditures

 14   into its claim against the estate. What he did, why and for how much is every creditor’s business.

 15                  F.      This bankruptcy case is a legal proceeding and every document generated by

 16   the Trustee as the estate’s representative, whether filed with the Court or not, is in some measure a

 17   court record, or at least a public record. The federal courts have long recognized the merits of

 18   allowing public access to such records if only to vindicate the integrity of the system generally. See

 19   Nixon v. Warner Communications, Inc., 435 U.S. 589, 597, 98 S.Ct. 1306 (1978) (it “is clear that

 20   the courts of this country recognize a general right to inspect and copy public records and

 21   documents”); IDT Corp. v. eBay, Inc., 709 F.3d 1220, 1222 (8th Cir.2013) (noting most federal

 22   circuits have embraced a common law right of access to court records). Preventing not just Dr.

 23   Lander, but all other creditors from seeing this narrow slice of estate documents would not only be

 24   contrary to this policy, it would cast a pall over integrity of the administration of this estate. The

 25   better course is to put every one of these communications on a site that is readily accessible to all

 26   creditors in every case.

 27          In summary, the relief prayed for in the Motion is contrary to the law and sound policy. The

 28   Motion also raises troubling questions. Why is the Trustee, a fiduciary, spending thousands of estate


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Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20               Desc
                             Main Document    Page 5 of 146


  1   dollars to avoid disclosing documents that could have produced for less than $500? Why not just

  2   produce the documents? This over-the-top reaction suggests the communications include exchanges

  3   that are problematic for one reason or another. If that is the case, all the more reason for their

  4   disclosure to creditors. Whatever the content of these communications, they are critically important

  5   to the issues in contest in the State Court Case and therefore they should be produced.

  6                             II      SUMMARY OF RELEVANT FACTS

  7          In April of 2018, USRECH, as proposed lender, transmitted that certain Loan Agreement

  8   dated April 26, 2018 (the “Loan”) to Glenroy Coachella, LLC (“Glenroy”), Force Rubin, LLC

  9   (“Force Rubin”), Force Rubin 2, LLC (“Force Rubin 2”) and Coachella Resort, LLC (“Resort”), as

 10   proposed borrowers (collectively the “Borrowers”), for signature. The Loan was obtained to finance

 11   the construction of a hotel in Coachella, California (the “Project”).

 12          A trust affiliated with Dr. Lander owned Resort, a passive investor with only a 4.5% stake in

 13   the Project. Concurrently with the transmission of the Loan Agreement, USRECH demanded Dr.

 14   Lander sign a personal guarantee. The Project later failed. In the State Court Case, Dr. Lander

 15   contends his guarantee was procured through fraud and a series of misrepresentations regarding the

 16   Loan. In addition, Dr. Lander and the Borrowers in the State Court Case have filed a cross complaint

 17   against USRECH wherein they contend the Loan was procured by fraud, USRECH never intended

 18   to fund the amount provided for in the construction budget attached to the Loan, and it essentially

 19   engineered the failure of the Project from day-one of the USRECH loan transaction.

 20          A true and correct copy of the answer and the cross complaint (the “Cross-complaint”) filed

 21   in the State Court Case are attached to the OKeefe Declaration as Exhibits “3” and “4” respectively.

 22           The communications requested in the subpoena are relevant to the defenses alleged in the

 23   answer and the claims alleged in the Cross-complaint for the following reasons:

 24         A.       Dr. Lander and the other Borrowers are asserting a usury defense against U.S.

 25         Real Estate Credit Holdings III-A, LP (“USRECH”). They contend USRECH serially

 26         violated the California Financing Law (Cal. Fin. Code. 22000 et. seq.) (the “CFL”)

 27         through inter alia, conducting business solely through and by Calmwater Capital, LLC,

 28         an unlicensed entity. Every communication sent to the Trustee by Calmwater directly


                                                        4
Case 2:21-bk-11188-BB     Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                   Desc
                           Main Document    Page 6 of 146


  1        supports this contention, since every action by Calmwater on behalf of USRECH

  2        violates the CFL. These communications will be attached to a complaint the Borrowers

  3        are filing with the California Department of Financial Protection and Innovation

  4        (“DFPI”). This complaint will ask the DFPI to revoke USRECH’s purported license as

  5        a CFL lender ab initio. If this relief if granted, USRECH’s claim against this estate will

  6        not only be eliminated, USRECH will owe the estate millions.

  7        B.      Dr. Lander recently discovered a secret agreement entered into by and between

  8        USRECH and Gary Stiffelman pursuant to which Stiffelman paid $3.0 million to

  9        USRECH in return for a complete release. A true and correct copy of this secret

 10        agreement is attached to the O’Keefe Declaration as Exhibit “5”. In this writing,

 11        USRECH and Stiffelman jointly agree to hide this payment from the Superior Court,

 12        and from the other defendants in the State Court Case. Consistent with this scheme,

 13        USRECH failed to disclose to the Superior Court this $3.0 million reduction in a

 14        January 2022 attachment hearing. This fraud, which Stiffelman participated in, gives

 15        rise to claims against Stiffelman and USRECH. Dr. Lander believes these claims will

 16        be buttressed by the production of all communications with Stiffelman.

 17        C.      Stiffelman and USRECH have been secretly working together in the

 18        bankruptcy case and in the State Court Case. The documents requested may disclose

 19        and explicate this relationship, and provide support for tortious interference claims

 20        against both Stiffelman and USRECH.

 21        D.      One of the critical issues in the State Court Case is the balance owed to

 22        USRECH on its loan. We believe USRECH has overstated this sum by millions. This

 23        balance would have been discussed in the Trustee’s communications with

 24        Calmwater/USRECH. It may still be the subject of discussions. This is a critical issue.

 25        USRECH only advanced $19.0 million under the Loan. Yet it credit bid $22.0 million

 26        for the property sold in this case, it was holding a multi-million dollar interest reserve,

 27        and it received the undisclosed $3.1 million payment from Stiffelman. USRECH’s debt

 28        could well be zero. The documents requested will be critically relevant to these issues.


                                                       5
Case 2:21-bk-11188-BB           Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20               Desc
                                 Main Document    Page 7 of 146


  1         E.        USRECH is seeking a deficiency in the State Court Case against the borrowers,

  2         and the guarantors. It is Dr. Lander’s position that the sale in the bankruptcy court was

  3         not made in compliance with California’s anti-deficiency statutes. The order of sale

  4         may protect the estate from the impact of a California anti-deficiency law violation. It

  5         does not protect USRECH. The documents sought will be critically relevant to these

  6         issues.

  7         F.        Dr. Lander believes USRECH engaged in a violation of 11 U.S.C. § 363(n) in

  8         connection with the sale of the Glenroy property by dissuading other potential buyers

  9         from bidding for this asset, by inter alia, falsely inflating its debt total. The discovery

 10         requested, coupled with the information in Dr. Lander’s possession, may buttress this

 11         belief. If in fact USRECH did violated Section 363(n), or otherwise interfered with the

 12         sale effort, this would give Dr. Lander the right to seek an offset against USRECH’s

 13         claim in the Superior Court, or to seek to subordinate that same in that venue.

 14         G.        The Trustee and USRECH have no interest in the “Lighthouse” property. Dr.

 15         Lander is concerned that USRECH may have persuaded the Trustee to file a lawsuit

 16         seeking title to this property in the bankruptcy court. If this in fact occurred, Dr. Lander

 17         again has grounds to assert a claim against USRECH for tortious interference, and for

 18         slander of title.

 19          The Trustee is a fiduciary. He cannot hide from the creditors information that bears upon

 20   the disposition of the estate’s most valuable asset. To the contrary, he has a duty to disclose this

 21   information to all creditors. His decision to resist this disclosure is untenable,

 22                             III   LEGAL AUTHORITIES AND ANALYSIS

 23          In the Motion, the Trustee contends that the issuance of a subpoena seeking documents

 24   from the estate violates the “Barton doctrine”. This argument misconstrues and misapplies the

 25   doctrine. The Barton doctrine was established in Barton v. Barbour, 104 U.S. 126 (1881). In

 26   Barton, the Supreme Court held that leave from the court appointing a receiver must be obtained

 27   before a lawsuit can be brought against the receiver in another forum. 104 U.S. at 127. In In re

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Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                             Main Document    Page 8 of 146


  1   Crown Vantage, 322 F.3d 1178, 1196 (9th Cir.2003), the Ninth Circuit ruled this same procedural

  2   protection also applies to trustees in bankruptcy.

  3          The nature and limitations of the Barton doctrine were cogently explicated in In re

  4   Christensen, 598 B.R. 658, 664–65 (Bankr. D. Utah 2019):

  5          But it is critical to untangle Barton from the various immunity doctrines with which
             it can become conflated. The confusion is understandable; since the Barton doctrine
  6          “operates as an obstacle for parties wishing to sue a bankruptcy trustee, it may be
  7          mistaken for a kind of trustee immunity.”11 In addition, some courts have
             considered—either as a part of, or in addition to, the Barton analysis—whether a
  8          trustee is entitled to some form of immunity against suits for actions taken during
  9          his administration of the case.12 But neither Barton's role-as-obstacle nor the
             examination of immunity in the Barton context should lead one to conflate the
 10          doctrine with the substantive immunities conferred on trustees. Instead, the
 11          protections it offers are entirely procedural.13 Stated another way, Barton “does not
             shield trustees from lawsuits. Rather, the doctrine requires the bankruptcy court to
 12          determine where the suit may be brought, not whether the trustee may be sued.”14
 13          In sum, Barton is strictly a “jurisdictional gatekeeping doctrine,”15 and it strips all
             courts—except the bankruptcy court that appointed the trustee—of subject-matter
 14          jurisdiction to hear a lawsuit against the trustee unless the appointing court gives
 15          its permission to sue the trustee elsewhere.16 Only if the Debtors' proposed
             complaints pass through Barton's jurisdictional gate will the Debtors be able to file
 16          suit       against        the      Trustee       outside      of      this      Court.
 17
      Id.
 18
             The question presented by the Motion is whether the procedural protection in Barton
 19
      should be deemed to encompass not just lawsuits, but third party discovery propounded to the
 20
      Trustee. The Bankruptcy Appellate Panel for this Circuit clearly rejected this dramatic expansion
 21
      of what is a narrow judge-made doctrine in In re Media Grp., Inc., No. BAP NC-05-1432-SA1MA,
 22
      2006 WL 6810963, at *5 (B.A.P. 9th Cir. Nov. 14, 2006). In Media Group, the Chapter trustee
 23
      made the exact same argument that the Trustee is making in the Motion: the Barton doctrine bars
 24
      the issuance of a subpoena. The Bankruptcy Appellate Panel in Media Group rejected this
 25
      contention. To quote the ruling:
 26
             Even more importantly, neither Barton nor Crown Vantage supports the
 27          proposition that leave from the appointing court must be obtained before pursuing
             discovery in a case in which the court appointee is not a named party. We
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Case 2:21-bk-11188-BB        Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                 Desc
                              Main Document    Page 9 of 146


              therefore conclude that the bankruptcy court erred in imposing sanctions against
  1           Shao on the ground that she violated the Barton Doctrine.
  2   In re Media Grp., Inc., No. BAP NC-05-1432-SA1MA, 2006 WL 6810963, at *7 (B.A.P. 9th Cir.
  3   Nov. 14, 2006).
  4           Although there is some disagreement regarding the issue, the BAP is of the opinion that its
  5   decisions are binding in all bankruptcy courts in the Ninth Circuit. In re Windmill Farms, Inc., 70
  6   Bankr. 618, 621 (9th Cir. 1987), rev’d on other grounds, 841 F.2d 1467 (9th Cir. 1988); Phila. Life
  7   Ins. Co. v. Proudfoot (In re Proudfoot), 144 B.R. 876 (B.A.P. 9th Cir. 1992) (“It is the position of
  8   this panel that BAP decisions originating in any district in the Ninth Circuit are binding precedent
  9   on all bankruptcy courts within the Ninth Circuit in the absence of contrary authority from the
 10   district court for the district in which the bankruptcy court sits.”).
 11           In the Motion, the Trustee urges the Court to reject the ruling in Media Group and to
 12   instead follow the ruling in In re Eagan Avenatti, LLP, 637 B.R. 502 (Bankr. C.D. Cal. 2022). In
 13   Avenatti, the court ruled that a subpoena issued by the U.S. District Court in New York was
 14   ineffective because permission to issue had not been obtained from the bankruptcy court
 15   beforehand. Avenatti is clearly factually distinguishable. In Avenatti, the Chapter 7 trustee was
 16   ordered to produce a substantial number of documents in New York thereby potentially imposing
 17   an undue cost burden on the bankruptcy estate. In this case, the documents requested are
 18   communications exchanged between six people during a two year period. This production would
 19   take an hour at most to assemble, and the documents can be transmitted by email.
 20           Avenatti is also not persuasive authority since it is contrary to Media Group. It is also
 21   misconstrues the reach of the Barton doctrine. A subpoena duces tecum is a discovery tool that
 22   seeks documents. It is not a lawsuit. Moreover, a subpoena duces tecum is all but indistinguishable
 23   from a request for production of documents, which is allowed under the Barton doctrine. The
 24   nominal distinction between a subpoena and a document request is the power of contempt can be
 25   levied in the case of the former absent compliance. However, an order compelling compliance with
 26   a document request does exactly the same thing, and in both cases sanctions can be awarded.
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Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                            Main Document    Page 10 of 146


  1          The threat of contempt is also irrelevant in this context. If the Trustee had failed to comply

  2   with the subpoena, and if Dr. Lander had sought to compel compliance by seeking a contempt

  3   order in another court, then a possible Barton doctrine issue could have arisen. However, that has

  4   not occurred. The parties consensually agreed to present the discrete legal issue raised in the

  5   Motion to this Court for resolution. Once it is resolved, the Trustee can either produce the

  6   documents or prolong this entirely unnecessary dispute, by seeking relief in this Court.

  7          The Avenatti ruling is also contrary to the legislative intent embodied in 28 U.S.C. §

  8   959(b). This statute requires receivers/trustees to comply with the local law to the same extent as

  9   any other party. It stands for “the uncontroversial proposition that a trustee must carry out his

 10   duties in conformity with state law.” Hillis Motors, Inc. v. Hawaii Auto. Dealers' Ass'n, 997 F.2d

 11   581, 593 (9th Cir. 1993); see also Robinson v. Michigan Consol. Gas Co., 918 F.2d 579 (6th

 12   Cir.1990) (state law landlord duties not preempted by Bankruptcy Code); Saravia v. 1736 18th

 13   Street, N.W., Ltd. Partnership, 844 F.2d 823, 826–27 (D.C.Cir.1988) (local housing code applies

 14   to debtor in possession). The mandate in Section 959(b) is simple and fair: the Trustee, like the rest

 15   of us, must comply with the law, including discovery requests, whether in the form of a document

 16   request or its third party cousin, a subpoena duces tecum. The Barton doctrine does not and cannot

 17   override the mandate in this statute.

 18          The Avenatti ruling is also inconsistent with a related line of cases that hold the issuance of

 19   third party to discovery to debtors-in-possession and trustees is not a violation of the automatic

 20   stay. See In re Miller, 262 B.R. 499, 505 (B.A.P. 9th Cir. 2001); In re Kenoyer, 489 B.R. 103,

 21   121–22 (Bankr. N.D. Cal. 2013); Couture Textile, Inc. v. Rue 21, Inc., No. CV 16-05544-BRO

 22   (AGR), 2017 U.S. Dist. LEXIS 222962, at *14 (C.D. Cal. July 21, 2017) (quoting In re Miller, 262

 23   B.R. at 507); Blue Cross of Cal. v. Sonoma W. Med. Ctr., Inc., No. CV 2:18-4912-SJO (GJSx),

 24   2019 U.S. Dist. LEXIS 44004, at *26 (C.D. Cal. Feb. 7, 2019) (“The operation of the automatic

 25   bankruptcy stay merely prevents the case from continuing against [debtors] as Defendants, it does

 26   nothing to shield them from providing information necessary to the continued litigation against the

 27   non-debtor Defendants.”); Alcantara v. United Furniture Indus., Inc., No. 522CV02110MCSAFM,

 28   2023 WL 3407154, at *2 (C.D. Cal. Apr. 21, 2023). It would be counter intuitive to render


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Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                   Desc
                            Main Document    Page 11 of 146


  1   discovery requests exempt from the automatic stay, while at the same time holding they violate the

  2   more narrow Judge-made protection provided by the Barton Doctrine.

  3          Finally, this case is a legal proceeding. Every document generated by the estate’s

  4   representative, the Trustee, in some measure, a court record. Such records should be open to the

  5   public. See generally Nixon v. Warner Communications, Inc., 435 U.S. 589, 597, [98 S.Ct. 1306

  6   (1978) (it “is clear that the courts of this country recognize a general right to inspect and copy public

  7   records and documents”); IDT Corp. v. eBay, Inc., 709 F.3d 1220, 1222 (8th Cir.2013) (noting most

  8   federal circuits have embraced a common law right of access to court records); Craemer v. Superior

  9   Court, 265 Cal.App.2d 216, 220, fn. 3, (“right of a citizen to inspect public writings has its origin in

 10   the common law”.) (1968); Overstock.com, Inc. v. Goldman Sachs Grp., Inc., 231 Cal. App. 4th

 11   471, 483, 180 Cal. Rptr. 3d 234, 245 (2014) (“As articulated by California's courts, this presumption

 12   means court records are “open to the public unless they are specifically exempted from disclosure

 13   by statute or are protected by the court itself due to the necessity of confidentiality.”)

 14                                          IV      CONCLUSION

 15          The Trustee is making a mountain out of a molehill. Dr. Lander is only seeking the

 16   communications exchanged by and among the Trustee and three other parties (and their agents) –

 17   USRECH/Calmwater, Stiffelman, and Edwin Leslie over a period of approximately two years.

 18   This request is not in any respect burdensome and every creditor in this case would have an

 19   absolute right to obtain these communications through a Rule 2004 examination. The Trustee’s

 20   attempt to immunize these documents from disclosure is untenable. Respectfully, the Motion

 21   should be denied.

 22   DATED: August 23, 2023                                  OKEEFE & ASSOCIATES
 23                                                           LAW CORPORATION, P.C.

 24                                                                 /s/ Sean A. O’Keefe
                                                              By: _________________________
 25                                                                  Sean A. O’Keefe, counsel
                                                                     to Dr. Elliot B. Lander, defendant
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Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                            Main Document    Page 12 of 146


  1                              DECLARATION OF SEAN A. OKEEFE

  2          I, Sean A. O’Keefe, hereby declare and state as follows:

  3          1.      I am over the age of eighteen years.

  4          2.      The facts stated herein are within my personal knowledge.

  5          3.      Attached hereto as Exhibit “1” is a true and correct copy of the subpoena issued to

  6   Richard Marshack, as Chapter 7 trustee in this case. This subpoena seeks documents relevant to the

  7   claims and defenses alleged in U.S. Real Estate Credit Holdings III-A, LP. V. Glenroy Coachella,

  8   LLC, et. al., a case pending before the California Superior Court for the County of Riverside as Case

  9   No. RIC1905743 (the “State Court Case”), without exhibits (the “Complaint”).

 10          4.      Attached hereto as Exhibit “2” is a true and correct copy of the complaint filed by

 11   U.S. Real Estate Credit Holdings III-A, LP (“USRECH”) in the State Court Case, without exhibits

 12   (the “Complaint”).

 13          5.      Attached hereto as Exhibit “3’ is a true and correct copy of the Second Amended

 14   Answer filed by Dr. Elliot Lander to the Complaint.

 15          6.      Attached hereto as Exhibit “4” is a true and correct copy of the most current cross

 16   complaint filed against USRECH in the State Court Case.

 17          7.      Attached hereto as Exhibit “5” is the Settlement Agreement entered into by and

 18   between Stiffelman and USRECH.

 19          I declare that the foregoing is true and correct under the penalty of perjury.

 20          Executed this 23rd day of August 2023 in Orange County, California.

 21

 22
                                            _________________________
 23                                         Sean A. O’Keefe
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Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document    Page 13 of 146




                                   EXHIBIT 1



                                                                           001
Case 2:21-bk-11188-BB              Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20           Desc
                                   Main Document    Page 14 of 146




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                                                                          M. Criel
  6 Attorneys for Plaintiff
    U.S. REAL ESTATE CREDIT HOLDINGS
  7 III-A, LP, an Irish limited partnership
  8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
      ,.
  9
                    COUNTY OF RIVERSIDE - RIVERSIDE IDSTORIC COURTHOUSE
 IO

 11        U.S. REAL ESTATE CREDIT HOLDINGS
           ill-A, L.P., an Irish limited partnership,
                                                             CaseNo.:   f1 <- 19 0-57 4 3
 12
                             Plaintiff,
 13                                                          VERIFIED COMPLAINT FOR:
                  v.
 14                                                          1. JUDICIAL FORECLOSURE OF
           GLENROY COACHELLA, LLC, a Delaware                DEED OF TRUST;
 15        limited liability company; FORCE RUBIN,           2. SPECIFIC PERFORMANCE OF
           LLC, a Delaware limited liability company;        DEED OF TRUST;
 16        FORCE RUBIN 2, LLC, a Delaware limited            3. INJUNCTIVE RELIEF;
           liability company; COACHELLA RESORT,              4. BREACH OF CONTRACT;
 17        LLC, a California limited liability company;      5. BREACH OF JNDEMNITY AND
           A. STIJART RUBIN, in bis individual               GUARANTY AGREEMENT;
.18        capacity, and in his capacity as trustee of the   6. BREACH OF COMPLETION
           STUART &ANNEITERUBINFAMILY                        GUARANTY AGREEMENT;
 19        TR.UST; ELLIOT LANDER, an individual;             7. FRAUD IN JNDUCEMENT; AND
           GARY STIFFELMAN, in his individual                8. NEGLIGENT
 20        capacity, and in his capacity as trustee of the   MISREPRESENTATION
           STIFFBLMANTRUST;.
 21        FERGUSON ENTERPRISES, LLC, a
           California limited liability company; DOUG
 22        WALL CONSTRUCTION, INC., a California
           corporation; QUONSET PARTNERS, LLC;
 23        JOSEPH RUBIN, an individual; AL MlLLER
           & SONS-ROOFING CO., INC., a California
 24        Corporation; APPLE J PLUMBING, INC., a
           California Corporation; BLAIR AIR, INC.,
 25        dba BLAIR HEATING & AIR, a California
           Cor_poration; BMC WEST, LLC, a Delaware
 26        limited liability company; DESERT PALMS
           ELECTRIC, INC., a California corporation;
 27        GF INVESTMENT GROUP, INC., a
           California corporation; MASCORRO
 28        CONCRETE CONSTRUCTION, INC., a

                    VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST              002
Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                              Main Document    Page 15 of 146



   1   California corporation; SYSTEMS
       WATERPROOFING, INC., a California
   2   corporation; TANDEM WEST GLASS, INC.,
       a California corporation; TEMALPAKH,
   3   INC., a California corporation, dba THE
       WORKS FLOOR & WALL; and DOES l
   4   through l 00, inclusive,

   5                      Defendants.
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                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
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Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                      Desc
                              Main Document    Page 16 of 146



   1          Plaintiff U.S. Real Estate Credit Holdings III-A, LP, an Irish limited partnership

  2    ("Plaintiff" or "Lender"), complains and alleges:

  3                                           INTRODUCTION 1

  4           This Action involves a $24.4 million loan agreement for a hotel development project in

  5    Coachella, California The Property owners are the TIC-Defendants who are in default under

  6    the Loan Documents. The other defendants include the Guarantors (defendants A. Stuart

   7   Rubin, Elliot Lander, and Gary Stiffelman) under the Loan Documents and the Project

   8   manager(s) and contractors involved with the Project. To secure the loan agreement, the

  9    Borrower knowingly submitted a budget that materially misstated the cost to complete the

  IO   Project, and subsequently submitted draw requests for funding that omitted material

  11   information regarding the completion cost of the project and the use of the funds drawn-. -Upon

  12   Plaintiff's discovery of Borrower's concealment of material information, Plaintiff halted

  13   subsequent disbursements. Borrower is now in default, and the Project is now halted mid-

  14   construction.

  15          Plaintiff seeks to enforce its rights under the Loan Documents to, among other things,

  16   foreclose on the Property and have a receiver appointed to protect, preserve, manage, and to

  17   sell and/or complete Property's development.

  18                                   JURISDICTION AND VENUE

  19                   The real property, which is the subject matter of this action, is located within

 20    the city of Coachella, County of Riverside, California. Under California Code ofCivil

 21    Procedure§ 392(a)(2) et seq., this Court is the proper court for the trial of this action.
 22           2.       This action is not subject to the provisions of§§ 2981, et seq., (Rees-Levering

 23    Act), or§§ 1801, et seq. (Unruh Act) of the California Civil Code.

 24           3.       At all times mentioned herein, Plaintiff was and now is a limited partnership

 25    organized and existing under the laws of Ireland and duly authorized to conduct business in th

 26    State of California. Plaintiffs principal place of business is located in Los Angeles, California.

 27
               Capitalized terms used but not defined have the meanings subsequently ascribed herein
 28    to such terms.
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                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
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Case 2:21-bk-11188-BB        Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                    Desc
                             Main Document    Page 17 of 146



   1          4.      At all times herein mentioned, Plaintiff was, and is, exempt from the usury
   2   provisions of Article XV, Section 1 of the California Constitution.
   3                                           THE PARTIES

   4          5.      Plaintiff is informed and believes, and based thereon alleges, that at all times
   5   herein mentioned, defendant Glenroy Coachella, LLC ("Glenroy Coachella"), was and is a
   6   limited liability company organized and existing under Delaware law, with its principal place
   7   of business located within the county of Los Angeles, State of California, and managed by
   8   Defendants A. Stuart Rubin and Joseph Rubin.
   9          6.      Plaintiff is informed and believes, and based thereon alleges, that at all times
  10   herein mentioned, defendant Force Rubin, LLC ("Force Rubin"), was and is a limited liability
  11   company organized and existing under Delaware law, with its principal place of business
  12   located within the county of Los Angeles, State of California.
  13          7.      Plaintiff is informed and believes, and based thereon alleges, that at all times
  14   herein mentioned, defendant Force Rubin 2, LLC ("Force Rubin 2"), was and is a limited
  15   liability company organized and existing under Delaware law, with its principal place of
  16   business located within the county of Los Angeles, State of California.
  17          8.      Plaintiff is informed and believes, and based thereon alleges, that at all times
  18   herein mentioned, defendant Coachella Resort, LLC ("Coachella Resort"), was and is a limite
  19   liability company organized and existing under California law, with its principal place of
  20   business located within the county of Riverside, State of California.
  21          9.      Glenroy Coachella, Force Rubin, Force Rubin 2, and Coachella Resort
  22   (collectively, the "TIC Defendants" or "Borrower") entered into a Loan Agreement with
  23   Plaintiff dated as of April 26, 2018 ("Loan Agreement"). A true and correct copy of the Loan
  24   Agreement is attached hereto as Exhibit "1."
  25                  The TIC Defendants are the owners as Tenants-in-Common of the real property
  26   at issue located at the southeast comer of Avenue 48 and Van Buren Street, in Coachella,
  27   California, and more specifically described herein and the documents attached hereto (the
  28   "Property"), where a hotel project is under construction (the "Project").
                                                     -2-
               VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

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Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                     Desc
                              Main Document    Page 18 of 146



               11.    The TIC Defendants are parties to a Tenancy in Common Agreement, dated

  2    effective as of April 23, 2018 (the "TIC Agreement").

  3            12.    Plaintiff is informed and believes, and based thereon alleges, that at all times

  4    mentioned herein, defendant A. Stuart Rubin ("Stuart Rubin") is a competent individual who

   5   resides in Los Angeles County, State of California. Stuart Rubin has a direct or indirect

  6    ownership interest in three of the TIC Defendants, is a personal guarantor under the Loan

   7   Documents, and is the TIC Manager under the TIC Agreement, with authority to manage the

   8   Property and the Project.

  9            13.    At all times mentioned herein, defendant Elliot Lander ("Lander") is a

  10   competent individual who resides in Riverside County, State of California. Lander is a

  11   personal guarantor under the Loan Documents. Lander also is the Trustee of The Elliot Lander

  12   Separate Property Trust Dated December 2, 2009, which has 100% ownership interest in TIC

  13   Defendant Coachella Resort.

  14           14.    At all times mentioned herein, defendant Gary Stiffelman ("Stiffelman") is a

  15   competent individual who resides in Los Angeles County, State of California. Stiffelman is a

  16   personal guarantor under the Loan Documents and has an indirect ownership interest in one or

  17   more of the TIC Defendants.

  18           15.    At all times mentioned herein, defendant Joseph Rubin ("Joseph Rubin") is a

  19   competent individual who resides in Los Angeles County, State of California, and is the son o

 20    Stuart Rubin. Joseph Rubin was materially involved with managing the Project.

 21            16.    At all times mentioned herein, defendant Stuart & Annette Rubin Family Trust

 22    ("Rubin Family Trust") is a trust with its principal place of administration located in Los

 23    Angeles County, State of California.

 24            17.    At all times mentioned herein, defendant Stiffelman Trust ("Stiffelman Family

 25    Trust") is a trust with its principal place of administration located in Los Angeles County,

 26    State of California.

 27            18.    At all times mentioned herein, defendant Ferguson Enterprises, LLC, is a

 28    limited liability company authorized to conduct business in California, which has asserted a
                                                     -3-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
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Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                      Desc
                              Main Document    Page 19 of 146



   I   mechanics' lien against the Property.

   2           19.    Plaintiff is informed and believes, and based thereon alleges, that at all times

  3    mentioned herein, Doug Wall Construction, Inc. ("Doug Wall"), is a corporation organized

  4    and existing under California law and is authorized to conduct business in the State of

   5   California. Doug Wall has filed an action to foreclose on a mechanics' lien against the

   6   Property.

   7          20.     Plaintiff is informed and believes, and based thereon alleges, that defendants (a

   8   Al Miller & Sons Roofing Co., Inc., a California Corporation; (b) Apple J Plumbing, Inc., a

   9   California Corporation; (c) Blair Air, Inc, dba Blair Heating & Air, a California Corporation;

  10   (d) BMC West, LLC, a Delaware Limited Liability Corporation; (e) Desert Palms Electric,

  11   Inc., a California Corporation; (t) GF Investment Group, Inc., a California Corporation; (g)

  12   Mascorro Concrete Construction, Inc., a California Corporation; (h) Systems Waterproofing,

  13   Inc., a California Corporation; (i) Tandem West Glass, Inc., a California Corporation; and G)

  14   Temalpakh, Inc. dba The Works Floor & Wall, a California Corporation, each asserts

  15   mechanics' liens, liens, and other encumbrances on the Property. These defendants may claim

  16   that their mechanics' liens, claims, and/or other encumbrances on the Property are superior to

  17   one another and are superior to Plaintiff's lien alleged below. Plaintiff contends that its lien is

  18   superior to all mechanics' liens, liens and/or other encumbrances asserted against the Property

  19   by the defendants identified above from (a) through (j).

 20           21.     Plaintiff is informed and believes, and based thereon alleges, that defendant

 21    Quonset Partners LLC is a California limited liability company that may assert an interest in

 22    the Property and/or worked in concert with one or more of the defendants in connection with

 23    the Property and misused the Loan proceeds to the Lender's detriment.

 24           22.     The true names and capacities, whether individual, corporate, associate or

 25    otherwise, of defendants Does 1 through 100, inclusive, are unknown to Plaintiff which

 26    therefore sues said defendants by such fictitious names. Plaintiff is informed and believes, an

 27    based thereon alleges, that each of the defendants designated herein as a fictitiously named

 28    defendant is rn some manner responsible for the events and happenings herein referred to,
                                                      -4-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

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Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                    Desc
                              Main Document    Page 20 of 146



   1   either contractually or otherwise, and caused the damage to Plaintiff as herein alleged. When

   2   Plaintiff ascertains the true names and capacities of Does 1 through I 00, inclusive, it will ask

   3   leave of Court to amend its complaint.

   4          23.     Plaintiff is informed and believes, and based thereon alleges, that at all times

   5   mentioned herein, each of the defendants was, and is now, the agent, servant, and/or employee

   6   of his/her/its co-defendants, and each of them, and in doing or omitting to do the acts and

   7   things herein complained of, was acting within the course and scope of said agency, service

   8   and/or employment, and/or that all of said acts and/or omissions were authorized and/or

   9   ratified by said co-defendants, and/or were done with their knowledge and/or consent and

  10   ratification. Plaintiff will amend this complaint to show each such relationship to conform to

  11   proof, or upon order of this Court.

  12                                    THE LOAN DOCUMENTS

  13          24.     On or about April 26, 2018 ("Loan Closing"), Plaintiff, as Lender, entered into

  14   a Loan Agreement to loan up to $24,400,000 to Borrower. The purpose of the Loan

  15   Agreement was to facilitate the Project, the construction of a hotel and other improvements on

  16   the Property. On or about April 26, 2018, to evidence the potential $24,400,000 loan, the

  17   Borrower made, executed, and delivered to Lender a Promissory Note in the original principal

  18   amount ofup to $24,400,000, for value received (the "Note"), secured by that certain Deed of

  19   Trust, Security Agreement, Financing Statement and Fixture Filing executed and delivered by

 20    Borrower in favor of Lender (the "Deed of Trust"). A true and correct copy of the Note is

 21    attached as Exhibit "2." A true and correct copy of the Deed of Trust is attached as Exhibit

 22    "3."
 23           25.     The Note provides that the Borrower promised and agreed to pay to Lender the

 24    principal sum of $24,400,000, or so much thereof as may be advanced, together with interest

 25    on the outstanding principal balance from the date of disbursement at the initial rate of LIBOR

 26    plus 8.75% per annum. The Note further provides for initial interest-only payment for the

 27    period from and including the Initial Funding Date through and including April 30, 2018, and

 28    then monthly payments of principal, if any due, and interest due on the first day of each month
                                                     -5-
               VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF l'RUST
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Case 2:21-bk-11188-BB          Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                   Desc
                               Main Document    Page 21 of 146



   1   beginning June l, 2018. Monthly payments continue until the remaining indebtedness

   2   evidenced by said Note, if not sooner paid, is all due and payable on May 1, 2020. The Note

   3   provides for payment oflate charges if any payment is late, which then triggers an increase in

   4   the interest rate if any default occurs.

   5           26.     The Deed of Trust encumbers the Property, which consist of assessor's parcel

   6   numbers 1, 2, 4, 5 and 6 of Parcel Map No. 37310, and as legally described in Exhibit A of the

   7   Deed of Trust, together with all of the estate, right, title and interests the Borrower has or may

   8   acquire in or to the Property, including all improvements, as defined therein, all accounts,

   9   deposit accounts, instruments, chattel paper and all other contracts and agreements the

  10   Borrower has or may have an interest arising out of or relating to the acquisition, development

  11   ownership, management or use of the Property, all additions, substitutions and proceeds of the

  12   foregoing. The Deed of Trust was recorded on April 26, 2018, as Document Number 2018-

  13   0162476 in the Official Records of the County of Riverside, State of California.

  14           27.     In addition, on April 26, 2018, Borrower executed and delivered to Lender an

  15   Assignment of Leases and Rents ("ALR"). The ALR was recorded on April 26, 2018, as

  16   Document Number 2018-0162477 in the Official Records of the County of Riverside, State of

  17   California.

  18           28.     On April 26, 2018, a UCC-1 Financing Statement was filed with the California

  19   Secretary of State as Filing No. 18-7646021954. A true and correct copy of the California

  20   UCC-1 Financing Statement is attached as Exhibit "4."

  21           29.     On April 27, 2018, a UCC-1 Financing Statement was filed with the Delaware

  22   Department of State as Filing No. 2018-2864805. A true and correct copy of the Delaware

  23   UCC-1 Financing Statement is attached as Exhibit "5."

  24           30.     On April 30, 2018, a second UCC-1 Financing Statement was filed with the

  25   California Secretary of State as Filing No. 18-7646325921. A true and correct copy of this

  26   filing is attached as Exhibit "6."

  27           31.     On April 26, 2018, a UCC-1 Financing Statement was filed with the County of

  28   Riverside, State of California, as Filing No. 2018-0162478. A true and correct copy of this
                                                     -6-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

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Case 2:21-bk-11188-BB        Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                    Desc
                             Main Document    Page 22 of 146



   I   filing is attached as Exhibit "7." Exhibits 1 through 7 and all other documents concerning

   2   the Loan are collectively referred to herein as the "Loan Documents."
   3          32.     Under the Loan Documents, Borrower is obligated to pay all of Plaintiff's costs

  4    and expenses incurred or paid by Lender in connection with the enforcement of the Loan

   5   Documents, including, without limitation, attorneys' fees, expenses and court costs, which

   6   obligation is part of the secured indebtedness evidenced by the Note.
   7          33.     Plaintiff has performed all conditions, covenants and promises on its part to be

  8    performed under the Loan Documents except as to those matters that have been excused by

  9    defendants' breaches and defaults.

              34.     In addition, on April 26, 2018, as further security and inducement for Plaintiff

  11   to enter into the Loan Agreement and as set forth in the Loan Documents, individual

  12   defendants A. Stuart Rubin, Elliot Lander, and Gary Stiffelman (collectively, "Guarantors")

  13   executed the Indemnity and Guaranty Agreement, a true and correct copy of which is attached

  14   as Exhibit "8." As set forth in the Indemnity and Guaranty Agreement, the Guarantors

  15   assumed liability for and guaranteed payment of the Guaranteed Obligations of Borrower,

  16   which includes, but is not limited to, all obligations and liabilities under the Loan Documents.
  17          35.     In addition, on April 26, 2018, as further security and inducement for Plaintiff

  18   to provide the Loan as set forth in the Loan Documents, the Guarantors signed the Completion

  19   Guaranty Agreement, a true and correct copy of which is attached as Exhibit "9." As set fo

 20    in the Completion Guaranty Agreement, the Guarantors irrevocably and unconditionally

 21    guaranteed performance of the Guaranteed Recourse Obligations as that term is defined in the

 22    Completion Guaranty Agreement.
 23           36.     In connection with the Loan, defendant Doug Wall executed a Construction

 24    Contractors Estoppel Certificate dated April 15, 2018 ("Wall Estoppel Certificate"), and

 25    certified to Lender, through its President Doug Wall, that the sum certain being submitted for

 26    payment at the Loan Closing "are all the amounts outstanding and due Contractor as of the

 27    date of Closing" (the "Wall Closing Payment Amount"). Doug Wall also represented to

 28    Lender that the estimated cost to complete the work on the Project was $13,524,322.49. In the
                                                    -7-
               VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
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Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                              Main Document    Page 23 of 146



   1   Wall Estoppel Certificate, Doug Wall also acknowledged that Lender would be acting in

   2   reliance on Doug Wall's representations. A true and correct copy of the Wall Estoppel

   3   Certificate is attached as Exhibit "10."
  4           37.     By that certain General Contractor's Consent to Assignment of Contractor's

   5   Agreement dated July 25, 2018, by and between Doug Wall and Lender, defendant Doug Wall

  6    expressly agreed to "subordinate[] all contractual, constitutional and statutory mechanics' and

   7   materialmen's liens to which Contractor [Doug Wall] may be or become entitled, to all liens

   8   and security interests securing the Loan contemplated by the Loan Agreement and expressly
   9   waive[d] any right to remove any removable improvements from the real property upon which

  10   the improvements are to be located." A true and correct copy of the General Contractor's

  11   Consent to Assignment of Contractor's Agreement is attached as Exhibit "11."

  12          38.     Plaintiff has performed all conditions, covenants and promises on its part to be

  13   performed under the terms of the Indemnity and Guaranty Agreement and the Completion
  14   Guaranty Agreement except as to those matters that have been excused by Guarantors'

  15   breaches and defaults (together, and with all other documents concerning the guaranties, the

  16   "Guaranty Documents").

  17                DEFENDANTS' OMISSIONS, CONCEALMENT AND DEFAULTS

  18          39.     Plaintiff is informed and believes, and thereon alleges that the budget and other
  19   information and documents provided to Lender in connection with, and as an inducement for

 20    Lender to enter into the Loan Agreement and fund draws pursuant thereto, contained

 21    inaccurate information or omitted material information, which were perpetrated intentionally,

 22    upon which Lender detrimentally relied in entering into the Loan Agreement and funding

 23    draws pursuant to the Loan Agreement.
 24           40.     In order to enter into the Loan Agreement, the Borrower, through their Loan

 25    Broker, Steve Bram at George Smith Partners ("Broker"), submitted to Lender via email on

 26    March 28, 2019 Borrower's final budget itemizing its costs to complete the Project,

 27    representing that total costs to complete the Project, excluding land costs, were $37,590,136
 28    ("Borrower's Budget").
                                                    -8-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
                                                                                                  011
Case 2:21-bk-11188-BB          Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                               Main Document    Page 24 of 146



              41.     Borrower's Budget also represented to Lender that Borrower would have

  2    sufficient funds to complete the Project upon receiving $24,400,000 in loan funding from

  3    Lender.

  4           42.     Borrower, Stuart Rubin, and Doug Wall knew that Borrower's Budget

   5   concealed material information regarding the actual costs to complete the Project, and that

  6    Borrower would need substantially more than $24,400,000 from Lender to complete the

   7   Project.

  8           43.     Additionally, Borrower's Budget expressly incorporated construction costs to

  9    complete the Project that Doug Wall provided to Borrower, which omitted material

  l0   subcontractor costs to complete the Project.

  11          44.     Plaintiff is informed and believes, and thereon alleges that Borrower, Stuart

  12   Rubin, and Doug Wall knew that Lender would not enter into the Loan Agreement if the

  13   Broker submitted the actual cost to complete the Project to Lender because it based its

  14   underwriting of the Loan Agreement and the amount available to Borrower thereunder upon

  15   the projected value of the Project after completion.

  16          45.     Plaintiff is informed and believes, and thereon alleges that Borrower, Stuart

  17   Rubin, and Doug Wall prepared a materially misleading Borrower's Budget that aligned with

  18   loan to value ratio they knew Lender's underwriters would accept, and authorized Broker to

  19   provide it to Lender.

 20           46.     Borrower, Stuart Rubin, and Doug Wall also knew that Lender would rely on

 21    the representations contained in Borrower's Budget and the material information omitted

 22    therefrom in deciding to enter into the Loan Agreement. Lender reasonably relied on

 23    Borrower's representations contained in Borrower's Budget and incorporated it into Exhibit C

 24    to the Loan Agreement, which contains the approved budget for the Project.

 25           47.     After Loan Closing, Borrower and Doug Wall undertook work to complete the

 26    project that they did not disclose to Lender they would have to perform to complete the Projec

 27    to conceal the true cost of the Project. Borrower and Doug Wall also concealed from Lender

 28    the full scope of the work that Borrower and Doug Wall performed post-closing and the
                                                      -9-
                  VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
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Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                    Desc
                              Main Document    Page 25 of 146



   I   increasing costs required to complete the project so that Lender would continue permitting

   2   Borrower to make draws pursuant to the Loan Agreement. To date, Lender has discovered

   3   payments for work on the Project that Borrower concealed from Lender totaling more than

   4   $4.4 million.

   5          48.      When Lender discovered on or around March 2019 that Borrower and Doug

   6   Wall had concealed work on the Project that they had not incorporated into Borrower's

   7   Budget, Lender requested an updated budget. Ultimately, in April 2019, Borrower and Doug

   8   Wall provided to Lender a budget for completion of the Project excluding land costs, of

   9   $60,0 I 0,845. 72, an increase of more than 62 percent from the original budget Borrower and

  IO   Doug Wall submitted.
  11          49.      Additionally, Borrower does not have sufficient funds to complete the Project,

  12   given the actual completion cost of at least $60 million.

  13          50.      Borrower's post-closing draw requests pursuant to the Loan Agreement

  14   contained unexplained discrepancies in amounts allegedly paid by Borrower to various

  15   contractors. Plaintiff alleges upon information and belief that the Loan proceeds and other

  16   funds for the Project were improperly diverted by one or more defendants for personal use

  17   and/or to develop property separate and unrelated to the Project, each in violation of the Loan

  18   Documents, which Borrower concealed from Lender and omitted from its draw requests.

  19          51.      Plaintiff alleges on information and belief that Stuart Rubin and/or one or more

 20    of the Guarantors, acting on behalf of Borrower, put Joseph Rubin, son of Stuart Rubin, in

 21    charge of overseeing construction on the Project. At that time, Joseph Rubin had no

 22    significant professional or business experience and, specifically, had no experience with

 23    construction management. Borrower did not disclose to Lender that Joseph Rubin would

 24    oversee construction on the Project when negotiating with Lender for financing.

 25           52.      Plaintiff alleges on information and belief that Joseph Rubin provided little, if

 26    any, value to the Project, yet took a salary from the Project funds and diverted and used Projec

 27    funds for various personal expenses and/or to fund expenses related to other properties in

 28    violation of the Loan Documents. Borrower, Stuart Rubin, and Joseph Rubin concealed from
                                                     -IO-
               VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

                                                                                                    013
Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                   Desc
                              Main Document    Page 26 of 146



   l   Lender that Joseph Rubin improperly used funds drawn from Lender pursuant to the Loan
   2   Agreement and omitted such infonnation from draw requests.
   3          53.      The development on the Property has ceased and Borrower has breached
   4   multiple representations, warranties and covenants contained in the Loan Documents and has
   5   defaulted under the Loan Documents by, among other things:
   6                A. Failure of Borrower and Guarantor to post the deficiency previously calculated
   7                   to be approximately $19,252,951.98 pursuant to Section 9.13 of the Loan
   8                   Agreement to place the Loan "In-Balance";
   9                B. Failure to pay monthly Debt Service due on May I, 2019, or any subsequent

  l0                   payments due thereafter;
  11                C. Misappropriation by Borrower of bond proceeds from the Mello Roos financin
  12                   (or the failure to explain how such funds were applied to the Project);
  13                D. Failure of Borrower to deposit approximately $2,518,486.67 calculated by
  14                   Lender in the Interest Reserve to cure the Interest Reserve Deficiency pursuant

  15                   to the Loan Documents;
  16                E. Breaches by Borrower of the tenns of the Hotel License Agreement and Hotel
  17                   Management Agreement;
  18                F. Continuing exposure to the elements and wasting of construction materials and
  19                   finishes located at the site as construction has ceased;
  20                G. Failing to pay certain Property taxes; and
  21                H. Allowing certain material pennits to lapse.
  22   These defaults have not been cured.
  23          54.      By letter dated May 7, 2019, Lender notified Borrower and Guarantors of
  24   various defaults under the Loan Documents. A true and correct copy of this letter is attached
  25   Exhibit "12."

  26          55.      By letter dated May 28, 2019, Lender notified Borrower and Guarantors of an
  27   additional default under the Loan Documents due to Borrower's failure to deposit additional
  28   funds ($61,246.05) in the Tax and Insurance Reserve as required under the Loan Documents.
                                                     -11-
               VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
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    Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                    Desc
                                  Main Document    Page 27 of 146



       1   A true and correct copy of this letter is attached as Exhibit "13."

       2          56.     On September 5, 2019, Lender sent a Declaration of Default to Borrower and

       3   Guarantors identifying various defaults, accelerating the Note's Maturity Date, and declaring

       4   all sums secured by the Deed of Trust immediately due and payable under the Loan

       5   Documents. A true and correct copy of this letter is attached as Exhibit "14."

       6          57.     On September 9, 2019, Lender filed a Notice of Default and Election to Sell

       7   Under Deed of Trust as Document Number 2019-0350104, in the Official Records of the

       8   County of Riverside, State of California. A true and correct copy of the Notice of Default is

       9   attached as Exhibit "15."

      IO          58.     As of November I, 2019, there was and still is due, owing and payable on the

      11   Note in accordance with the Loan Documents a principal sum of$19,619,969.79 in addition to

      12   accrued unpaid interest, accrued unpaid default interest, late charges, advances, foreclosure

      13   fees, receiver fees, legal fees and costs of suit in amounts not yet determined. As of November

      14   I, 2019, the amount due and payable to cure the default was $21,413,976.14, not including

      15   attorneys' fees and costs which Plaintiff has incurred and continues to incur.

      16          59.     Guarantors have defaulted under the Indemnity and Guaranty Agreement and

      17   the Completion Guaranty Agreement by, inter a/ia, failing to pay the sums due owning and

      18   payable pursuant to the Loan Documents, failing to cure the above-mentioned defaults under

      19   the Loan Documents, failing to pay for and ensure the full, complete and punctual completion

     20    of all improvements on the Property as required under the Loan Documents, and failing to

     21    ensure performance of the Guaranteed Recourse Obligations set forth in the Completion

     22    Guaranty Agreement.

     23                                       NEED FOR RECEIVER

     24           60.     The Property is in a partial stage of development. Plaintiffs alleges on

     25    information and belief that the Property is in need of substantial funding to complete the

     26    Project, and the TIC-Defendants lack the resources to fund the Project's completion. Plaintiff

     27    further believes and alleges that Borrower is not paying its debts and is not adequately

     28    maintaining, securing and preserving the Property and, therefore, there is an immediate risk of
                                                        -12-
                   VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
                                                                                                        015
Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                     Desc
                              Main Document    Page 28 of 146



   1   loss, theft, or damage to the Property and other assets of the Borrower located at the Property,

   2   which significantly and irreparably impairs or damages the value of the Lender's security

   3   interests.

  4            61.    The Property's value in its current condition is far less than the indebtedness,

   5   which is comprised of the principal of$19,619,969.79, accrued unpaid interest, accrued unpai

   6   default interest, late charges, advances, foreclosure fees, receiver fees, legal fees and costs of

   7   suit in amounts not yet determined.

   8           62.    Borrower cannot pay property taxes and has allowed material permits to lapse.

   9   Borrower also has failed to pay certain contractors resulting in some contractors commencing

  IO   legal actions to foreclose Mechanic's Liens against Borrower, Lender, and others.

  11   Specifically, Doug Wall filed an action in Riverside County Superior Court bearing Case

  12   Number PSC 1907309 to foreclose on a Mechanic's Lien on the Property. Contractor

  13   Ferguson Enterprises, LLC also filed an action in the same court bearing Case Number PSC

  14   1906136 to foreclose on a Mechanic's Lien on the Property. Borrower lacks the resources or

  15   ability to defend itself or the Property against such actions.

  16           63.    In addition, equipment, furniture and other miscellaneous personal property an

  17   materials related to the Property and the construction of the Project remain on the Property an

  18   unprotected from the elements, vandalism and theft. The site is not sufficiently secured, and

  19   unauthorized persons have been on the Property, which is a risk to the well-being of such

 20    persons as well as to Lender's security interests.

 21            64.    On October 29, 2019, Stiffelman, one of the Guarantors, commenced an action

 22    against, among others, Stuart Rubin (who is a co-guarantor and TIC Manager) asserting fraud,

 23    negligence and other causes of action in connection with the Project, which supports Plaintiff'

 24    allegations and concerns. Stiffelman's action bears Case Number 19SMCV0I908 filed in the

 25    Los Angeles Superior Court, West District.

 26            65.    Based on the foregoing, the appointment of a receiver is immediately necessary

 27    to protect and preserve the Property, and Plaintiff will bring forth for hearing its application

 28    for the appointment of a receiver on an expedited basis.
                                                     -13-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

                                                                                                    016
Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                     Desc
                              Main Document    Page 29 of 146



   1                                   FIRST CAUSE OF ACTION

  2                               (Judicial Foreclosure of Deed of Trust

  3                          Against all Defendants and Does I through 100)

  4           66.     Plaintiff incorporates by this reference all allegations contained in paragraphs I

   5   through 65.

   6          67.     Plaintiff seeks an order adjudging that: (A) the Deed of Trust be foreclosed;

   7   (B) judgment issue ordering the sale of the Property according to law by an appropriate person

   8   appointed by the Court; (C) the proceeds of the sale be applied in payment of the amounts due

   9   Plaintiff; (D) any rents, income and profits (if any) be applied in payment of the amounts due

  10   Plaintiff; and (E) defendants and all persons claiming under any of them subsequent to the

  11   execution of the Deed of Trust, whether as lien claimants,judgment creditors, persons

  12   claiming under junior deeds of trust, purchasers, encumbrancers, or otherwise, be barred and

  13   foreclosed from all rights, claims, or equity redemption in the Property and every part of said

  14   Property when the time for redemption has elapsed.

  15          68.     The Loan Documents provide that the Borrower agrees to pay all of Plaintiff's

  16   costs and expenses, including Plaintiff's attorneys' fees and legal expenses, incurred in

  17   connection with the enforcement of the Loan Documents. Because of the Borrower's defaults,

  18   Plaintiff has been required to retain the law firms of Brownstein Hyatt Farber Schreck and

  19   Raines Feldman LLP and is entitled to an award of attorneys' fees and litigation expenses

 20    incurred herein.

 21                                   SECOND CAUSE OF ACTION

 22                               (Specific Performance of Deed of Trust

 23                          Against all Defendants and Does I through 100)

 24           69.     Plaintiff incorporates by this reference all allegations contained in paragraphs I

 25    through 68.

 26           70.     Plaintiff is entitled to specific performance of the terms, conditions and

 27    provisions of the Loan Documents, and is entitled to the appointment of a receiver who has th

 28    power and authority: (A) to take possession of the Property; (8) to protect, preserve, secure,
                                                    -14-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

                                                                                                   017
Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                     Desc
                              Main Document    Page 30 of 146



   1   manage and operate the Property; (C) oversee the construction on the Property, including

   2   raising and securing any necessary funds to complete the Project; and (D) collect the rents,

   3   issues and profits of the Property (if applicable).

  4           71.      Plaintiff has no plain, speedy and adequate remedy at law, and will suffer

   5   irreparable damage, injury and harm unless equitable relief is granted.

  6           72.      The Loan Documents provide that the Borrower agrees to pay all of Plaintiff's

   7   costs and expenses, including Plaintiff's attorneys' fees and legal expenses, incurred in

   8   connection with the enforcement of said Loan Documents.

   9                                    THIRD CAUSE OF ACTION

  10                 (Injunctive Relief Against all Defendants and Does 1 through 100)

  11          73.      Plaintiff incorporates by this reference all allegations contained in paragraphs 1

  12   through 72.

  13          74.      In aid of the receiver to be appointed, Plaintiff seeks temporary restraining

  14   orders and/or preliminary and permanent injunctions restraining and enjoining Borrower and

  15   its partners, members, agents, managers, employees, representatives, and guarantors (and all

  16   others acting in concert with or under them) from interfering with Plaintiff or the receiver in:

  17   (A) taking possession of the Property; (B) protecting, preserving, securing, managing and

  18   operating the Property; (C) overseeing the construction on the Property, including raising and

  19   securing any necessary funds to complete the Project; (D) collecting the rents, issues and

 20    profits of the Property (if applicable); and (E) disposing of or encumbering any property that

 21    serves as collateral under the Loan Documents or Guaranty Documents.

 22           75.      Plaintiff has no plain, speedy and adequate remedy at law, and will suffer

 23    irreparable damage, injury and harm unless equitable relief is granted.

 24           76.      The Loan Documents provide that the Borrower agrees to pay all of Plaintiff's

 25    costs and expenses, including Plaintiffs attorneys' fees and legal expenses, incurred in

 26    connection with the enforcement of said Loan Documents.

 27

 28    II/
                                                     -15-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

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Case 2:21-bk-11188-BB          Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                   Desc
                               Main Document    Page 31 of 146



   1                                   FOURTH CAUSE OF ACTION

   2      (Breach of Contract Against TIC Defendants, Guarantors and Does 1 through 100)

  3           77.      Plaintiff incorporates by this reference all allegations contained in paragraph 1

  4    through 76.

   5          78.      Plaintiff has performed all conditions, covenants and promises required on its

   6   part to be performed under the Loan Documents except as to those matters excused by

   7   defendants', and each of their, breaches and defaults under the Loan Documents.

   8          79.      The Project has been halted because Borrower has breached representations,

  9    warranties and covenants contained in the Loan Documents and has defaulted under the Loan

  10   Documents by, among other things:
  11                A. Failure of Borrower and Guarantor to post the deficiency previously calculated

  12                   to be approximately $19,252,951.98 pursuant to Section 9.13 of the Loan

  13                   Agreement to place the Loan "In-Balance";

  14                B. Failure to pay monthly Debt Service due on May 1, 2019, or any subsequent

  15                   payments due thereafter;

  16                C. Misappropriation by Borrower of bond proceeds from the Mello Roos financin

  17                   (or the failure to explain how such funds were applied to the Project);

  18                D. Failure of Borrower to deposit approximately $2,518,486.67 calculated by

  19                   Lender in the Interest Reserve to cure the Interest Reserve Deficiency pursuant

 20                    to the Loan Documents;

 21                 E. Breaches by Borrower of the terms of the Hotel License Agreement and Hotel

 22                    Management Agreement;

 23                 F. Continuing exposure to the elements and wasting of construction materials and

 24                    finishes located at the site as construction has ceased;

 25                 G. Failing to pay certain Property taxes; and
  26                H. Allowing certain material permits to lapse.

  27          80.      These defaults have not been cured. As a result thereof, Plaintiff has declared
  28   that all sums secured by the Deed of Trust are immediately due and payable under the Loan
                                                     -16-
               VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

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Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                     Desc
                              Main Document    Page 32 of 146



   I   Documents.
  2           81.      Proper demands have been made upon the Borrower to cure the defaults and,

  3    among other things, pay Plaintiff the full amount in default and interest due, but the Borrower

  4    refused and continues to refuse to comply with Plaintiff's demands.

  5           82.      As of November 1, 2019, there was and still is due, owing and payable on the

  6    Note in accordance with the Loan Documents a principal of$19,619,969.79, accrued unpaid

  7    interest, accrued unpaid default interest, late charges, advances, foreclosure fees, receiver fees,

   8   legal fees and costs of suit in amounts not yet detennined. As of November 1, 2019, the

  9    amount due and payable to cure the default was $21,413,976.14, not including attorneys' fees

  IO   and costs which Plaintiff has incurred and continues to incur.

  11          83.      The Loan Documents entitle Plaintiff to all attorneys' fees and expenses

  12   incurred in connection with any dispute in connection with the Loan Documents.

  13                                    FIFTH CAUSE OF ACTION
  14                (For Breach of Indemnity and Guaranty Agreement Against Guarantors A.
  15           Stuart Rubin, Elliot Lander, and Gary Stiffelman and Does I through 100)
  16          84.      Plaintiff incorporates by this reference all allegations contained in paragraphs 1

  17   through 83.
  18          85.       Plaintiff has perfonned all conditions, covenants and promises on its part to be

  19   perfonned under the Loan Documents except for those matters that have been excused by

 20    defendants', and each of their, breaches and defaults.

 21           86.       The Project has been halted because Borrower and Guarantors have breached

 22    representations, warranties and covenants contained in the Loan Documents and defaulted

 23    under the Loan Documents by, among other things:

 24                 A. Failure of Borrower and Guarantor to post the deficiency previously calculated

 25                    to be approximately $19,252,951.98 pursuant to Section 9.13 of the Loan

 26                    Agreement to place the Loan "In-Balance";

 27                 B. Failure to pay monthly Debt Service due on May 1, 2019, or any subsequent

 28                    payments due thereafter;
                                            -17-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
                                                                                                    020
Case 2:21-bk-11188-BB          Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                    Desc
                               Main Document    Page 33 of 146



   I                C. Misappropriation by Borrower of bond proceeds from the Mello Roos financin

  2                    (or the failure to explain how such funds were applied to the Project at all or in

   3                   accordance with the Project budget and scope of work that Lender approved);

  4                 D. Failure of Borrower to deposit approximately $2,518,486.67 calculated by

   5                   Lender in the Interest Reserve to cure the Interest Reserve Deficiency pursuant

  6                    to the Loan Documents;

   7                E. Breaches by Borrower of the terms of the Hotel License Agreement and Hotel

   8                   Management Agreement;

  9                 F. Continuing exposure to the elements and wasting of construction materials and

  10                   finishes located at the site as construction has ceased;

  11                G. Failing to pay certain Property taxes; and

  12                H. Allowing certain material permits to lapse.

  13          87.      These defaults have not been cured. As a result thereof, Plaintiff has declared

  14   that all sums secured by the Deed of Trust are immediately due and payable under the Loan

  15   Documents.

  16          88.      In addition, on April 26, 2018, as further security and to induce Plaintiff to

  17   provide the loan as set forth in the Loan Documents, the Guarantors signed the Indemnity and

  18   Guaranty Agreement (Exhibit "8"). As set forth in the Indemnity and Guaranty Agreement,

  19   Guarantors assumed liability for and guaranteed payment of the Guaranteed Obligations of

 20    Borrower, which includes (but is not limited to) all obligations and liabilities under the Loan

 21    Documents.

 22           89.      Plaintiff has performed all conditions, covenants and promises on its part to be

 23    performed under the Indemnity and Guaranty Agreement, as well as all of the provisions of th

 24    Loan Documents except for those matters excused by defendants', and each of their, breaches

 25    and defaults.

 26           90.      By reason of Borrower's defaults under the Loan Documents, the Guarantors,

 27    as guarantors of the Loan Documents as set forth specifically in the Indemnity and Guaranty

 28    Agreement, are indebted to Plaintiff in the sum of not less than $21,413,976.14, together with
                                                     -18-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

                                                                                                    021
Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                      Desc
                              Main Document    Page 34 of 146



   1   accrued interest, late fees, other charges, attorneys' fees and costs, all according to proof.

   2          91.      Guarantors have failed and refused to pay the amounts due and owning under

   3   the Loan Documents in accordance with and as required by the Indemnity and Guaranty

  4    Agreement despite due demands, and have, therefore, breached the Indemnity and Guaranty

   5   Agreement.

  6           92.      Plaintiff is informed and believes, and based thereon alleges, that as a direct an

   7   legal result of the Guarantors' breach of the Indemnity and Guaranty Agreement, Plaintiff has

   8   been damaged in an amount in excess of this Court's jurisdictional limit. Plaintiff shall prove

  9    at trial the exact amount of its damages, which it reasonably believes to be not less than

  lO   $21,413,976.14, plus additional accrued and unpaid interest, late fees, other charges, attorneys

  11   fees, and costs, all according to proof.

  12          93.      The Loan Documents and the Indemnity and Guaranty Agreement entitle

  13   Plaintiff to all attorneys' fees and expenses incurred in connection with any dispute in

  14   connection with the Loan.

  15                                    SIXTH CAUSE OF ACTION
  16     (For Breach of Completion Guaranty Agreement Guarantors A. Stuart Rubin, Elliot
                                                                                ~




  17                       Lander, and Gary Stiffelman and Does 1 through 100)
  18          94.      Plaintiff incorporates by this reference all allegations contained in paragraphs 1

  19   through 93.

 20           95.      Plaintiff has performed all conditions, covenants and promises on its part to be

 21    performed pursuant to the Loan Documents except for those matters that have been excused b

 22    defendants', and each of their, breaches and defaults.

 23           96.      The Project has been halted because Borrower and Guarantors have breached

 24    representations, warranties and covenants in the Loan Documents and defaulted under the

 25    Loan Documents by, among other things:

 26                 A. Failure of Borrower and Guarantor to post the deficiency previously calculated

 27                    to be approximately $19,252,951.98 pursuant to Section 9.13 of the Loan

 28                    Agreement to place the Loan "In-Balance";
                                                     -19-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

                                                                                                        022
Case 2:21-bk-11188-BB          Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                    Desc
                               Main Document    Page 35 of 146



   1                B. Failure to pay monthly Debt Service due on May I, 2019, or any subsequent
  2                    payments due thereafter;
  3                 C. Misappropriation by Borrower of bond proceeds from the Mello Roos financin
  4                    (or the failure to explain how such funds were applied to the Project);
   5                D. Failure of Borrower to deposit approximately $2,518,486.67 calculated by
  6                    Lender in the Interest Reserve to cure the Interest Reserve Deficiency pursuant
   7                   to the Loan Documents;
   8                E. Breaches by Borrower of the terms of the Hotel License Agreement and Hotel
  9                    Management Agreement;
  10                F. Continuing exposure to the elements and wasting of construction materials and
  11                   finishes located at the site as construction has ceased;
  12                G. Failing to pay certain Property taxes; and
  13                H. Allowing certain material permits to lapse.
  14          97.      These defaults have not been cured. As a result thereof, Plaintiff has declared
  15   that all sums secured by the Deed of Trust are immediately due and payable under the Loan
  16   Documents.
  17          98.      In addition, on April 26, 2018, as further security and to induce Plaintiff to
  18   provide the loan to Borrower as set forth in the Loan Documents, the Guarantors signed the
  19   Completion Guaranty Agreement (Exhibit 9). As set forth in the Completion Guaranty
 20    Agreement, the Guarantors irrevocably and unconditionally guaranteed performance of the
 21    Guaranteed Recourse Obligations as that term is defined in the document and the Loan
 22    Documents.
 23           99.      Plaintiff has performed all conditions, covenants and promises on its part to be
 24    performed under the Completion Guaranty Agreement, as well as all of the provisions of the
 25    Loan Documents, except those matters that have been excused by defendants', and each of
 26    their, breaches and defaults.
 27           100.     By reason of Borrower's defaults under the Loan Documents, Guarantors, as
 28    personal guarantors of the Loan Documents as set forth specifically in the Completion
                                                     -20-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
                                                                                                    023
Case 2:21-bk-11188-BB            Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                                 Main Document    Page 36 of 146



   I   Guaranty Agreement, are indebted to Plaintiff in the sum of not less than $31,500,000 togethe

   2   with accrued interest, late fees, other charges, attorneys' fees and costs, all according to proof.

  3            IO I.   Guarantors have failed and refused to pay the amounts due and owning under

   4   the Loan Documents in accordance with and as required by the Completion Guaranty

   5   Agreement despite due demands, and have, therefore, breached the Completion Guaranty

   6   Agreement.

   7           I 02.   Plaintiff is informed and believes, and based thereon alleges, that as a direct an

   8   legal result of Guarantors' breach of the Completion Guaranty Agreement, Plaintiff has been

   9   damaged in an amount in excess of this Court's jurisdictional limit. Plaintiff shall prove at trial

  lO   the exact amount of its damages, which it reasonably believes to be not less than $31,500,000,

  11   plus additional accrued and unpaid interest, late fees, other charges, attorneys' fees, and costs,

  12   all according to proof.

  13           103.    The Loan Documents and the Completion Guaranty Agreement entitle Plaintiff

  14   to all attorneys' fees and expenses incurred in connection with any dispute in connection with

  15   the Loan.

  16                                  SEVENTH CAUSE OF ACTION

  17   (Fraud in the Inducement Against TIC Defendants, Guarantors (A. Stuart Rubin, Elliot

  18       Lander, and Gary Stiffelman), Joseph Rubin, Doug Wall and Does I through 100)

  19           104.    Plaintiff incorporates by this reference all allegations contained in paragraphs I

 20    through 103.

 21            105.    The TIC Defendants, Guarantors, Joseph Rubin, Doug Wall and each of them,

 22    provided, or caused to be provided, budget information and documents to the Lender in

 23    connection with the Loan Agreement that they knew contained inaccurate information,

 24    material misrepresentations or omissions. Each of these defendants knew, and in fact intended

 25    that, Lender would rely upon their misrepresentations, upon which Lender did in fact

 26    detrimentally rely.

 27            106.    The TIC Defendants, Guarantors, Joseph Rubin, Doug Wall and each of them,

 28    intentionally misrepresented to Lender, in order to induce Lender to enter into the Loan
                                                     -21-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
                                                                                                    024
Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                 Desc
                              Main Document    Page 37 of 146



   1   Agreement, a budget for completion of the Project, excluding land costs, of$37,590,136, and

  2    that TIC Defendants and Guarantors could complete the Project with $24.4 million in loan

  3    funding from Lender. The Broker, acting for TIC Defendants and Guarantors, submitted to

  4    Lender via email on March 28, 2019 the final pre-closing budget for the Project. TIC

   5   Defendants, Guarantors, Joseph Rubin, Doug Wall and each of them knew that Lender would

  6    not enter into the Loan Agreement if they presented the true budget. The true facts were that

   7   the actual budget to complete the Project was over $60,000,000, and Borrower and Guarantors

   8   would require more financing than they had available. To date, the Project remains incomplete

   9   and construction has stopped.

  10           107.    When the Loan Agreement closed in April 2018, the TIC Defendants,

  11   Guarantors, Joseph Rubin, Doug Wall, and each of them, intentionally omitted from their

  12   budget submitted to Lender material subcontracts for completion of the Project to induce

  13   Lender to enter into the Loan Agreement.

  14          108.     The TIC Defendants, Guarantors, Joseph Rubin, Doug Wall, and each of them

  15   submitted or caused to be submitted draw requests for funding pursuant to the Loan

  16   Agreement that contain material omissions and misrepresentations regarding the budget to

  17   complete the Project, the use of the funds drawn and other sources of Project financing, and

  18   the funds available for the Project.

  19          109.     Upon infonnation and belief, Doug Wall and other contractor defendants

 20    intentionally submitted invoices to the Lender with draw requests that misrepresented the total

 21    amount of work that Doug Wall and other contractors had perfonned on the Project and the

 22    amount Borrower owed to them to provide false and inaccurate information to Lender about

 23    the budget of the Project so that Lender would continue funding the Loan. The TIC

 24    Defendants, Guarantors, Joseph Rubin and each of them, were aware of, and participated in,

 25    such misrepresentations to the Lender. These defendants knew Lender would rely upon these

 26    representations in connection with funding draw requests under the Loan Agreement.

 27            I 10.   The TIC Defendants and Guarantors, Joseph Rubin, and each of them,

 28    intentionally misrepresented that they had the requisite knowledge, experience, and
                                                   -22-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
                                                                                                  025
Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                              Main Document    Page 38 of 146



   1   qualifications regarding hotel development, which representations were patently false, and

   2   concealed from the Lender that Joseph Rubin would oversee construction on the Project,

   3   despite having no prior relevant experience, so that Lender would continue funding draw

  4    requests from Borrower and Doug Wall under the Loan Agreement.

   5           111.    The TIC Defendants, Guarantors, Joseph Rubin and each of them, further

   6   intentionally misrepresented that funds drawn pursuant to the Loan Agreement would be used

   7   solely for purposes allowed under the Loan Documents but then fraudulently and improperly

   8   used, or allowed to be used, such funds for personal use and/or to pay for costs concerning

  9    property unrelated to the Project,not involving the Property, or within the approved Project

  10   budget and scope of work, all in violation of the Loan Documents.

  11           112.    The TIC Defendants and Guarantors agreed pursuant to the Loan Agreement

  12   that they would send any Mello Roos funds received for the Project to Lender for Lender to

  13   hold and be disbursed only in Lender's discretion, as such funds were necessary to complete

 14    the Project and ensure it had proper reserves for the seasonal nature of the business once

  15   complete.

  16           113.    The TIC Defendants and Guarantors, however, misrepresented to Lender the

  17   funding that they had available for the Project, and failed to comply with the requirements of

  18   the Loan Agreement to deposit Mello Roos funds with Lender. On August 2, 2018, Stuart

  19   Rubin emailed to Huell Kim at Lender that the TIC Defendants had received approval for

 20    Mello Roos funding for the Project. After the TIC Defendants received the Mello Roos funds,

 21    Stuart Rubin expressly denied in emails on January 24, 2019 and February 6, 2019 with Huell

 22    Him that he had received such funds, when in fact TIC Defendants, Stuart Rubin or Joseph

 23    Rubin had received them. Lender relied on representations from Stuart Rubin that the TIC

 24    Defendants had not received the Mello Roos funds in continuing to fund subsequent draw

 25    requests.

 26           114.     When these defendants made the foregoing misrepresentations, they knew that

 27    these representations were false.
 28           115.     These defendants intended that Lender rely upon the foregoing
                                                    -23-
                   VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
                                                                                                    026
Case 2:21-bk-11188-BB        Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                    Desc
                             Main Document    Page 39 of 146



   I   misrepresentations, and Lender reasonably relied on such representations in making and

   2   funding the Loan.

  3           116.    Borrower is in default and, without additional funding, the Project cannot be

  4    completed. Lender has been damaged by these defendants' misrepresentations and

   5   concealments in an amount to be proven at trial.
  6           117.    Lender's reasonable reliance on these defendants' misrepresentations was a

   7   substantial factor in causing harm to Lender.

   8          118.    These defendants' intentional misrepresentations were made willfully and with

  9    malice, fraud, and oppression.
  10          119.    As a result of such willful, intentional, oppressive, and fraudulent conduct,

  11   punitive damages should be imposed against these defendants to punish their fraudulent

  12   conduct and to deter future similar conduct in an amount according to proof at trial.

  13                                    EIGHTH CAUSE OF ACTION
  14   (Negligent Misrepresentation Against TIC Defendants, Guarantors, Joseph Rubin, Doug
  15                                     Wall and Does 1 through 100)
  16          120.    Plaintiff incorporates by this reference all allegations contained in paragraphs I

  17   through 119.

  18          121.    The TIC Defendants, Guarantors, Joseph Rubin, Doug Wall, and each of them,

  19   provided, or caused to be provided, budget information and documents to the Lender in

 20    connection with the Loan Agreement that they knew or should have known contained

 21    inaccurate information, upon which TIC Defendants, Guarantors, Doug Wall, and Joseph

 22    Rubin knew or should have known Lender would rely, and Lender did in fact detrimentally

 23    rely upon such representations.
 24           122.    As set forth herein, the TIC Defendants, Guarantors, Joseph Rubin, Doug Wall

 25    and each of them represented to Lender a budget for completion of the Project that they knew
 26    or should have known did not contain the actual budget for completion of the Project, and

 27    represented to Lender that they could complete the Project with $24.4 million in financing.

 28    The TIC Defendants, Guarantors, Joseph Rubin, Doug Wall and each of them knew or should
                                                    -24-
               VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

                                                                                                  027
Case 2:21-bk-11188-BB        Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                     Desc
                             Main Document    Page 40 of 146



   1   have known the true facts that the actual budget to complete the Project far exceeded the

   2   budget submitted, and that they could not in fact complete the project with the financing they

   3   had available. To date, the Project remains incomplete, and construction has stopped.

   4          123.    The TIC Defendants, Guarantors, and Joseph Rubin, misrepresented to Lender

   5   that they had the requisite knowledge, experience, and qualifications regarding hotel

   6   development. It has become clear, however, that they do not hold such knowledge, experience,

   7   and qualifications.

   8          124.    The TIC Defendants, Guarantors, Joseph Rubin, and each of them,

   9   misrepresented that the Loan proceeds would be used solely for purposes allowed under the

  IO   Loan Documents but then improperly used, or allowed to be used, Loan proceeds for personal
  11   use and/or to pay for costs concerning property unrelated to the Project or not involving the

  12   Property, in violation of the Loan Documents.

  13          125.    The TIC Defendants and Guarantors also misrepresented to Lender the funding

  14   that they had available for the Project. On August 2, 2018, Stuart Rubin emailed to Huell Kim

  15   at Lender that the TIC Defendants had received approval for Mello Roos funding for the

  16   Project. Plaintiff is informed and believes, and thereon alleges that Mello Roos funds were

  17   disbursed to the TIC Defendants and Guarantors or otherwise made available to them as early

  18   as September 2018.Stuart Rubin, however, when asked about the status of the Mellow Roos

  19   funds, in emails on January 24, 2019 and February 6, 2019 with Huell Kim from Lender, did

  20   not inform Lender that Mello Roos funds were available for disbursement to TIC Defendants

  21   or Guarantors or that they had been disbursed to TIC Defendants or Guarantors. Instead, Stua

  22   Rubin stated falsely that the process for disbursement of the Mello Roos funds was still
  23   ongoing. Lender relied on such misrepresentations from Stuart Rubin that the TIC Defendants

  24   had not received the Mello Roos funds and that Mello Roos funds were not yet available for

  25   disbursement in continuing to fund subsequent draw requests.

  26          126.    When these defendants made the foregoing misrepresentations, they knew or

  27   should have known that these representations were false.
  28          127.    These defendants intended that Lender rely upon the foregoing
                                                    -25-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

                                                                                                   028
Case 2:21-bk-11188-BB          Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                      Desc
                               Main Document    Page 41 of 146



   I   misrepresentations, and Lender reasonably relied on such representations.
  2           128.     Borrower is in default and, without additional funding, the Project cannot be
  3    completed. Lender has been damaged in an amount to be proven at trial.
  4           129.     Lender's reliance on these defendants' misrepresentations was a substantial
  5    factor in causing hann to Lender.
  6           WHEREFORE, Plaintiff prays judgment as follows:

  7    AS TO THE FIRST CAUSE OF ACTION:

   8           I.      For damages according to proof at the time of trial or entry of judgment;
  9           2.       For an order adjudging that:
  IO                A. The Deed of Trust be foreclosed;
  11                B. That judgment issue ordering the sale of the Property according to law by an
  12                   appropriate person appointed by the Court;
  13                C. The proceeds of the sale be applied in payment of the amounts due Plaintiff;
  14                D. Any rents, income and profits be applied in payment of the amounts due
  15                   Plaintiff; and
  16                E. Defendants, and each of them, and all persons claiming under any of the
  17                   subsequent to the execution of the Deed of Trust, whether as lien claimants,
  18                   judgment creditors, persons claiming under junior deeds of trust, purchasers,
  19                   encumbrancers, or otherwise, be barred and foreclosed from all rights, claims,
 20                    or equity redemption in the Property and every part of the Property when the
 21                    time for redemption has elapsed;
 22           3.       For a judgment that the rights, claims, ownership, lien, titles and demands of
 23    Defendants and Does I through 100, inclusive, are subsequent to and subject to the lien of the
 24    Plaintiff's Deed of Trust;
 25           4.       For a determination that Defendants are liable for payment of the sums secured
 26    by the Deed of Trust and that said Defendants are the Defendants against whom a deficiency
 27    judgment may be ordered following procedures prescribed by law;
 28           5.       For an order permitting Plaintiff, or any parties to this action, to become
                                                      -26-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
                                                                                                     029
Case 2:21-bk-11188-BB            Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                                 Main Document    Page 42 of 146



   1   purchasers at the sale of the Property;
  2           6.      For a declaration that, when time for redemption has elapsed, the levying

   3   officer shall execute a deed to the purchaser or purchasers of the Property at the sale, and the

  4    purchaser or purchasers shall be let into possession of the Property upon production of the

   5   levying officer's deed;

   6   AS TO THE SECOND CAUSE OF ACTION:
   7          7.      For an order decreeing that the Loan Documents be specifically performed by

   8   Defendants, and each of them;
   9   AS TO THE THIRD CAUSE OF ACTION:
  10          9.      For a temporary restraining order and/or preliminary and permanent injunctions

  11   restraining and enjoining:
  12               A. Defendants and their partners, members, agents, managers, employees,

  13                  representatives, and guarantors from interfering with Plaintiff or the Receiver
  14                  in: (A) taking possession of the Property; (8) protecting, preserving, securing,

  15                  managing and operating the Property, (C) overseeing the construction on the

  16                  Property, (D) collecting the rents, issues and profits of the Property (if

  17                  applicable), and (E) disposing of or encumbering any property that serves as

  18                  collateral under the Loan Documents or Guaranty Documents.
  19               8. Defendants and their partners, members, agents, managers, employees,

 20                   representatives, and guarantors from interfering with Plaintiff or the Receiver

 21                   by committing or permitting any waste of the Property or any part thereof, or

 22                   suffering or committing or permitting any act on the Property or any part
 23                   thereof in violation of law, or removing, transferring, encumbering or otherwis
 24                   disposing of any of the Receivership Property or any part thereof;

 25                C. Defendants and their partners, members, agents, managers, employees,
 26                   representatives, and guarantors from directly or indirectly interfering in any

 27                   manner with the discharge of the Receiver's duties under his/her/its Order or
 28                   the Receiver's possession of and operation or management of the Property;
                                                    -27-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST
                                                                                                   030
Case 2:21-bk-11188-BB          Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                     Desc
                               Main Document    Page 43 of 146



   I                 D. Defendants and their partners, members, agents, managers, employees,

   2                    representatives, and guarantors from expending, disbursing, transferring,

  3                     assigning, selling, conveying, devising, pledging, mortgaging, creating a

  4                     security interest in, encumbering, concealing or in any manner whatsoever

   5                    dealing in or disposing of the whole or any part of the Property without prior

  6                     specific Court Order;

  7                  E. Defendants and their partners, members, agents, managers, employees,

   8                    representatives, and guarantors from withholding any Property assets, books,

  9                     records, or funds from the Receiver; and,

  10                 F. Defendants and their partners, members, agents, managers, employees,

  11                    representatives, and guarantors from doing any act which will, or which will

  12                    tend to, impair, defeat, divert, prevent or prejudice the preservation of the

  13                    Property;

  14   AS TO THE FOURTH AND FIFTH CAUSES OF ACTION:

  15           10.      The sum of $21,413,976.14, plus unpaid accrued interest, unpaid accruing

  16   interest, late charges, attorneys' fees and costs, according to proof at time of trial or entry of

  17   judgment;

  18   AS TO THE SIXTH CAUSE OF ACTION:

  19           11.      The sum of$31,500,000, plus additional accrued and unpaid interest, late fees,

 20    other charges, attorneys' fees, and costs, all according to proof at time of trial or entry of

 21    judgment;

 22    AS TO THE SEVENTH CAUSE OF ACTION:

 23            12.      For damages according to proof at the time of trial or entry of judgment;
 24            13.      Punitive damages according to proof at trial;

 25    AS TO THE EIGHTH CAUSE OF ACTION:

 26            14.      For damages according to proof at the time of trial or entry ofjudgment;

 27    AS TO ALL CAUSES OF ACTION:

 28            15.      For attorneys' fees and costs of suit incurred herein; and
                                                      -28-
                VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

                                                                                                        031
Case 2:21-bk-11188-BB     Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                    Desc
                          Main Document    Page 44 of 146



   1         16.   For such other and further relief as this Court may deemjust and proper.

   2
   3   Dated: November 19, 2019                 RAINES FELDMAN LLP
   4

   5                                            By:
                                                        John S. Cha
   6                                                    Nathaniel M. Carle
   7                                                    Attorneys for Plaintiff U.S. Real Estate
                                                        Credit Holdings ill-A, LP
   8

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              VERIFIED COMPLAINT FOR JUDICIAL FORECLOSURE OF DEED OF TRUST

                                                                                              032
Case 2:21-bk-11188-BB           Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                     Desc
                                Main Document    Page 45 of 146




    l                                            VERIFICATION
    2             I, Simond I.avian, declare:
    3             I am a Director, Asset Managem,en¼ of Calmwater Asset Management, LLC, the
    4   investment manager of Plaintiff U.S. Real Estate Credit Holdings ill-A, LP ("PlaintiW' or
    5   "Lender''). I have been authorized to make this verification on Plaintiff's behalf.
    6             I have read the foregoing VERIFIED COMPLAINT and the appended ex1noits and
    7   know the contents thereof. The same is true of my own knowledge, except as to those matters
    8   which are therein stated on information and belief, and, as to those matters, I believe them to
    9   betrue.
   IO             I declare under penalty of perjury under the laws of the S~te of California that the
   11   foregoing is true and correct.
   12             Executed at Los Angeles, California, on November 19, 2019.
   13
   14                                                   Simond I.avian
   15
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                                                  VERIFICATION


                                                                                                         033
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document    Page 46 of 146




                                   EXHIBIT 2



                                                                           034
           Case 2:21-bk-11188-BB                     Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                                         Desc
                                                     Main Document    Page 47 of 146
                                                                                                                                                   SUBP-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                       FOR COURT USE ONLY
Sean A. O'Keefe, SBA 122417
OKEEFE & ASSOCIATES LAW CORPORATION, P.C.
26 Executive Park, Suite 250, Irvine, CA 92614
         TELEPHONE NO.: 949.334.4135               FAX NO.: 949.209.2625
        E-MAIL ADDRESS: sokeefe@okeefelawcorporation.com
   ATTORNEY FOR (Name):
                         Elliot B. Lander, defendant
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Riverside
 STREET ADDRESS: 30755-D Auld Drive
MAILING ADDRESS:
              Murietta, CA 92563
CITY AND ZIP CODE:

              Southwest Justice Center
    BRANCH NAME:

   PLAINTIFF/ PETITIONER: U.S. Real Estate Credit Holdings III-A, LP
DEFENDANT/ RESPONDENT: Glenroy Coachella, LLC et. al.
                                                                                                       CASE NUMBER:
                                DEPOSITION SUBPOENA
                         FOR PRODUCTION OF BUSINESS RECORDS                                             RIC1905743

THE PEOPLE OF THE STATE OF CALIFORNIA, TO (name, address, and telephone number of deponent, if known):
     CUSTODIAN OF RECORDS OF MARSHACK HAYS, LLP
1. YOU ARE ORDERED TO PRODUCE THE BUSINESS RECORDS described in item 3, as follows:
    To (name of deposition officer): ASAP Legal, LLC
    On (date):        August 15, 2023                                              At (time): 10:00 a.m.
    Location (address): 1607 James M. Wood Blvd., Los Angeles, California 90015
              Do not release the requested records to the deposition officer prior to the date and time stated above.
    a. x      by delivering a true, legible, and durable copy of the business records described in item 3, enclosed in a sealed inner
              wrapper with the title and number of the action, name of witness, and date of subpoena clearly written on it. The inner
              wrapper shall then be enclosed in an outer envelope or wrapper, sealed, and mailed to the deposition officer at the
              address in item 1.
    b.        by delivering a true, legible, and durable copy of the business records described in item 3 to the deposition officer at the
              witness's address, on receipt of payment in cash or by check of the reasonable costs of preparing the copy, as
              determined under Evidence Code section 1563(b).
    c.       by making the original business records described in item 3 available for inspection at your business address by the
             attorney's representative and permitting copying at your business address under reasonable conditions during normal
             business hours.
2. The records are to be produced by the date and time shown in item 1 (but not sooner than 20 days after the issuance of the
   deposition subpoena, or 15 days after service, whichever date is later). Reasonable costs of locating records, making them
   available or copying them, and postage, if any, are recoverable as set forth in Evidence Code section 1563(b). The records shall be
   accompanied by an affidavit of the custodian or other qualified witness pursuant to Evidence Code section 1561.
3. The records to be produced are described as follows (if electronically stored information is demanded, the form or
   forms in which each type of information is to be produced may be specified):

     x   Continued on Attachment 3.
4. IF YOU HAVE BEEN SERVED WITH THIS SUBPOENA AS A CUSTODIAN OF CONSUMER OR EMPLOYEE RECORDS UNDER
   CODE OF CIVIL PROCEDURE SECTION 1985.3 OR 1985.6 AND A MOTION TO QUASH OR AN OBJECTION HAS BEEN
   SERVED ON YOU, A COURT ORDER OR AGREEMENT OF THE PARTIES, WITNESSES, AND CONSUMER OR EMPLOYEE
   AFFECTED MUST BE OBTAINED BEFORE YOU ARE REQUIRED TO PRODUCE CONSUMER OR EMPLOYEE RECORDS.
    DISOBEDIENCE OF THIS SUBPOENA MAY BE PUNISHED AS CONTEMPT BY THIS COURT. YOU WILL ALSO BE LIABLE
       FOR THE SUM OF FIVE HUNDRED DOLLARS AND ALL DAMAGES RESULTING FROM YOUR FAILURE TO OBEY.
Date issued: July 21, 2023
         Sean A. O'Keefe
                             (TYPE OR PRINT NAME)                                                      (SIGNATURE OF PERSON ISSUING SUBPOENA)

                                                                                            Attorney for Elliot B. Lander
                                                                                                                       (TITLE)

                                                                (Proof of service on reverse)                                                           Page 1 of 2
Form Adopted for Mandatory Use                                                                                        Code of Civil Procedure, §§ 2020.410–2020.440;
  Judicial Council of California                    DEPOSITION SUBPOENA FOR PRODUCTION                                                   Government Code, § 68097.1
SUBP-010 [Rev. January 1, 2012]
                                                            OF BUSINESS RECORDS                                                                    www.courts.ca.gov


                                                                                                                                                035
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20            Desc
                            Main Document    Page 48 of 146



                                   ATTACHMENT 3
                                     DEFINITIONS
       1.     The term “COMMUNICATIONS” as used herein shall mean any document,
oral statement, meeting or conference, electronic format (email, text, instant messaging,
social/networking websites, etc.), formal or informal, at any time or place and under any
circumstances whatsoever, whereby information of any nature was stated, written,
recorded, or in any manner transmitted or transferred, including ELECTRONICALLY
STORED INFORMATION (ESI).

        2.     The term “DOCUMENT” or “DOCUMENTS” refers to any and all written,
typed, printed, recorded, graphic and/or photographic matters of reproductions, however
produced or reproduced, including copies or computer or data processing input or output
of whatever form. This definition of “DOCUMENT” or “DOCUMENTS” includes, but is
not limited to, emails, notes, contracts, agreements, diaries, letters, correspondence,
ledgers, plans, papers, reports, charts, telegrams, cables, wires, memoranda, receipts,
invoices, bills, files, records, statements, canceled checks, payroll checks, check stubs,
notebooks, logs, printouts, data sheets, drawings, photographs, film, videotape, analyses,
surveys, transcripts, recordings, minutes, calendars, interoffice communications, reports
and/or summaries of interviews, bulletins, licenses, memoranda of telephonic
communications, visual recordings and any other material which would come within the
definition of “Writing” or “Writings” as defined in California Evidence Code section 250.
The definition of “DOCUMENT” or “DOCUMENTS” also includes all copies of
DOCUMENTS by whatever means made, all drafts, whether used or not used, all revisions,
all prior versions, all annotated copies, all working papers, all handwritten notes, all notes
pertaining to telephonic conversations, and all other tangible things. This definition of
“DOCUMENT” or “DOCUMENTS” shall include each copy of the document which is not
identical in all respects with, or which contains any notation not appearing on, any other
copy or version of DOCUMENTS. This definition also includes all Electronically Stored
Information.

       3. "ELECTRONICALLY STORED INFORMATION" or "ESI" shall mean any
documents, information, concepts, or data ever placed into or stored on any computers or
electronic devices, including but not limited to any hard disk drive, solid state drive,
desktop computer, laptop computer, optical storage disk, USB drive, third-party data
storage systems, retrieval system and similar systems, cellular telephonic devices, memory
cards (commonly known as "SD cards"), random access memory (RAM), email and email
attachments, internet transmissions, electronic bulletin board posting, diary system,
calendar system, tickler system, and all other similar programs, or any repositories of
information used with electronically controlled equipment. ESI includes all metadata
embedded in any ESI, including the Load Files (electronic files used to import all required
production information into a Document database).




                                                                                         036
Case 2:21-bk-11188-BB     Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20        Desc
                          Main Document    Page 49 of 146



                          DOCUMENTS REQUESTED
All COMMUNICATIONS referring or relating to Glenroy Coachella, LLC, U.S.
Real Estate Credit Holdings III-A, LP, the real property located at the southeast
corner of Avenue 48 and Van Buren Street, Coachella, California, and the real property
located at 84-160 Avenue 8, Building B, Coachella, California, that were sent to or
received from any of the following individuals or entities in the 2/1/2021 through
June 30, 2023 time frame:
          1. Christopher Rivas;
          2. Marsha Houston;
          3. Reed Smith, LLP, or any agent or employee thereof;
          4. Calmwater Capital, LLC or any employee or agent of
             Calmwater Capital, LLC, including but not limited to Simond
             Lavian;
          5. U.S. Real Estate Credit Holdings III-A, LP or any employee or
             agent of Calmwater Capital, LLC, including but not limited to
             Simond Lavian;
          6. Edwin Leslie; and
          7. Gary S. Stiffelman.




                                                                                   037
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document    Page 50 of 146




                                   EXHIBIT 2



                                                                           038
Case 2:21-bk-11188-BB      Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20     Desc
                           Main Document    Page 51 of 146



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      26 Executive Park, Suite 250
  8   Irvine, CA 92614
      sokeefe@okeefelawcorporation.com
  9   Telephone: (949) 334-4135
      Fax: (949) 209-2625
 10
      Co-counsel to defendants Elliot B. Lander
 11   and Coachella Resort, LLC, a California
      limited liability company.
 12
 13                   SUPERIOR COURT OF THE STATE OF CALIFORNIA,
 14                COUNTY OF RIVERSIDE - SOUTHWEST JUSTICE CENTER
 15
 16   U.S. REAL ESTATE CREDIT HOLDINGS                    Case No: RIC1905743
      III-A, LP, an Irish limited partnership,
 17                                                       SECOND AMENDED VERIFIED
                      Plaintiff,                          ANSWER TO COMPLAINT FOR:
 18
            v.                                            1. JUDICIAL FORECLOSURE OF
 19                                                          DEED OF TRUST;
      GLENROY COACHELLA, LLC, a Delaware
 20   limited liability company, et al.,                  2. SPECIFIC PERFORMANCE OF
                                                             DEED OF TRUST;
 21                   Defendants.                         3. INJUNCTIVE RELIEF;
 22                                                       4. BREACH OF CONTRACT;
                                                          5. BREACH OF INDEMNITY AND
 23                                                          GUARANTY AGREEMENT;
 24                                                       6. BREACH OF COMPLETION
                                                             GUARANTY AGREEMENT;
 25                                                       7. FRAUD IN INDUCEMENT; AND
 26                                                       8. NEGLIGENT
                                                             MISREPRESENTATION.
 27
 28
                                                  Page 1 of 24
                     SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                039
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                            Main Document    Page 52 of 146




  1           Defendants ELLIOT LANDER (“Lander”) AND COACHELLA RESORT, LLC, a
  2   California limited liability company (“Resort”) (Jointly “Defendants Lander”) in answer to
  3   the Complaint on file, admit, deny and allege as follows:
  4                                     PARTIES ALLEGATIONS
  5          1.      In answer to paragraphs 1, 2, 3, 4, 8, 9, 10, 12, 13, 14, 18, and 19, of the Parties
  6   Allegations of the Complaint, Defendants Lander admit said paragraphs.
  7          2.      In answer to paragraphs 5, 6, 7, 11, 15, 16 and 17 of Parties’ Allegations,
  8   Defendants Lander lack information sufficient to form a belief upon which to admit or deny the
  9   allegations of said paragraphs and based on such lack of information and belief, deny generally
 10   and specifically each and every allegation contained in said paragraphs and the whole thereof.
 11          3.      In answer to paragraph 20 of Parties Allegations, Defendants Lander admit that
 12   named contractors and material men have filed Mechanics liens against the subject project.
 13   Except as expressly admitted, Defendants Lander lack information sufficient to form a belief
 14   upon which to admit or deny the remaining allegations of said paragraph and based on such lack
 15   of information and belief, deny generally and specifically each and every remaining allegation
 16   contained in said paragraph and the whole thereof.
 17          4.      In answer to paragraph 21 of Parties Allegations, Defendants Lander lack
 18   information sufficient to form a belief upon which to admit or deny the allegations of said
 19   paragraph and based on such lack of information and belief, deny generally and specifically each
 20   and every allegation contained in said paragraph and the whole thereof.
 21          5.      In answer to paragraph 22 of Parties Allegations, Defendants Lander lack
 22   information sufficient to form a belief upon which to admit or deny the allegations of said
 23   paragraph and based on such lack of information and belief, deny generally and specifically each
 24   and every allegation contained in said paragraph and the whole thereof.
 25          6.      In answer to paragraph 23 of Parties Allegations, Defendants Lander deny the
 26   allegations in said paragraph.
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                                                  Page 2 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                               040
Case 2:21-bk-11188-BB      Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                 Desc
                           Main Document    Page 53 of 146




  1   ///
  2                                     THE LOAN DOCUMENTS
  3          7.      In answer to paragraphs 24, 25, 26, 27, 28, 29, 30, 31, 32, 34, 35, 36, and 37 of
  4   the Loan Document allegations of the Complaint, Defendants Lander admit said paragraphs.
  5          8.      In answer to paragraphs 33 and 38 of the Loan Document allegations, Defendants
  6   Lander deny generally and specifically each and every allegation contained in said paragraphs
  7   and the whole thereof.
  8                DEFENDANTS’ OMISSIONS, CONCEALMENT AND DEFAULTS
  9          9.      In answer to paragraphs 39, 40 and 42 of Defendants’ Omissions, Concealment
 10   and Defaults allegations, Defendants Lander, deny generally and specifically each and every
 11   allegation contained in said paragraphs and the whole thereof.
 12          10.     In answer to paragraphs 41 of the Defendants’ Omissions, Concealment and
 13   Defaults allegations of the Complaint, Defendants Lander deny generally and specifically each
 14   and every allegation contained in said paragraph and the whole thereof based upon a lack of
 15   information and belief.
 16          11.     In answer to paragraphs 43, 44, 45, 47, 48, 49, 50, 51 and 52, of Defendants’
 17   Omissions, Concealment and Defaults allegations of the Complaint, Defendants Lander lack
 18   information sufficient to form a belief upon which to admit or deny the allegations of said
 19   paragraphs and based on such lack of information and belief, deny generally and specifically
 20   each and every allegation contained in said paragraphs and the whole thereof.
 21          12.     In answer to paragraph 46 of Defendants’ Omissions, Concealment and Defaults
 22   allegations, Defendants Lander deny generally and specifically each and every allegation
 23   contained in said paragraph and the whole thereof, that Lender reasonably relied on Borrower’s
 24   representations contained in Borrower’s Budget which was incorporated into Exhibit C to the
 25   Loan Agreement, which contains the approved budget for the Project. In this regard, Defendants
 26   Lander are informed and believe and based thereon allege, that Plaintiff had the experience and
 27   expertise and made its own evaluation as to the viability of the Project before making the subject
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                                                 Page 3 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             041
Case 2:21-bk-11188-BB        Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20               Desc
                             Main Document    Page 54 of 146




  1   loan. If there were insufficient funds to complete the Project Plaintiff knew, or should have
  2   known such to exist. Except as expressly admitted or alleged, Defendants Lander lack
  3   information sufficient to form a belief upon which to admit or deny the remaining allegations of
  4   said paragraph and based on such lack of information and belief, deny generally and specifically
  5   each and every remaining allegation contained in said paragraph and the whole thereof.
  6           13.      In answer to paragraph 53 of Defendants’ Omissions, Concealment and Defaults
  7   allegations, Defendants Lander deny each and every allegation based upon a lack of information
  8   or belief.
  9           14.      In answer to paragraphs 54, 55, 56, 57, 58, and 59 of the Defendants’ Omissions,
 10   Concealment and Defaults allegations, of the Complaint, Defendants Lander deny the allegations
 11   made in said paragraphs, subject to the following caveat: Defendants Lander do not dispute that
 12   Exhibits 13 through 15 are true and correct copies of the original.
 13                                      NEED FOR A RECEIVER
 14           15.      In answer to paragraph 60 of Need For A Receiver allegations, Defendants
 15   Lander deny generally and specifically allegations that Borrower is not adequately maintaining
 16   and preserving the Property and deny there is an immediate risk of loss, theft, or damage to the
 17   Property and other assets of the Borrower located at the Property and deny the Property is
 18   irreparably impaired or that the value of the Property is damaged in any way. Defendants Lander
 19   lack information sufficient to form a belief upon which to admit or deny the remaining
 20   allegations of said paragraph and based on such lack of information and belief, deny generally
 21   and specifically each and every remaining allegation contained in said paragraph and the whole
 22   thereof, that Borrower is not paying its debts. Except as expressly denied, Defendants Lander
 23   admit the remaining allegations of said paragraph.
 24           16.      In answer to paragraph 61 of Need for a Receiver allegations, Defendants Lander,
 25   deny generally and specifically each and every allegation contained in said paragraph and the
 26   whole thereof.
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                                                  Page 4 of 24
                       SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             042
Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20             Desc
                              Main Document    Page 55 of 146




  1          17.       In answer to paragraph 62 of Need for a Receiver allegations, Defendants Lander,
  2   allege on information and belief that the property taxes are now paid, but deny information
  3   sufficient to form a belief upon which to admit or deny that material permits have been permitted
  4   to lapse. On information and belief Defendants Lander admit the remaining allegations of said
  5   Paragraph.
  6          18.       In answer to paragraph 63 of Need for a Receiver allegations, Defendants Lander,
  7   Deny generally and specifically each and every allegation contained in said paragraph and the
  8   whole thereof.
  9          19.       In answer to paragraph 64 of Need for A Receiver allegations, Defendants Lander
 10   admit said paragraph.
 11          20.       In answer to paragraph 65 of Need for a Receiver allegations, Defendants Lander,
 12   Deny generally and specifically each and every allegation contained in said paragraph and the
 13   whole thereof.
 14                                     FIRST CAUSE OF ACTION
 15          21.       In answer to paragraph 66 of the First Cause of Action of the Complaint,
 16   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
 17   paragraphs 1 through 65 of the Complaint and incorporate the same by this reference as though
 18   more fully set forth at length herein.
 19          22.       In answer to paragraphs 67 and 68, of the First Cause of Action of the Complaint
 20   Defendants Lander admit said paragraphs.
 21                                    SECOND CAUSE OF ACTION
 22          23.       In answer to paragraph 69 of the Second Cause of Action of the Complaint,
 23   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
 24   paragraphs 1 through 68 of the Complaint and incorporate the same by this reference as though
 25   more fully set forth at length herein.
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                                                  Page 5 of 24
                       SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             043
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20               Desc
                            Main Document    Page 56 of 146




  1           24.    In answer to paragraphs 70 and 71 of the Second cause of Action of the
  2   Complaint, Defendants Lander deny generally and specifically each and every allegation
  3   contained in said paragraphs and the whole thereof
  4           25.    In answer to paragraph 72 of the Second Cause of Action of the Complaint
  5 Defendants Lander admit the Loan Agreement contains a paragraph to this effect.
  6                                     THIRD CAUSE OF ACTION
  7           26.    In answer to paragraph 73 of the Third Cause of Action of the Complaint,
  8 Defendants Lander repeat and re-allege each and every admission, denial and allegation to
  9 paragraphs 1 through 72 of the Complaint and incorporate the same by this reference as though
 10 more fully set forth at length herein.
 11           27.    In answer paragraphs 74 and 76 of the Third Cause of Action of the Complaint
 12 Defendants Lander admit said paragraphs.
 13           28.    In answer paragraph 75 of the Third Cause of Action of the Complaint
 14 Defendants Lander deny generally and specifically each and every allegation contained in said
 15 paragraph and the whole thereof and expressly allege that the value of the subject project far
 16 exceeds any damages that Plaintiff has or may incur until any judgment is entered.
 17                                    FOURTH CAUSE OF ACTION
 18           29.    In answer to paragraphs 77 of the Fourth Cause of Action of the Complaint
 19   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
 20   paragraphs 1 through 76 of the Complaint and incorporate the same by this reference as though
 21   more fully set forth at length herein.
 22           30.    In answer paragraph 78 of the Fourth Cause of Action of the Complaint
 23   Defendants Lander deny generally and specifically each and every allegation contained in said
 24   paragraph and the whole thereof.
 25           31.    In answer to paragraph 79 of the Fourth Cause of Action, Defendants Lander deny
 26   each and every allegation in paragraph 79.
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                                                   Page 6 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                            044
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20               Desc
                            Main Document    Page 57 of 146




  1          32.     In answer to paragraph 80 of the Fourth Cause of Action, Defendants Lander
  2   admit that Plaintiff has declared that all sums secured by Deed of Trust are immediately payable
  3   under the Loan Documents. Except as expressly admitted, Defendants Lander lack information
  4   sufficient to form a belief upon which to admit or deny the remaining allegations of said
  5   paragraph and based on such lack of information and belief, deny generally and specifically each
  6   and every remaining allegation contained in said paragraph and the whole thereof.
  7          33.     In answer to paragraph 81 of the Fourth Cause of Action, Defendants Lander deny
  8   generally and specifically each and every allegation contained in said paragraph.
  9          34.     In answer paragraphs 82 of the Fourth Cause of Action of the Complaint
 10   Defendants Lander Defendants Lander deny generally and specifically each and every allegation
 11   contained in said paragraph. The Defendants Lander admit the allegations in paragraph 83 of the
 12   Complaint.
 13                                  FIFTH CAUSE OF ACTION
 14          35.     In answer to paragraphs 84 of the Fifth Cause of Action of the Complaint
 15   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
 16   paragraphs 1 through 83 of the Complaint and incorporate the same by this reference as though
 17   more fully set forth at length herein.
 18          36.     In answer paragraph 85 of the Fifth Cause of Action of the Complaint Defendants
 19   Lander deny generally and specifically each and every allegation contained in said paragraph and
 20   the whole thereof.
 21          37.     In answer to paragraph 86 of the Fifth Cause of Action of the Complaint,
 22   Defendants Lander deny each and every allegation in this paragraph.
 23          38.     In answer to paragraph 87 of the Fifth Cause of Action of the Complaint,
 24   Defendants Lander deny each and every allegation in this paragraph.
 25          39.     In answer to paragraph 88 of the Fifth Cause of Action of the Complaint,
 26   Defendants Lander admit Guarantors signed the indemnity and Loan Agreement (Exhibit “8”).
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                                                Page 7 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                            045
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20             Desc
                            Main Document    Page 58 of 146




  1   Said Agreement is the best evidence of what it means and they deny the meaning attributed to it
  2   in paragraph 88.
  3          40.     In answer paragraphs 89 and 90 of the Fifth Cause of Action of the Complaint,
  4   Defendants Lander deny generally and specifically each and every allegation contained in said
  5   paragraph and the whole thereof.
  6          41.     In answer to paragraph 91 of the Fifth Cause of Action of the Complaint,
  7   Defendants Lander deny generally and specifically each and every allegation contained in said
  8   paragraph.
  9          42.     In answer to paragraph 92 of the Fifth Cause of Action of the Complaint,
 10   Defendants Lander deny generally and specifically each and every allegation contained in said
 11   paragraph.
 12          43.     In answer paragraph 93 of the Fifth Cause of Action of the Complaint Defendants
 13 Lander admit the Loan Agreement contains a paragraph to this effect.
 14                                  SIXTH CAUSE OF ACTION
 15          44.     In answer to paragraphs 94 of the Sixth Cause of Action of the Complaint
 16   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
 17   paragraphs 1 through 93 of the Complaint and incorporate the same by this reference as though
 18   more fully set forth at length herein.
 19          45.     In answer paragraph 95 of the Fifth Cause of Action of the Complaint, Defendants
 20   Lander deny generally and specifically each and every allegation contained in said paragraph and
 21   the whole thereof.
 22          46.     In answer to paragraph 96 of the Fifth Cause of Action of the Complaint,
 23   Defendants Lander a deny each and every allegation in this paragraph.
 24          47.     In answer to paragraph 97 of the Sixth Cause of Action of the Complaint,
 25   Defendants Lander deny each and every allegation in this paragraph.
 26          48.     In answer to paragraph 98 of the Sixth Cause of Action of the Complaint,
 27   Defendants Lander admit Guarantors signed the Completion Guarantee Agreement (Exhibit “9”).
 28
                                                Page 8 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                           046
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20              Desc
                            Main Document    Page 59 of 146




  1   Said Agreement is the best evidence of what it means and they deny the meaning attributed to it
  2   in paragraph 98.
  3          49.     In answer paragraphs 99 and 100 of the Sixth Cause of Action of the Complaint,
  4   Defendants Lander deny generally and specifically each and every allegation contained in said
  5   paragraph and the whole thereof.
  6          50.     In answer to paragraph 101 of the Sixth Cause of Action of the Complaint,
  7   Defendants Lander deny generally and specifically each and every remaining allegation
  8   contained in said paragraph and the whole thereof.
  9          51.     In answer to paragraph 102 of the Sixth Cause of Action of the Complaint,
 10   Defendants Lander deny the allegations of said paragraph.
 11          52.     In answer paragraph 103 of the Sixth Cause of Action of the Complaint
 12 Defendants Lander admit the Loan Agreement contains a paragraph to this effect.
 13                                  SEVENTH CAUSE OF ACTION
 14          53.     In answer to paragraph 104 of the Seventh Cause of Action of the Complaint
 15   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
 16   paragraphs 1 through 103 of the Complaint and incorporate the same by this reference as though
 17   more fully set forth at length herein.
 18          54.     In answer paragraphs 105, 106, 107, 108, 109, 110, and 111 of the Seventh Cause
 19   of Action of the Complaint, Defendants Lander deny generally and specifically each and every
 20   allegation contained in said paragraphs and the whole thereof.
 21          55.     In answer paragraph 112 of the Seventh Cause of Action of the Complaint,
 22   Defendants Lander lack information sufficient to form a belief upon which to admit or deny the
 23   allegations of said paragraph and based on such lack of information and belief, deny generally
 24   and specifically each and every allegation contained in said paragraph and the whole thereof.
 25   Further Defendants Lander allege that the Loan Agreement is the best evidence as to what
 26   Defendants or either of them agreed to, and not as is alleged by Plaintiff.
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                                                 Page 9 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                           047
Case 2:21-bk-11188-BB      Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20               Desc
                           Main Document    Page 60 of 146




  1          56.    In answer to paragraph 113 of the Seventh Cause of Action, Defendants Lander
  2   deny that they misrepresented anything to anyone. Except as expressly denied, Defendants
  3   Lander lack information sufficient to form a belief upon which to admit or deny the remaining
  4   allegations of said paragraph and based on such lack of information and belief, deny generally
  5   and specifically each and every remaining allegation contained in said paragraph and the whole
  6   thereof.
  7          57.    In answer to paragraph 114 of the Seventh Cause of Action, Defendants Lander
  8   deny that they misrepresented anything to anyone. Except as expressly denied, Defendants
  9   Lander lack information sufficient to form a belief upon which to admit or deny the remaining
 10   allegations of said paragraph and based on such lack of information and belief, deny generally
 11   and specifically each and every remaining allegation contained in said paragraph and the whole
 12   thereof.
 13          58.    In answer to paragraph 115 of the Seventh Cause of Action, Defendants Lander
 14   deny that they misrepresented anything to anyone. Except as expressly denied, Defendants
 15   Lander lack information sufficient to form a belief upon which to admit or deny the remaining
 16   allegations of said paragraph and based on such lack of information and belief, deny generally
 17   and specifically each and every remaining allegation contained in said paragraph and the whole
 18   thereof.
 19          59.    In answer to paragraph 116 of the Seventh Cause of Action, Defendants Lander
 20   deny that they misrepresented anything to anyone and admit that without additional funding the
 21   Project cannot be completed. Except as expressly admitted and denied, Defendants Lander lack
 22   information sufficient to form a belief upon which to admit or deny the remaining allegations of
 23   said paragraph and based on such lack of information and belief, deny generally and specifically
 24   each and every remaining allegation contained in said paragraph and the whole thereof.
 25          60.    In answer to paragraphs 117, 118, and 119 of the Seventh Cause of Action of the
 26 Complaint, Defendants Lander deny generally and specifically each and every allegation
 27 contained in said paragraphs and the whole thereof. Defendants Lander are informed and believe
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                                               Page 10 of 24
                     SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                           048
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                Desc
                            Main Document    Page 61 of 146




  1 and based thereon allege, that Plaintiff basically relied on its own expertise and experience in
  2 making the subject loan and in advancing progressive monies pursuant to its own evaluations.
  3                                  EIGHTH CAUSE OF ACTION
  4          61.     In answer to paragraphs 120 of the Eighth Cause of Action of the Complaint,
  5   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
  6   paragraphs 1 through 119 of the Complaint and incorporate the same by this reference as though
  7   more fully set forth at length herein.
  8          62.     In answer to paragraph 121 of the Eighth Cause of Action, Defendants Lander
  9   deny that they provided or caused to be provided any inaccurate information to anyone. Except
 10   as expressly denied, Defendants Lander lack information sufficient to form a belief upon which
 11   to admit or deny the remaining allegations of said paragraph and based on such lack of
 12   information and belief, deny generally and specifically each and every remaining allegation
 13   contained in said paragraph and the whole thereof.
 14          63.     In answer to paragraph 122 of the Eighth Cause of Action, Defendants Lander
 15 deny that they provided or caused to be provided any inaccurate information to anyone. Except as
 16 expressly denied, Defendants Lander lack information sufficient to form a belief upon which to
 17 admit or deny the remaining allegations of said paragraph and based on such lack of information
 18 and belief, deny generally and specifically each and every remaining allegation contained in said
 19 paragraph and the whole thereof.
 20          64.     In answer to paragraph 123, 124, 125, and 126 of the Eighth Cause of Action,
 21   Defendants Lander deny that they misrepresented anything to anyone. Except as expressly
 22   denied, Defendants Lander lack information sufficient to form a belief upon which to admit or
 23   deny the remaining allegations of said paragraphs and based on such lack of information and
 24   belief, deny generally and specifically each and every remaining allegation contained in said
 25   paragraphs and the whole thereof.
 26          65.     In answer to paragraphs 126, 127, and 129 of the Eighth Cause of Action,
 27   Defendants Lander deny generally and specifically each and every allegation contained in said
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                                                Page 11 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             049
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                            Main Document    Page 62 of 146




  1   paragraphs and the whole thereof. Defendants Lander are informed and believe and based
  2   thereon allege, that Plaintiff basically relied on its own expertise and experience in making the
  3   subject loan and in advancing progressive monies pursuant to its own evaluations.
  4          66.     In answer to paragraphs 128 of the Eighth Cause of Action, Defendants Lander
  5 deny Lender has been, or will be damaged in any sum or amount, or has been damaged at all,
  6 inasmuch as the security in place will more than cover any alleged damages. Except as expressly
  7 denied the remaining allegations are admitted.
  8                 AFFIRMATIVE DEFENSES AS TO ALL CAUSES OF ACTION
  9   FIRST AFFIRMATIVE DEFENSE (Failure to State a Cause of Action)
 10   The Verified Complaint and each purported cause of action contained therein, fails to state facts
 11   sufficient to state a cause of action against Defendants Lander.
 12   SECOND AFFIRMATIVE DEFENSE (Uncertain Complaint and Causes of Action)
 13   The Verified Complaint and each and every cause of action contained therein, is uncertain in that
 14   it cannot be ascertained from the allegations of the Verified Complaint whether there are any
 15   facts constituting an actionable claim against Defendants Lander.
 16   THIRD AFFIRMATIVE DEFENSE (Laches)
 17   Any actions for equitable relief, including injunctive relief in this action are barred from any
 18   recovery against Defendants Lander by reason of the doctrine of laches and undue delay in
 19   giving notice to Defendants Lander of the matters alleged in the Verified Complaint and in
 20   commencing this litigation.
 21   FOURTH AFFIRMATIVE DEFENSE (Adequacy of remedy at law)
 22   The injury or damage suffered by Plaintiff, if any there be, would be adequately compensated in
 23   an action at law for damages as more than adequate security exists for the payment of any
 24   conceivable damages as pled in the Verified Complaint Accordingly, Plaintiff has a complete
 25   and adequate remedy at law and is not entitled to seek equitable, including injunctive, relief and
 26   for the appointment of a Receiver as is applicable to the Verified Complaint and each of the
 27   causes of action contained therein.
 28
                                                 Page 12 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                               050
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                            Main Document    Page 63 of 146




  1   FIFTH AFFIRMATIVE DEFENSE (Estoppel)
  2   Defendants Lander are informed and believe and based thereon allege that, by conduct,
  3   representations and omissions of Plaintiff and/or that of its agents, representatives and/or that of
  4   any other persons and/or entities for whose conduct Plaintiff is vicariously and legally
  5   responsible, Plaintiff is equitably estopped to assert any claim for relief against Defendants
  6   Lander respecting the matters which are the subject of the Verified Complaint and each of the
  7   causes of action contained therein. Such conduct is manifested in Plaintiff’s basically ignoring its
  8   own experience and expertise and in making the loan and including progressive disbursements
  9   under all the circumstances and documentation available to it as well as its own uninterrupted
 10   inspections.
 11   SIXTH AFFIRMATIVE DEFENSE (Failure to Mitigate)
 12   Defendants Lander are informed and believe and based thereon allege that Plaintiff and/or any
 13   others for whom Plaintiff is vicariously responsible failed, and continue to fail, to use reasonable
 14   care to reduce and minimize as much as reasonably possible, the damages, if any, sought because
 15   of the alleged acts, omissions of Defendants Lander, and that this failure on the part of Plaintiff
 16   was the direct and proximate cause of any and all damages, if any, sustained by Plaintiff, and
 17   Plaintiff’s recovery, if any, against Defendants Lander should be barred or reduced according to
 18   law, up to and including the whole thereof as applicable to the Verified Complaint and each of
 19   the causes of action contained therein. Such includes, but is not limited to Plaintiff refusing to
 20   reasonably advance more monies which were fully secured, in order to complete the project.
 21   SEVENTH AFFIRMATIVE DEFENSE (Insufficient Pleadings)
 22   Plaintiff has failed to plead her claims with sufficient particularity to Defendants Lander to allege
 23   all appropriate affirmative defenses and therefore, Defendants Lander reserve the right to allege
 24   additional affirmative defenses as needed.
 25   EIGHTH AFFIRMATIVE DEFENSE (Failure to Disclose Material Risks)
 26   At the inception the transaction, the Plaintiff represented to the Lander Defendants that the budget
 27   attached to the Loan Agreement as Exhibit “C” (see section 10.7) (the “Budget”) had been
 28
                                                 Page 13 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                               051
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                            Main Document    Page 64 of 146




  1   approved, and that the Plaintiff intended to advance the loan proceeds in accordance with this
  2   Budget. In fact, the Budget had not been approved by the Plaintiff, and the Plaintiff did not intend
  3   to make advances in accordance therewith. The Plaintiff failed to disclose these material facts to
  4   the Lander Defendants because it knew the Budget was at least ten million dollars short of what
  5   was needed to complete the construction project. If Lander had been aware of these facts, Lander
  6
      would not have executed the Indemnity and Guaranty Agreement, because these undisclosed facts
  7
      materially and in fact catastrophically increased the risk being imposed upon him as a guarantor.
  8
      The Plaintiff had a duty to disclose these material facts to Lander, and its failure to do so
  9
      exonerated the Indemnity And Guaranty Agreement.
 10
      NINTH AFFIRMATIVE DEFENSE (Fraud)
 11
      The material representations recited in the Eighth Affirmative Defense were false, the Plaintiff
 12
      knew they were false when it made them, Lander reasonably and justifiably relied upon these
 13
      misrepresentations, and he was damaged by the same. The Plaintiff’s fraud and malfeasance bars
 14
      recourse on Indemnity and Guaranty Agreement.
 15
      TENTH AFFIRMATIVE DEFENSE (Fraud-in-the-execution)
 16
      The material representations by the Plaintiff as recited in the Eighth Affirmative Defense so
 17
 18   materially changed the contractual bargain in the Loan Agreement that Lander’s assent to the

 19   obligations undertaken in the Indemnity and Guaranty Agreement was rendered void.

 20   ELEVENTH AFFIRMATIVE DEFENSE (Fraud-in-the-inducement)

 21   The facts stated in support of the Ninth and Tenth Affirmative Defenses also give rise to the

 22   defense of fraud in the inducement, rendering the Indemnity and Guaranty Agreement voidable

 23   via rescission, and Lander has in fact formally rescinded this contract. Accordingly, no relief can
 24   be granted to the Plaintiff based upon this writing.
 25   TWELFTH AFFIRMATIVE DEFENSE (Unclean Hands)
 26   Defendants Lander repeat and realleges the facts stated in the Fifth, Sixth, Eighth and Ninth
 27   Affirmative defenses as though more fully set forth herein. As a result of the acts and omissions
 28
                                                 Page 14 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                               052
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                Desc
                            Main Document    Page 65 of 146




  1   described in these defenses, Plaintiff has unclean hands and is therefore barred from asserting
  2   any claims against Defendants Lander as applicable to the Verified Complaint and each of the
  3   causes of action contained therein, including but not limited to the Fifth Cause of Action.
  4   THIRTEENTH AFFIRMATIVE DEFENSE (Civil Code § 3517)
  5   Pursuant to Civil Code Section 3517 “No one can take advantage of his own wrong.” The facts
  6   stated in the Eighth and Ninth Affirmative Defenses coupled with the prohibition in this statute
  7   bar relief against Lander under the Indemnity and Guaranty Agreement.
  8   FOURTEENTH AFFIRMATIVE DEFENSE (Equitable Estoppel)
  9
      The facts stated in the Eighth and Ninth Affirmative Defenses equitably estop the Plaintiff from
 10
      obtaining any recovery from Dr. Lander on the basis of the Indemnity and Guaranty Agreement.
 11
      FIFTEENTH AFFIRMATIVE DEFENSE (No recovery due under contract terms)
 12
      Pursuant to the Indemnity and Guaranty Agreement, only debts that “arise under the Loan
 13
      Documents” are guaranteed. The alleged debts that the Plaintiff is seeking to recover from Lander
 14
      did not “arise under the Loan Documents”, but through fraud, or pursuant to an undisclosed quasi
 15
      contractual agreement between the Plaintiff and Glenroy Coachella, LLC that arose after the
 16
      Indemnity And Guaranty Agreement was executed by Lander. Accordingly, no relief can be
 17
      granted against Lander based upon this writing.
 18
      SIXTEENTH AFFIRMATIVE DEFENSE (Offset for usurious interest charges, referral
 19
      fee, and attorney fees charged by USRECH)
 20
 21          Section 22100 of the California Financing Law (Cal.Fin.Code § 22000 et. seq.) (the

 22   “CFL”) provides “No person shall engage in the business of a finance lender or broker without

 23   obtaining a license from the commissioner.” Section 22100(c) of the CFL states that unlicensed

 24   persons are barred from engaging in any of the following activities: A. Participating in any loan

 25   negotiation; B. counseling or advising the borrower about a loan; C. participating in the

 26   preparation of any loan documents, including credit applications; D. contacting the licensee on
 27   behalf of the borrower other than to refer the borrower; E. gathering loan documentation from
 28
                                                Page 15 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             053
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                            Main Document    Page 66 of 146




  1   the borrower or delivering the documentation to the licensee. F. communicating lending
  2   decisions or inquiries to the borrower; G. participating in establishing any sales literature or
  3   marketing materials; and H. obtaining the borrower's signature on documents. (“Licensed
  4   Activities”).
  5          Calmwater has never been a licensed Broker or Lender under the CFL and it unlawfully
  6
      engaged in all of the foregoing Licensed Activities in 2017 and 2018 during the process of
  7
      arranging and closing the Loan. In fact, USRECH, which is an offshore passive entity controlled
  8
      by Calmwater, was only inserted into the Loan transaction by Calmwater at the proverbial last
  9
      minute. USRECH, which had no involvement in the Loan negotiations on became licensed
 10
      lender under the CFL in January 23, 2018.
 11
             USRECH paid Calmwater an origination fee of $366,000 upon the closing of the Loan
 12
      and charged this fee to the Borrowers. Section 1451(c) of the California Code of Regulation
 13
      expressly barred this payment. Section 22004(b) of the CFL provides “A licensee that pays
 14
      compensation to a person that is not licensed pursuant to this division in connection with a
 15
      referral for a commercial loan made by that licensee to a borrower shall be liable for any
 16
      misrepresentation made to that borrower in connection with that loan.” This fee is also deemed
 17
 18   interest under California law.

 19          If an entity, such as Calmwater or USRECH is not licensed under the CFL, or otherwise

 20   exempt, it is subject to California’s usury laws. The Loan was negotiated, arranged, and initially

 21   offered by unlicensed broker/lender Calmwater. USRECH was only substituted into the Loan

 22   transaction in April of 2018, as the nominal CFL licensed lender. Since Calmwater is USRECH’s

 23   manager, and in all respect controls USRECH, USRECH is deemed to have knowledge of all of
 24   Calmwater’s pre-Loan closing unlawful actions, and it is also deemed to be responsible for the
 25   same, the real “lender” in this transaction is unlicensed Calmwater, not the A licensed CFL
 26   lender is not authorized to use an unlicensed broker to arrange a loan.
 27
 28
                                                 Page 16 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                               054
Case 2:21-bk-11188-BB        Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                Desc
                             Main Document    Page 67 of 146




  1          USRECH, having worked with Calmwater to evade the CFL’s licensing provisions,
  2   should be denied the benefit of the usury exemption afforded under the CFL to licensed lenders
  3   who comply with the CFL.
  4          The non-default interest rate charged by USRECH under the Loan from September 11,
  5   2018 to May 7, 2019 was the sum of the following:
  6
                 A. One month LIBOR, which averaged 2.02% in 2018, and 2.22% in 2019,
  7                 plus 8.75%. (See § 1(e) Promissory Note);
  8
                 B. Loan Commitment Fee of 1.5% of $24.4 million or $366,000 paid on the
  9                 day the Loan was made; and

 10              C. A Non-Usage Fee equal to 1% of the unadvanced part of the so-called
 11                 “Future Advance Funding Amount”, which sum was approximately $13.0
                    million throughout 2018.
 12
      Together, these charges equate to a non-default “interest rate” of approximately 13%, a rate well
 13
      in excess of the 10% usury limit. The “Default Interest Rate” under the Loan was five
 14
      percentage points higher than the nondefault rate (see Promissory Note § 4(b)), and this rate was
 15
      charged by USRECH from at least May 7, 2019 (per default letter). Accordingly, USRECH
 16
      charged and was paid interest in the 17% to 18% range from and after May 7, 2019, again a rate
 17
      well in excess of the 10% usury limit.
 18
             The Loan was a loan or forbearance of money to the Borrowers. The interest paid by the
 19
      Borrowers on the Loan exceeded the statutory maximum for nonexempt lenders. The Loan was
 20
      absolutely repayable by the Borrowers. USRECH had willful intent when it entered into the
 21
      usurious transaction provided for in the Loan. Lander is entitled to an offset against the principal
 22
      balance claimed due on the Loan in the amount of the sum of the following: any interest charged
 23
 24   on the Loan since the interest was facially usurious (thereby voiding the savings clause), or

 25   alternatively any interest charged and paid in excess of ten percent, the treble penalty provided

 26   for in Section 1916-3(a) of the Civil Code as to any usurious payments to the extent applicable,

 27   the referral fee paid to Calmwater and charged to the Loan, and all attorneys fees charged to

 28   collect these illegal charges.
                                                 Page 17 of 24
                       SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                              055
Case 2:21-bk-11188-BB        Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                 Desc
                             Main Document    Page 68 of 146




  1   SEVENTEENTH AFFIRMATIVE DEFENSE (Waiver and release)
  2           The Plaintiff waived and released any and all claims against the Defendants Lander by,
  3   inter alia, executing a mutual release in favor of Gary Stiffelman and his “affiliates” in the
  4   Settlement and Release entered into by these parties. This release includes the Defendants
  5   Lander as affiliates of Stiffelman according to the Complaint and according to the positions
  6   asserted by the Plaintiff in a series of pleadings including its motion for summary adjudication.
  7   EIGHTEENTH AFFIRMATIVE DEFENSE (Offset for damages arising from wrongful
  8   attachment).
  9           The Plaintiff attached to Defendant Landers’ assets pursuant to an attachment order and
 10   thereby damaged his reputation and business. This relief was secured by a false declaration. The
 11   Defendants Lander are entitled to offset all damages arising from this wrong against any claim
 12   asserted by the Plaintiff.
 13   RESERVATION OF ADDITIONAL AFFIRMATIVE DEFENSES
 14   Defendants Lander do not yet have sufficient knowledge or information upon which to form a
 15   belief as to whether they may have additional as yet unknown affirmative defenses. Defendants
 16   Lander reserve the right to assert further affirmative defenses upon discovery of further
 17   information.
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                                                 Page 18 of 24
                       SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                               056
Case 2:21-bk-11188-BB     Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                          Main Document    Page 69 of 146




  1         WHEREFORE, Defendants Lander pray for judgment against Plaintiff as follows:
  2
  3         First Cause of Action:
  4         1)     For judgment against Plaintiff on its request for the Judicial Foreclosure sought in
  5                the First Cause of Action and that Plaintiff take nothing on the First Cause of
  6                Action;
  7         2)     For dismissal of the First Cause of Action with prejudice and a determination that
  8                Plaintiff be awarded nothing thereon;
  9         3)     For a declaration that Defendants Lander have no obligation to pay any sum or
 10                sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 11                allegations contained in the First Cause of Action of the Verified Complaint;
 12         4)     For an award to Defendants Lander of their costs and expenses herein;
 13         5)     For such other and further relief that this Court deems just and proper in the
 14                premises.
 15
 16         Second Cause of Action:
 17         1)     For judgment against Plaintiff on its request for specific performance sought in
 18                the Second Cause of Action and that Plaintiff take nothing thereon;
 19         2)     For dismissal of the Second Cause of Action with prejudice and a determination
 20                that Plaintiff is entitled to no relief thereon;
 21         3)     For a declaration that Defendants Lander have no obligation to pay any sum or
 22                sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 23                allegations contained in the Second Cause of Action of the Verified Complaint;
 24         4)     For a determination that Plaintiff has an adequate remedy at law for any claimed
 25                loss, if any were found to exist, and therefore is not entitled to any injunctive
 26                relief, including specific performance as alleged in the Second Cause of Action.
 27         5)     For an award to Defendants Lander of their costs and expenses herein;
 28
                                                Page 19 of 24
                    SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             057
Case 2:21-bk-11188-BB    Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                    Desc
                         Main Document    Page 70 of 146




  1         6)    For such other and further relief that this Court deems just and proper in the
  2               premises.
  3         Third Cause of Action:
  4         1)    For judgment against Plaintiff on its request for injunctive relief sought in the
  5               Third Cause of Action;
  6         2)    For dismissal of the Third Cause of Action with prejudice and a determination
  7               that Plaintiff is entitled to no relief thereon;
  8         3)    For a declaration that Defendants Lander have no obligation to pay any sum or
  9               sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 10               allegations contained in the Third Cause of Action of the Verified Complaint;
 11         4)    For a determination that Plaintiff has an adequate remedy at law for any claimed
 12               injury, if any were found to exist, and therefore is not entitled to any injunctive
 13               relief, including injunctive relief sought in the Third Cause of Action.
 14         5)    For an award to Defendants Lander of their costs and expenses herein;
 15         6)    For such other and further relief that this Court deems just and proper in the
 16               premises.
 17         Fourth Cause of Action:
 18         1)    For judgment against Plaintiff on its claim for breach of contract in the Fourth
 19               Cause of Action;
 20         2)    For dismissal of the Fourth Cause of Action with prejudice and a determination
 21               that Plaintiff is entitled to no relief thereon;
 22         3)    For a declaration that Defendants Lander have no obligation to pay any sum or
 23               sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 24               allegations contained in the Fourth Cause of Action of the Verified Complaint;
 25         4)    For an award to Defendants Lander of their costs and expenses herein;
 26         5)    For an award to Defendants Lander for their reasonable attorneys' fees incurred
 27               herein;
 28
                                               Page 20 of 24
                   SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             058
Case 2:21-bk-11188-BB    Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                Desc
                         Main Document    Page 71 of 146




  1         6)    For such other and further relief that this Court deems just and proper in the
  2               premises.
  3         Fifth Cause of Action:
  4         1)    For judgment against Plaintiff on its claim for breach of indemnity and guaranty
  5               agreement in the Fifth Cause of Action;
  6         2)    For dismissal of the Fifth Cause of Action with prejudice and a determination that
  7               Plaintiff is entitled to no relief thereon;
  8         3)    For a declaration that Defendants Lander have no obligation to pay any sum or
  9               sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 10               allegations contained in the Fifth Cause of Action of the Verified Complaint;
 11         4)    For an award to Defendants Lander of their costs and expenses herein;
 12         5)    For an award to Defendants Lander for their reasonable attorneys' fees incurred
 13               herein;
 14         6)    For such other and further relief that this Court deems just and proper in the
 15               premises.
 16         Sixth Cause of Action:
 17         1)    For judgment against Plaintiff on its claim for breach of completion guaranty
 18               agreement in the Sixth Cause of Action;
 19         2)    For dismissal of the Sixth Cause of Action with prejudice and a determination that
 20               Plaintiff is entitled to no relief thereon;
 21         3)    For a declaration that Defendants Lander have no obligation to pay any sum or
 22               sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 23               allegations contained in the Sixth Cause of Action of the Verified Complaint;
 24         4)    For an award to Defendants Lander of their costs and expenses herein;
 25         5)    For an award to Defendants Lander for their reasonable attorneys' fees incurred
 26               herein;
 27
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                                               Page 21 of 24
                   SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                          059
Case 2:21-bk-11188-BB     Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                Desc
                          Main Document    Page 72 of 146




  1         6)     For such other and further relief that this Court deems just and proper in the
  2                premises.
  3         Seventh Cause of Action:
  4         1)     For judgment against Plaintiff on its claim for fraud in inducement in the Seventh
  5                Cause of Action;
  6         2)     For dismissal of the Seventh Cause of Action with prejudice and a determination
  7                that Plaintiff is entitled to no relief thereon;
  8         3)     For a declaration that Defendants Lander have no obligation to pay any sum or
  9                sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 10                allegations contained in the Seventh Cause of Action of the Verified Complaint;
 11         4)     For an award to Defendants Lander of their costs and expenses herein;
 12         5)     For such other and further relief that this Court deems just and proper in the
 13                premises.
 14         Eighth Cause of Action:
 15         1)     For judgment against Plaintiff on its claim for negligent misrepresentation in the
 16                Eighth Cause of Action;
 17         2)     For dismissal of the Eighth Cause of Action with prejudice and a determination
 18                that Plaintiff is entitled to no relief thereon;
 19         3)     For a declaration that Defendants Lander have no obligation to pay any sum or
 20                sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 21                allegations contained in the Eighth Cause of Action of the Verified Complaint;
 22         4)     For an award to Defendants Lander of their costs and expenses herein;
 23         5)     For such other and further relief that this Court deems just and proper in the
 24                premises.
 25         As to all causes of action:
 26         1)     For attorney’s fees and costs of suit incurred herein; and
 27         2)     For such other relief as the Court deems just and proper.
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                                                Page 22 of 24
                    SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                           060
Case 2:21-bk-11188-BB      Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20         Desc
                           Main Document    Page 73 of 146




  1
  2   Dated: May 1, 2023                     OKEEFE & ASSOCIATES
                                             LAW CORPORATION, P.C.
  3
                                               /s/ Sean A/ O’Keefe
  4                                          ______________________
                                             Sean A. O’Keefe (SBN 122417)
  5                                          Attorneys for defendants, Elliot B. Lander
                                             and Coachella Resort, LLC
  6
  7
  8
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                                           Page 23 of 24
                    SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                     061
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document    Page 74 of 146




                                                                           062
 Case 2:21-bk-11188-BB           Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                 Desc
                                 Main Document    Page 75 of 146




                                       PROOF OF SERVICE
 1                        STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 2            At the time of service, I was over 18 years of age and not a party to this action. I am
 3   employed in the County of Orange, State of California. My business address is 26 Executive Park,
 4   Suite 250, CA 92614. On May 11, 2023, a copy of the following document was served as indicated
 5   below:
 6
              SECOND AMENDED VERIFIED ANSWER TO COMPLAINT FOR: 1.
 7            JUDICIAL FORECLOSURE OF DEED OF TRUST; 2. SPECIFIC
              PERFORMANCE OF DEED OF TRUST; 3. INJUNCTIVE RELIEF; 4. BREACH
 8            OF CONTRACT; 5. BREACH OF INDEMNITY AND GUARANTY
              AGREEMENT; 6. BREACH OF COMPLETION GUARANTY AGREEMENT; 7.
 9
              FRAUD IN INDUCEMENT; AND 8. NEGLIGENT MISREPRESENTATION.
10            A copy of this document was served via First Class Mail, postage prepaid, care of the below
11   address, on May 11, 2023:
12
     Christopher O. Rivas
13   REED SMITH LLP
     355 South Grand Avenue, Suite 2900
14   Los Angeles, CA 90071-1514

15            I declare under penalty of perjury under the laws of the State of California that the

16   foregoing is true and correct.

17            Executed on May 11, 2023, Orange County, California.

18

19                                    ____________________________
                                            Sean A. O’Keefe
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Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document    Page 76 of 146




                                   EXHIBIT 3



                                                                           064
Case 2:21-bk-11188-BB      Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20     Desc
                           Main Document    Page 77 of 146



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      Fax: (949) 209-2625
 10
      Co-counsel to defendants Elliot B. Lander
 11   and Coachella Resort, LLC, a California
      limited liability company.
 12
 13                   SUPERIOR COURT OF THE STATE OF CALIFORNIA,
 14                COUNTY OF RIVERSIDE - SOUTHWEST JUSTICE CENTER
 15
 16   U.S. REAL ESTATE CREDIT HOLDINGS                    Case No: RIC1905743
      III-A, LP, an Irish limited partnership,
 17                                                       SECOND AMENDED VERIFIED
                      Plaintiff,                          ANSWER TO COMPLAINT FOR:
 18
            v.                                            1. JUDICIAL FORECLOSURE OF
 19                                                          DEED OF TRUST;
      GLENROY COACHELLA, LLC, a Delaware
 20   limited liability company, et al.,                  2. SPECIFIC PERFORMANCE OF
                                                             DEED OF TRUST;
 21                   Defendants.                         3. INJUNCTIVE RELIEF;
 22                                                       4. BREACH OF CONTRACT;
                                                          5. BREACH OF INDEMNITY AND
 23                                                          GUARANTY AGREEMENT;
 24                                                       6. BREACH OF COMPLETION
                                                             GUARANTY AGREEMENT;
 25                                                       7. FRAUD IN INDUCEMENT; AND
 26                                                       8. NEGLIGENT
                                                             MISREPRESENTATION.
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                                                  Page 1 of 24
                     SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                065
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                            Main Document    Page 78 of 146




  1           Defendants ELLIOT LANDER (“Lander”) AND COACHELLA RESORT, LLC, a
  2   California limited liability company (“Resort”) (Jointly “Defendants Lander”) in answer to
  3   the Complaint on file, admit, deny and allege as follows:
  4                                     PARTIES ALLEGATIONS
  5          1.      In answer to paragraphs 1, 2, 3, 4, 8, 9, 10, 12, 13, 14, 18, and 19, of the Parties
  6   Allegations of the Complaint, Defendants Lander admit said paragraphs.
  7          2.      In answer to paragraphs 5, 6, 7, 11, 15, 16 and 17 of Parties’ Allegations,
  8   Defendants Lander lack information sufficient to form a belief upon which to admit or deny the
  9   allegations of said paragraphs and based on such lack of information and belief, deny generally
 10   and specifically each and every allegation contained in said paragraphs and the whole thereof.
 11          3.      In answer to paragraph 20 of Parties Allegations, Defendants Lander admit that
 12   named contractors and material men have filed Mechanics liens against the subject project.
 13   Except as expressly admitted, Defendants Lander lack information sufficient to form a belief
 14   upon which to admit or deny the remaining allegations of said paragraph and based on such lack
 15   of information and belief, deny generally and specifically each and every remaining allegation
 16   contained in said paragraph and the whole thereof.
 17          4.      In answer to paragraph 21 of Parties Allegations, Defendants Lander lack
 18   information sufficient to form a belief upon which to admit or deny the allegations of said
 19   paragraph and based on such lack of information and belief, deny generally and specifically each
 20   and every allegation contained in said paragraph and the whole thereof.
 21          5.      In answer to paragraph 22 of Parties Allegations, Defendants Lander lack
 22   information sufficient to form a belief upon which to admit or deny the allegations of said
 23   paragraph and based on such lack of information and belief, deny generally and specifically each
 24   and every allegation contained in said paragraph and the whole thereof.
 25          6.      In answer to paragraph 23 of Parties Allegations, Defendants Lander deny the
 26   allegations in said paragraph.
 27   ///
 28
                                                  Page 2 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                               066
Case 2:21-bk-11188-BB      Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                 Desc
                           Main Document    Page 79 of 146




  1   ///
  2                                     THE LOAN DOCUMENTS
  3          7.      In answer to paragraphs 24, 25, 26, 27, 28, 29, 30, 31, 32, 34, 35, 36, and 37 of
  4   the Loan Document allegations of the Complaint, Defendants Lander admit said paragraphs.
  5          8.      In answer to paragraphs 33 and 38 of the Loan Document allegations, Defendants
  6   Lander deny generally and specifically each and every allegation contained in said paragraphs
  7   and the whole thereof.
  8                DEFENDANTS’ OMISSIONS, CONCEALMENT AND DEFAULTS
  9          9.      In answer to paragraphs 39, 40 and 42 of Defendants’ Omissions, Concealment
 10   and Defaults allegations, Defendants Lander, deny generally and specifically each and every
 11   allegation contained in said paragraphs and the whole thereof.
 12          10.     In answer to paragraphs 41 of the Defendants’ Omissions, Concealment and
 13   Defaults allegations of the Complaint, Defendants Lander deny generally and specifically each
 14   and every allegation contained in said paragraph and the whole thereof based upon a lack of
 15   information and belief.
 16          11.     In answer to paragraphs 43, 44, 45, 47, 48, 49, 50, 51 and 52, of Defendants’
 17   Omissions, Concealment and Defaults allegations of the Complaint, Defendants Lander lack
 18   information sufficient to form a belief upon which to admit or deny the allegations of said
 19   paragraphs and based on such lack of information and belief, deny generally and specifically
 20   each and every allegation contained in said paragraphs and the whole thereof.
 21          12.     In answer to paragraph 46 of Defendants’ Omissions, Concealment and Defaults
 22   allegations, Defendants Lander deny generally and specifically each and every allegation
 23   contained in said paragraph and the whole thereof, that Lender reasonably relied on Borrower’s
 24   representations contained in Borrower’s Budget which was incorporated into Exhibit C to the
 25   Loan Agreement, which contains the approved budget for the Project. In this regard, Defendants
 26   Lander are informed and believe and based thereon allege, that Plaintiff had the experience and
 27   expertise and made its own evaluation as to the viability of the Project before making the subject
 28
                                                 Page 3 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             067
Case 2:21-bk-11188-BB        Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20               Desc
                             Main Document    Page 80 of 146




  1   loan. If there were insufficient funds to complete the Project Plaintiff knew, or should have
  2   known such to exist. Except as expressly admitted or alleged, Defendants Lander lack
  3   information sufficient to form a belief upon which to admit or deny the remaining allegations of
  4   said paragraph and based on such lack of information and belief, deny generally and specifically
  5   each and every remaining allegation contained in said paragraph and the whole thereof.
  6           13.      In answer to paragraph 53 of Defendants’ Omissions, Concealment and Defaults
  7   allegations, Defendants Lander deny each and every allegation based upon a lack of information
  8   or belief.
  9           14.      In answer to paragraphs 54, 55, 56, 57, 58, and 59 of the Defendants’ Omissions,
 10   Concealment and Defaults allegations, of the Complaint, Defendants Lander deny the allegations
 11   made in said paragraphs, subject to the following caveat: Defendants Lander do not dispute that
 12   Exhibits 13 through 15 are true and correct copies of the original.
 13                                      NEED FOR A RECEIVER
 14           15.      In answer to paragraph 60 of Need For A Receiver allegations, Defendants
 15   Lander deny generally and specifically allegations that Borrower is not adequately maintaining
 16   and preserving the Property and deny there is an immediate risk of loss, theft, or damage to the
 17   Property and other assets of the Borrower located at the Property and deny the Property is
 18   irreparably impaired or that the value of the Property is damaged in any way. Defendants Lander
 19   lack information sufficient to form a belief upon which to admit or deny the remaining
 20   allegations of said paragraph and based on such lack of information and belief, deny generally
 21   and specifically each and every remaining allegation contained in said paragraph and the whole
 22   thereof, that Borrower is not paying its debts. Except as expressly denied, Defendants Lander
 23   admit the remaining allegations of said paragraph.
 24           16.      In answer to paragraph 61 of Need for a Receiver allegations, Defendants Lander,
 25   deny generally and specifically each and every allegation contained in said paragraph and the
 26   whole thereof.
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                                                  Page 4 of 24
                       SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             068
Case 2:21-bk-11188-BB         Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20             Desc
                              Main Document    Page 81 of 146




  1          17.       In answer to paragraph 62 of Need for a Receiver allegations, Defendants Lander,
  2   allege on information and belief that the property taxes are now paid, but deny information
  3   sufficient to form a belief upon which to admit or deny that material permits have been permitted
  4   to lapse. On information and belief Defendants Lander admit the remaining allegations of said
  5   Paragraph.
  6          18.       In answer to paragraph 63 of Need for a Receiver allegations, Defendants Lander,
  7   Deny generally and specifically each and every allegation contained in said paragraph and the
  8   whole thereof.
  9          19.       In answer to paragraph 64 of Need for A Receiver allegations, Defendants Lander
 10   admit said paragraph.
 11          20.       In answer to paragraph 65 of Need for a Receiver allegations, Defendants Lander,
 12   Deny generally and specifically each and every allegation contained in said paragraph and the
 13   whole thereof.
 14                                     FIRST CAUSE OF ACTION
 15          21.       In answer to paragraph 66 of the First Cause of Action of the Complaint,
 16   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
 17   paragraphs 1 through 65 of the Complaint and incorporate the same by this reference as though
 18   more fully set forth at length herein.
 19          22.       In answer to paragraphs 67 and 68, of the First Cause of Action of the Complaint
 20   Defendants Lander admit said paragraphs.
 21                                    SECOND CAUSE OF ACTION
 22          23.       In answer to paragraph 69 of the Second Cause of Action of the Complaint,
 23   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
 24   paragraphs 1 through 68 of the Complaint and incorporate the same by this reference as though
 25   more fully set forth at length herein.
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                                                  Page 5 of 24
                       SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             069
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20               Desc
                            Main Document    Page 82 of 146




  1           24.    In answer to paragraphs 70 and 71 of the Second cause of Action of the
  2   Complaint, Defendants Lander deny generally and specifically each and every allegation
  3   contained in said paragraphs and the whole thereof
  4           25.    In answer to paragraph 72 of the Second Cause of Action of the Complaint
  5 Defendants Lander admit the Loan Agreement contains a paragraph to this effect.
  6                                     THIRD CAUSE OF ACTION
  7           26.    In answer to paragraph 73 of the Third Cause of Action of the Complaint,
  8 Defendants Lander repeat and re-allege each and every admission, denial and allegation to
  9 paragraphs 1 through 72 of the Complaint and incorporate the same by this reference as though
 10 more fully set forth at length herein.
 11           27.    In answer paragraphs 74 and 76 of the Third Cause of Action of the Complaint
 12 Defendants Lander admit said paragraphs.
 13           28.    In answer paragraph 75 of the Third Cause of Action of the Complaint
 14 Defendants Lander deny generally and specifically each and every allegation contained in said
 15 paragraph and the whole thereof and expressly allege that the value of the subject project far
 16 exceeds any damages that Plaintiff has or may incur until any judgment is entered.
 17                                    FOURTH CAUSE OF ACTION
 18           29.    In answer to paragraphs 77 of the Fourth Cause of Action of the Complaint
 19   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
 20   paragraphs 1 through 76 of the Complaint and incorporate the same by this reference as though
 21   more fully set forth at length herein.
 22           30.    In answer paragraph 78 of the Fourth Cause of Action of the Complaint
 23   Defendants Lander deny generally and specifically each and every allegation contained in said
 24   paragraph and the whole thereof.
 25           31.    In answer to paragraph 79 of the Fourth Cause of Action, Defendants Lander deny
 26   each and every allegation in paragraph 79.
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                                                   Page 6 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                            070
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20               Desc
                            Main Document    Page 83 of 146




  1          32.     In answer to paragraph 80 of the Fourth Cause of Action, Defendants Lander
  2   admit that Plaintiff has declared that all sums secured by Deed of Trust are immediately payable
  3   under the Loan Documents. Except as expressly admitted, Defendants Lander lack information
  4   sufficient to form a belief upon which to admit or deny the remaining allegations of said
  5   paragraph and based on such lack of information and belief, deny generally and specifically each
  6   and every remaining allegation contained in said paragraph and the whole thereof.
  7          33.     In answer to paragraph 81 of the Fourth Cause of Action, Defendants Lander deny
  8   generally and specifically each and every allegation contained in said paragraph.
  9          34.     In answer paragraphs 82 of the Fourth Cause of Action of the Complaint
 10   Defendants Lander Defendants Lander deny generally and specifically each and every allegation
 11   contained in said paragraph. The Defendants Lander admit the allegations in paragraph 83 of the
 12   Complaint.
 13                                  FIFTH CAUSE OF ACTION
 14          35.     In answer to paragraphs 84 of the Fifth Cause of Action of the Complaint
 15   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
 16   paragraphs 1 through 83 of the Complaint and incorporate the same by this reference as though
 17   more fully set forth at length herein.
 18          36.     In answer paragraph 85 of the Fifth Cause of Action of the Complaint Defendants
 19   Lander deny generally and specifically each and every allegation contained in said paragraph and
 20   the whole thereof.
 21          37.     In answer to paragraph 86 of the Fifth Cause of Action of the Complaint,
 22   Defendants Lander deny each and every allegation in this paragraph.
 23          38.     In answer to paragraph 87 of the Fifth Cause of Action of the Complaint,
 24   Defendants Lander deny each and every allegation in this paragraph.
 25          39.     In answer to paragraph 88 of the Fifth Cause of Action of the Complaint,
 26   Defendants Lander admit Guarantors signed the indemnity and Loan Agreement (Exhibit “8”).
 27
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                                                Page 7 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                            071
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20             Desc
                            Main Document    Page 84 of 146




  1   Said Agreement is the best evidence of what it means and they deny the meaning attributed to it
  2   in paragraph 88.
  3          40.     In answer paragraphs 89 and 90 of the Fifth Cause of Action of the Complaint,
  4   Defendants Lander deny generally and specifically each and every allegation contained in said
  5   paragraph and the whole thereof.
  6          41.     In answer to paragraph 91 of the Fifth Cause of Action of the Complaint,
  7   Defendants Lander deny generally and specifically each and every allegation contained in said
  8   paragraph.
  9          42.     In answer to paragraph 92 of the Fifth Cause of Action of the Complaint,
 10   Defendants Lander deny generally and specifically each and every allegation contained in said
 11   paragraph.
 12          43.     In answer paragraph 93 of the Fifth Cause of Action of the Complaint Defendants
 13 Lander admit the Loan Agreement contains a paragraph to this effect.
 14                                  SIXTH CAUSE OF ACTION
 15          44.     In answer to paragraphs 94 of the Sixth Cause of Action of the Complaint
 16   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
 17   paragraphs 1 through 93 of the Complaint and incorporate the same by this reference as though
 18   more fully set forth at length herein.
 19          45.     In answer paragraph 95 of the Fifth Cause of Action of the Complaint, Defendants
 20   Lander deny generally and specifically each and every allegation contained in said paragraph and
 21   the whole thereof.
 22          46.     In answer to paragraph 96 of the Fifth Cause of Action of the Complaint,
 23   Defendants Lander a deny each and every allegation in this paragraph.
 24          47.     In answer to paragraph 97 of the Sixth Cause of Action of the Complaint,
 25   Defendants Lander deny each and every allegation in this paragraph.
 26          48.     In answer to paragraph 98 of the Sixth Cause of Action of the Complaint,
 27   Defendants Lander admit Guarantors signed the Completion Guarantee Agreement (Exhibit “9”).
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                                                Page 8 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                           072
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20              Desc
                            Main Document    Page 85 of 146




  1   Said Agreement is the best evidence of what it means and they deny the meaning attributed to it
  2   in paragraph 98.
  3          49.     In answer paragraphs 99 and 100 of the Sixth Cause of Action of the Complaint,
  4   Defendants Lander deny generally and specifically each and every allegation contained in said
  5   paragraph and the whole thereof.
  6          50.     In answer to paragraph 101 of the Sixth Cause of Action of the Complaint,
  7   Defendants Lander deny generally and specifically each and every remaining allegation
  8   contained in said paragraph and the whole thereof.
  9          51.     In answer to paragraph 102 of the Sixth Cause of Action of the Complaint,
 10   Defendants Lander deny the allegations of said paragraph.
 11          52.     In answer paragraph 103 of the Sixth Cause of Action of the Complaint
 12 Defendants Lander admit the Loan Agreement contains a paragraph to this effect.
 13                                  SEVENTH CAUSE OF ACTION
 14          53.     In answer to paragraph 104 of the Seventh Cause of Action of the Complaint
 15   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
 16   paragraphs 1 through 103 of the Complaint and incorporate the same by this reference as though
 17   more fully set forth at length herein.
 18          54.     In answer paragraphs 105, 106, 107, 108, 109, 110, and 111 of the Seventh Cause
 19   of Action of the Complaint, Defendants Lander deny generally and specifically each and every
 20   allegation contained in said paragraphs and the whole thereof.
 21          55.     In answer paragraph 112 of the Seventh Cause of Action of the Complaint,
 22   Defendants Lander lack information sufficient to form a belief upon which to admit or deny the
 23   allegations of said paragraph and based on such lack of information and belief, deny generally
 24   and specifically each and every allegation contained in said paragraph and the whole thereof.
 25   Further Defendants Lander allege that the Loan Agreement is the best evidence as to what
 26   Defendants or either of them agreed to, and not as is alleged by Plaintiff.
 27
 28
                                                 Page 9 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                           073
Case 2:21-bk-11188-BB      Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20               Desc
                           Main Document    Page 86 of 146




  1          56.    In answer to paragraph 113 of the Seventh Cause of Action, Defendants Lander
  2   deny that they misrepresented anything to anyone. Except as expressly denied, Defendants
  3   Lander lack information sufficient to form a belief upon which to admit or deny the remaining
  4   allegations of said paragraph and based on such lack of information and belief, deny generally
  5   and specifically each and every remaining allegation contained in said paragraph and the whole
  6   thereof.
  7          57.    In answer to paragraph 114 of the Seventh Cause of Action, Defendants Lander
  8   deny that they misrepresented anything to anyone. Except as expressly denied, Defendants
  9   Lander lack information sufficient to form a belief upon which to admit or deny the remaining
 10   allegations of said paragraph and based on such lack of information and belief, deny generally
 11   and specifically each and every remaining allegation contained in said paragraph and the whole
 12   thereof.
 13          58.    In answer to paragraph 115 of the Seventh Cause of Action, Defendants Lander
 14   deny that they misrepresented anything to anyone. Except as expressly denied, Defendants
 15   Lander lack information sufficient to form a belief upon which to admit or deny the remaining
 16   allegations of said paragraph and based on such lack of information and belief, deny generally
 17   and specifically each and every remaining allegation contained in said paragraph and the whole
 18   thereof.
 19          59.    In answer to paragraph 116 of the Seventh Cause of Action, Defendants Lander
 20   deny that they misrepresented anything to anyone and admit that without additional funding the
 21   Project cannot be completed. Except as expressly admitted and denied, Defendants Lander lack
 22   information sufficient to form a belief upon which to admit or deny the remaining allegations of
 23   said paragraph and based on such lack of information and belief, deny generally and specifically
 24   each and every remaining allegation contained in said paragraph and the whole thereof.
 25          60.    In answer to paragraphs 117, 118, and 119 of the Seventh Cause of Action of the
 26 Complaint, Defendants Lander deny generally and specifically each and every allegation
 27 contained in said paragraphs and the whole thereof. Defendants Lander are informed and believe
 28
                                               Page 10 of 24
                     SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                           074
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                Desc
                            Main Document    Page 87 of 146




  1 and based thereon allege, that Plaintiff basically relied on its own expertise and experience in
  2 making the subject loan and in advancing progressive monies pursuant to its own evaluations.
  3                                  EIGHTH CAUSE OF ACTION
  4          61.     In answer to paragraphs 120 of the Eighth Cause of Action of the Complaint,
  5   Defendants Lander repeat and re-allege each and every admission, denial and allegation to
  6   paragraphs 1 through 119 of the Complaint and incorporate the same by this reference as though
  7   more fully set forth at length herein.
  8          62.     In answer to paragraph 121 of the Eighth Cause of Action, Defendants Lander
  9   deny that they provided or caused to be provided any inaccurate information to anyone. Except
 10   as expressly denied, Defendants Lander lack information sufficient to form a belief upon which
 11   to admit or deny the remaining allegations of said paragraph and based on such lack of
 12   information and belief, deny generally and specifically each and every remaining allegation
 13   contained in said paragraph and the whole thereof.
 14          63.     In answer to paragraph 122 of the Eighth Cause of Action, Defendants Lander
 15 deny that they provided or caused to be provided any inaccurate information to anyone. Except as
 16 expressly denied, Defendants Lander lack information sufficient to form a belief upon which to
 17 admit or deny the remaining allegations of said paragraph and based on such lack of information
 18 and belief, deny generally and specifically each and every remaining allegation contained in said
 19 paragraph and the whole thereof.
 20          64.     In answer to paragraph 123, 124, 125, and 126 of the Eighth Cause of Action,
 21   Defendants Lander deny that they misrepresented anything to anyone. Except as expressly
 22   denied, Defendants Lander lack information sufficient to form a belief upon which to admit or
 23   deny the remaining allegations of said paragraphs and based on such lack of information and
 24   belief, deny generally and specifically each and every remaining allegation contained in said
 25   paragraphs and the whole thereof.
 26          65.     In answer to paragraphs 126, 127, and 129 of the Eighth Cause of Action,
 27   Defendants Lander deny generally and specifically each and every allegation contained in said
 28
                                                Page 11 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             075
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                            Main Document    Page 88 of 146




  1   paragraphs and the whole thereof. Defendants Lander are informed and believe and based
  2   thereon allege, that Plaintiff basically relied on its own expertise and experience in making the
  3   subject loan and in advancing progressive monies pursuant to its own evaluations.
  4          66.     In answer to paragraphs 128 of the Eighth Cause of Action, Defendants Lander
  5 deny Lender has been, or will be damaged in any sum or amount, or has been damaged at all,
  6 inasmuch as the security in place will more than cover any alleged damages. Except as expressly
  7 denied the remaining allegations are admitted.
  8                 AFFIRMATIVE DEFENSES AS TO ALL CAUSES OF ACTION
  9   FIRST AFFIRMATIVE DEFENSE (Failure to State a Cause of Action)
 10   The Verified Complaint and each purported cause of action contained therein, fails to state facts
 11   sufficient to state a cause of action against Defendants Lander.
 12   SECOND AFFIRMATIVE DEFENSE (Uncertain Complaint and Causes of Action)
 13   The Verified Complaint and each and every cause of action contained therein, is uncertain in that
 14   it cannot be ascertained from the allegations of the Verified Complaint whether there are any
 15   facts constituting an actionable claim against Defendants Lander.
 16   THIRD AFFIRMATIVE DEFENSE (Laches)
 17   Any actions for equitable relief, including injunctive relief in this action are barred from any
 18   recovery against Defendants Lander by reason of the doctrine of laches and undue delay in
 19   giving notice to Defendants Lander of the matters alleged in the Verified Complaint and in
 20   commencing this litigation.
 21   FOURTH AFFIRMATIVE DEFENSE (Adequacy of remedy at law)
 22   The injury or damage suffered by Plaintiff, if any there be, would be adequately compensated in
 23   an action at law for damages as more than adequate security exists for the payment of any
 24   conceivable damages as pled in the Verified Complaint Accordingly, Plaintiff has a complete
 25   and adequate remedy at law and is not entitled to seek equitable, including injunctive, relief and
 26   for the appointment of a Receiver as is applicable to the Verified Complaint and each of the
 27   causes of action contained therein.
 28
                                                 Page 12 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                               076
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                            Main Document    Page 89 of 146




  1   FIFTH AFFIRMATIVE DEFENSE (Estoppel)
  2   Defendants Lander are informed and believe and based thereon allege that, by conduct,
  3   representations and omissions of Plaintiff and/or that of its agents, representatives and/or that of
  4   any other persons and/or entities for whose conduct Plaintiff is vicariously and legally
  5   responsible, Plaintiff is equitably estopped to assert any claim for relief against Defendants
  6   Lander respecting the matters which are the subject of the Verified Complaint and each of the
  7   causes of action contained therein. Such conduct is manifested in Plaintiff’s basically ignoring its
  8   own experience and expertise and in making the loan and including progressive disbursements
  9   under all the circumstances and documentation available to it as well as its own uninterrupted
 10   inspections.
 11   SIXTH AFFIRMATIVE DEFENSE (Failure to Mitigate)
 12   Defendants Lander are informed and believe and based thereon allege that Plaintiff and/or any
 13   others for whom Plaintiff is vicariously responsible failed, and continue to fail, to use reasonable
 14   care to reduce and minimize as much as reasonably possible, the damages, if any, sought because
 15   of the alleged acts, omissions of Defendants Lander, and that this failure on the part of Plaintiff
 16   was the direct and proximate cause of any and all damages, if any, sustained by Plaintiff, and
 17   Plaintiff’s recovery, if any, against Defendants Lander should be barred or reduced according to
 18   law, up to and including the whole thereof as applicable to the Verified Complaint and each of
 19   the causes of action contained therein. Such includes, but is not limited to Plaintiff refusing to
 20   reasonably advance more monies which were fully secured, in order to complete the project.
 21   SEVENTH AFFIRMATIVE DEFENSE (Insufficient Pleadings)
 22   Plaintiff has failed to plead her claims with sufficient particularity to Defendants Lander to allege
 23   all appropriate affirmative defenses and therefore, Defendants Lander reserve the right to allege
 24   additional affirmative defenses as needed.
 25   EIGHTH AFFIRMATIVE DEFENSE (Failure to Disclose Material Risks)
 26   At the inception the transaction, the Plaintiff represented to the Lander Defendants that the budget
 27   attached to the Loan Agreement as Exhibit “C” (see section 10.7) (the “Budget”) had been
 28
                                                 Page 13 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                               077
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                            Main Document    Page 90 of 146




  1   approved, and that the Plaintiff intended to advance the loan proceeds in accordance with this
  2   Budget. In fact, the Budget had not been approved by the Plaintiff, and the Plaintiff did not intend
  3   to make advances in accordance therewith. The Plaintiff failed to disclose these material facts to
  4   the Lander Defendants because it knew the Budget was at least ten million dollars short of what
  5   was needed to complete the construction project. If Lander had been aware of these facts, Lander
  6
      would not have executed the Indemnity and Guaranty Agreement, because these undisclosed facts
  7
      materially and in fact catastrophically increased the risk being imposed upon him as a guarantor.
  8
      The Plaintiff had a duty to disclose these material facts to Lander, and its failure to do so
  9
      exonerated the Indemnity And Guaranty Agreement.
 10
      NINTH AFFIRMATIVE DEFENSE (Fraud)
 11
      The material representations recited in the Eighth Affirmative Defense were false, the Plaintiff
 12
      knew they were false when it made them, Lander reasonably and justifiably relied upon these
 13
      misrepresentations, and he was damaged by the same. The Plaintiff’s fraud and malfeasance bars
 14
      recourse on Indemnity and Guaranty Agreement.
 15
      TENTH AFFIRMATIVE DEFENSE (Fraud-in-the-execution)
 16
      The material representations by the Plaintiff as recited in the Eighth Affirmative Defense so
 17
 18   materially changed the contractual bargain in the Loan Agreement that Lander’s assent to the

 19   obligations undertaken in the Indemnity and Guaranty Agreement was rendered void.

 20   ELEVENTH AFFIRMATIVE DEFENSE (Fraud-in-the-inducement)

 21   The facts stated in support of the Ninth and Tenth Affirmative Defenses also give rise to the

 22   defense of fraud in the inducement, rendering the Indemnity and Guaranty Agreement voidable

 23   via rescission, and Lander has in fact formally rescinded this contract. Accordingly, no relief can
 24   be granted to the Plaintiff based upon this writing.
 25   TWELFTH AFFIRMATIVE DEFENSE (Unclean Hands)
 26   Defendants Lander repeat and realleges the facts stated in the Fifth, Sixth, Eighth and Ninth
 27   Affirmative defenses as though more fully set forth herein. As a result of the acts and omissions
 28
                                                 Page 14 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                               078
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                Desc
                            Main Document    Page 91 of 146




  1   described in these defenses, Plaintiff has unclean hands and is therefore barred from asserting
  2   any claims against Defendants Lander as applicable to the Verified Complaint and each of the
  3   causes of action contained therein, including but not limited to the Fifth Cause of Action.
  4   THIRTEENTH AFFIRMATIVE DEFENSE (Civil Code § 3517)
  5   Pursuant to Civil Code Section 3517 “No one can take advantage of his own wrong.” The facts
  6   stated in the Eighth and Ninth Affirmative Defenses coupled with the prohibition in this statute
  7   bar relief against Lander under the Indemnity and Guaranty Agreement.
  8   FOURTEENTH AFFIRMATIVE DEFENSE (Equitable Estoppel)
  9
      The facts stated in the Eighth and Ninth Affirmative Defenses equitably estop the Plaintiff from
 10
      obtaining any recovery from Dr. Lander on the basis of the Indemnity and Guaranty Agreement.
 11
      FIFTEENTH AFFIRMATIVE DEFENSE (No recovery due under contract terms)
 12
      Pursuant to the Indemnity and Guaranty Agreement, only debts that “arise under the Loan
 13
      Documents” are guaranteed. The alleged debts that the Plaintiff is seeking to recover from Lander
 14
      did not “arise under the Loan Documents”, but through fraud, or pursuant to an undisclosed quasi
 15
      contractual agreement between the Plaintiff and Glenroy Coachella, LLC that arose after the
 16
      Indemnity And Guaranty Agreement was executed by Lander. Accordingly, no relief can be
 17
      granted against Lander based upon this writing.
 18
      SIXTEENTH AFFIRMATIVE DEFENSE (Offset for usurious interest charges, referral
 19
      fee, and attorney fees charged by USRECH)
 20
 21          Section 22100 of the California Financing Law (Cal.Fin.Code § 22000 et. seq.) (the

 22   “CFL”) provides “No person shall engage in the business of a finance lender or broker without

 23   obtaining a license from the commissioner.” Section 22100(c) of the CFL states that unlicensed

 24   persons are barred from engaging in any of the following activities: A. Participating in any loan

 25   negotiation; B. counseling or advising the borrower about a loan; C. participating in the

 26   preparation of any loan documents, including credit applications; D. contacting the licensee on
 27   behalf of the borrower other than to refer the borrower; E. gathering loan documentation from
 28
                                                Page 15 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             079
Case 2:21-bk-11188-BB       Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                            Main Document    Page 92 of 146




  1   the borrower or delivering the documentation to the licensee. F. communicating lending
  2   decisions or inquiries to the borrower; G. participating in establishing any sales literature or
  3   marketing materials; and H. obtaining the borrower's signature on documents. (“Licensed
  4   Activities”).
  5          Calmwater has never been a licensed Broker or Lender under the CFL and it unlawfully
  6
      engaged in all of the foregoing Licensed Activities in 2017 and 2018 during the process of
  7
      arranging and closing the Loan. In fact, USRECH, which is an offshore passive entity controlled
  8
      by Calmwater, was only inserted into the Loan transaction by Calmwater at the proverbial last
  9
      minute. USRECH, which had no involvement in the Loan negotiations on became licensed
 10
      lender under the CFL in January 23, 2018.
 11
             USRECH paid Calmwater an origination fee of $366,000 upon the closing of the Loan
 12
      and charged this fee to the Borrowers. Section 1451(c) of the California Code of Regulation
 13
      expressly barred this payment. Section 22004(b) of the CFL provides “A licensee that pays
 14
      compensation to a person that is not licensed pursuant to this division in connection with a
 15
      referral for a commercial loan made by that licensee to a borrower shall be liable for any
 16
      misrepresentation made to that borrower in connection with that loan.” This fee is also deemed
 17
 18   interest under California law.

 19          If an entity, such as Calmwater or USRECH is not licensed under the CFL, or otherwise

 20   exempt, it is subject to California’s usury laws. The Loan was negotiated, arranged, and initially

 21   offered by unlicensed broker/lender Calmwater. USRECH was only substituted into the Loan

 22   transaction in April of 2018, as the nominal CFL licensed lender. Since Calmwater is USRECH’s

 23   manager, and in all respect controls USRECH, USRECH is deemed to have knowledge of all of
 24   Calmwater’s pre-Loan closing unlawful actions, and it is also deemed to be responsible for the
 25   same, the real “lender” in this transaction is unlicensed Calmwater, not the A licensed CFL
 26   lender is not authorized to use an unlicensed broker to arrange a loan.
 27
 28
                                                 Page 16 of 24
                      SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                               080
Case 2:21-bk-11188-BB        Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                Desc
                             Main Document    Page 93 of 146




  1          USRECH, having worked with Calmwater to evade the CFL’s licensing provisions,
  2   should be denied the benefit of the usury exemption afforded under the CFL to licensed lenders
  3   who comply with the CFL.
  4          The non-default interest rate charged by USRECH under the Loan from September 11,
  5   2018 to May 7, 2019 was the sum of the following:
  6
                 A. One month LIBOR, which averaged 2.02% in 2018, and 2.22% in 2019,
  7                 plus 8.75%. (See § 1(e) Promissory Note);
  8
                 B. Loan Commitment Fee of 1.5% of $24.4 million or $366,000 paid on the
  9                 day the Loan was made; and

 10              C. A Non-Usage Fee equal to 1% of the unadvanced part of the so-called
 11                 “Future Advance Funding Amount”, which sum was approximately $13.0
                    million throughout 2018.
 12
      Together, these charges equate to a non-default “interest rate” of approximately 13%, a rate well
 13
      in excess of the 10% usury limit. The “Default Interest Rate” under the Loan was five
 14
      percentage points higher than the nondefault rate (see Promissory Note § 4(b)), and this rate was
 15
      charged by USRECH from at least May 7, 2019 (per default letter). Accordingly, USRECH
 16
      charged and was paid interest in the 17% to 18% range from and after May 7, 2019, again a rate
 17
      well in excess of the 10% usury limit.
 18
             The Loan was a loan or forbearance of money to the Borrowers. The interest paid by the
 19
      Borrowers on the Loan exceeded the statutory maximum for nonexempt lenders. The Loan was
 20
      absolutely repayable by the Borrowers. USRECH had willful intent when it entered into the
 21
      usurious transaction provided for in the Loan. Lander is entitled to an offset against the principal
 22
      balance claimed due on the Loan in the amount of the sum of the following: any interest charged
 23
 24   on the Loan since the interest was facially usurious (thereby voiding the savings clause), or

 25   alternatively any interest charged and paid in excess of ten percent, the treble penalty provided

 26   for in Section 1916-3(a) of the Civil Code as to any usurious payments to the extent applicable,

 27   the referral fee paid to Calmwater and charged to the Loan, and all attorneys fees charged to

 28   collect these illegal charges.
                                                 Page 17 of 24
                       SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                              081
Case 2:21-bk-11188-BB        Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                 Desc
                             Main Document    Page 94 of 146




  1   SEVENTEENTH AFFIRMATIVE DEFENSE (Waiver and release)
  2           The Plaintiff waived and released any and all claims against the Defendants Lander by,
  3   inter alia, executing a mutual release in favor of Gary Stiffelman and his “affiliates” in the
  4   Settlement and Release entered into by these parties. This release includes the Defendants
  5   Lander as affiliates of Stiffelman according to the Complaint and according to the positions
  6   asserted by the Plaintiff in a series of pleadings including its motion for summary adjudication.
  7   EIGHTEENTH AFFIRMATIVE DEFENSE (Offset for damages arising from wrongful
  8   attachment).
  9           The Plaintiff attached to Defendant Landers’ assets pursuant to an attachment order and
 10   thereby damaged his reputation and business. This relief was secured by a false declaration. The
 11   Defendants Lander are entitled to offset all damages arising from this wrong against any claim
 12   asserted by the Plaintiff.
 13   RESERVATION OF ADDITIONAL AFFIRMATIVE DEFENSES
 14   Defendants Lander do not yet have sufficient knowledge or information upon which to form a
 15   belief as to whether they may have additional as yet unknown affirmative defenses. Defendants
 16   Lander reserve the right to assert further affirmative defenses upon discovery of further
 17   information.
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                                                 Page 18 of 24
                       SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                               082
Case 2:21-bk-11188-BB     Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                  Desc
                          Main Document    Page 95 of 146




  1         WHEREFORE, Defendants Lander pray for judgment against Plaintiff as follows:
  2
  3         First Cause of Action:
  4         1)     For judgment against Plaintiff on its request for the Judicial Foreclosure sought in
  5                the First Cause of Action and that Plaintiff take nothing on the First Cause of
  6                Action;
  7         2)     For dismissal of the First Cause of Action with prejudice and a determination that
  8                Plaintiff be awarded nothing thereon;
  9         3)     For a declaration that Defendants Lander have no obligation to pay any sum or
 10                sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 11                allegations contained in the First Cause of Action of the Verified Complaint;
 12         4)     For an award to Defendants Lander of their costs and expenses herein;
 13         5)     For such other and further relief that this Court deems just and proper in the
 14                premises.
 15
 16         Second Cause of Action:
 17         1)     For judgment against Plaintiff on its request for specific performance sought in
 18                the Second Cause of Action and that Plaintiff take nothing thereon;
 19         2)     For dismissal of the Second Cause of Action with prejudice and a determination
 20                that Plaintiff is entitled to no relief thereon;
 21         3)     For a declaration that Defendants Lander have no obligation to pay any sum or
 22                sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 23                allegations contained in the Second Cause of Action of the Verified Complaint;
 24         4)     For a determination that Plaintiff has an adequate remedy at law for any claimed
 25                loss, if any were found to exist, and therefore is not entitled to any injunctive
 26                relief, including specific performance as alleged in the Second Cause of Action.
 27         5)     For an award to Defendants Lander of their costs and expenses herein;
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                                                Page 19 of 24
                    SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             083
Case 2:21-bk-11188-BB    Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                    Desc
                         Main Document    Page 96 of 146




  1         6)    For such other and further relief that this Court deems just and proper in the
  2               premises.
  3         Third Cause of Action:
  4         1)    For judgment against Plaintiff on its request for injunctive relief sought in the
  5               Third Cause of Action;
  6         2)    For dismissal of the Third Cause of Action with prejudice and a determination
  7               that Plaintiff is entitled to no relief thereon;
  8         3)    For a declaration that Defendants Lander have no obligation to pay any sum or
  9               sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 10               allegations contained in the Third Cause of Action of the Verified Complaint;
 11         4)    For a determination that Plaintiff has an adequate remedy at law for any claimed
 12               injury, if any were found to exist, and therefore is not entitled to any injunctive
 13               relief, including injunctive relief sought in the Third Cause of Action.
 14         5)    For an award to Defendants Lander of their costs and expenses herein;
 15         6)    For such other and further relief that this Court deems just and proper in the
 16               premises.
 17         Fourth Cause of Action:
 18         1)    For judgment against Plaintiff on its claim for breach of contract in the Fourth
 19               Cause of Action;
 20         2)    For dismissal of the Fourth Cause of Action with prejudice and a determination
 21               that Plaintiff is entitled to no relief thereon;
 22         3)    For a declaration that Defendants Lander have no obligation to pay any sum or
 23               sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 24               allegations contained in the Fourth Cause of Action of the Verified Complaint;
 25         4)    For an award to Defendants Lander of their costs and expenses herein;
 26         5)    For an award to Defendants Lander for their reasonable attorneys' fees incurred
 27               herein;
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                                               Page 20 of 24
                   SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                             084
Case 2:21-bk-11188-BB    Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                Desc
                         Main Document    Page 97 of 146




  1         6)    For such other and further relief that this Court deems just and proper in the
  2               premises.
  3         Fifth Cause of Action:
  4         1)    For judgment against Plaintiff on its claim for breach of indemnity and guaranty
  5               agreement in the Fifth Cause of Action;
  6         2)    For dismissal of the Fifth Cause of Action with prejudice and a determination that
  7               Plaintiff is entitled to no relief thereon;
  8         3)    For a declaration that Defendants Lander have no obligation to pay any sum or
  9               sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 10               allegations contained in the Fifth Cause of Action of the Verified Complaint;
 11         4)    For an award to Defendants Lander of their costs and expenses herein;
 12         5)    For an award to Defendants Lander for their reasonable attorneys' fees incurred
 13               herein;
 14         6)    For such other and further relief that this Court deems just and proper in the
 15               premises.
 16         Sixth Cause of Action:
 17         1)    For judgment against Plaintiff on its claim for breach of completion guaranty
 18               agreement in the Sixth Cause of Action;
 19         2)    For dismissal of the Sixth Cause of Action with prejudice and a determination that
 20               Plaintiff is entitled to no relief thereon;
 21         3)    For a declaration that Defendants Lander have no obligation to pay any sum or
 22               sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 23               allegations contained in the Sixth Cause of Action of the Verified Complaint;
 24         4)    For an award to Defendants Lander of their costs and expenses herein;
 25         5)    For an award to Defendants Lander for their reasonable attorneys' fees incurred
 26               herein;
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                                               Page 21 of 24
                   SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                          085
Case 2:21-bk-11188-BB     Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                Desc
                          Main Document    Page 98 of 146




  1         6)     For such other and further relief that this Court deems just and proper in the
  2                premises.
  3         Seventh Cause of Action:
  4         1)     For judgment against Plaintiff on its claim for fraud in inducement in the Seventh
  5                Cause of Action;
  6         2)     For dismissal of the Seventh Cause of Action with prejudice and a determination
  7                that Plaintiff is entitled to no relief thereon;
  8         3)     For a declaration that Defendants Lander have no obligation to pay any sum or
  9                sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 10                allegations contained in the Seventh Cause of Action of the Verified Complaint;
 11         4)     For an award to Defendants Lander of their costs and expenses herein;
 12         5)     For such other and further relief that this Court deems just and proper in the
 13                premises.
 14         Eighth Cause of Action:
 15         1)     For judgment against Plaintiff on its claim for negligent misrepresentation in the
 16                Eighth Cause of Action;
 17         2)     For dismissal of the Eighth Cause of Action with prejudice and a determination
 18                that Plaintiff is entitled to no relief thereon;
 19         3)     For a declaration that Defendants Lander have no obligation to pay any sum or
 20                sums to Plaintiff, or undertake or avoid any action, on account of, or based upon,
 21                allegations contained in the Eighth Cause of Action of the Verified Complaint;
 22         4)     For an award to Defendants Lander of their costs and expenses herein;
 23         5)     For such other and further relief that this Court deems just and proper in the
 24                premises.
 25         As to all causes of action:
 26         1)     For attorney’s fees and costs of suit incurred herein; and
 27         2)     For such other relief as the Court deems just and proper.
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                                                Page 22 of 24
                    SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                           086
Case 2:21-bk-11188-BB      Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20         Desc
                           Main Document    Page 99 of 146




  1
  2   Dated: May 1, 2023                     OKEEFE & ASSOCIATES
                                             LAW CORPORATION, P.C.
  3
                                               /s/ Sean A/ O’Keefe
  4                                          ______________________
                                             Sean A. O’Keefe (SBN 122417)
  5                                          Attorneys for defendants, Elliot B. Lander
                                             and Coachella Resort, LLC
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                                           Page 23 of 24
                    SECOND AMENDED VERIFIED ANSWER TO COMPLAINT
                                                                                     087
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 100 of 146




                                                                           088
 Case 2:21-bk-11188-BB           Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                 Desc
                                 Main Document   Page 101 of 146




                                       PROOF OF SERVICE
 1                        STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 2            At the time of service, I was over 18 years of age and not a party to this action. I am
 3   employed in the County of Orange, State of California. My business address is 26 Executive Park,
 4   Suite 250, CA 92614. On May 11, 2023, a copy of the following document was served as indicated
 5   below:
 6
              SECOND AMENDED VERIFIED ANSWER TO COMPLAINT FOR: 1.
 7            JUDICIAL FORECLOSURE OF DEED OF TRUST; 2. SPECIFIC
              PERFORMANCE OF DEED OF TRUST; 3. INJUNCTIVE RELIEF; 4. BREACH
 8            OF CONTRACT; 5. BREACH OF INDEMNITY AND GUARANTY
              AGREEMENT; 6. BREACH OF COMPLETION GUARANTY AGREEMENT; 7.
 9
              FRAUD IN INDUCEMENT; AND 8. NEGLIGENT MISREPRESENTATION.
10            A copy of this document was served via First Class Mail, postage prepaid, care of the below
11   address, on May 11, 2023:
12
     Christopher O. Rivas
13   REED SMITH LLP
     355 South Grand Avenue, Suite 2900
14   Los Angeles, CA 90071-1514

15            I declare under penalty of perjury under the laws of the State of California that the

16   foregoing is true and correct.

17            Executed on May 11, 2023, Orange County, California.

18

19                                    ____________________________
                                            Sean A. O’Keefe
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Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 102 of 146




                                  EXHIBIT 4




                                                                           090
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 103 of 146




                                                                           091
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 104 of 146




                                                                           092
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 105 of 146




                                                                           093
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 106 of 146




                                                                           094
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 107 of 146




                                                                           095
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 108 of 146




                                                                           096
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 109 of 146




                                                                           097
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 110 of 146




                                                                           098
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 111 of 146




                                                                           099
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 112 of 146




                                                                           100
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 113 of 146




                                                                           101
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 114 of 146




                                                                           102
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 115 of 146




                                                                           103
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 116 of 146




                                                                           104
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 117 of 146




                                                                           105
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 118 of 146




                                                                           106
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 119 of 146




                                                                           107
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 120 of 146




                                                                           108
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 121 of 146




                                                                           109
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 122 of 146




                                                                           110
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 123 of 146




                                                                           111
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 124 of 146




                                                                           112
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 125 of 146




                                                                           113
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 126 of 146




                                                                           114
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 127 of 146




                                                                           115
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 128 of 146




                                                                           116
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 129 of 146




                                                                           117
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 130 of 146




                                                                           118
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 131 of 146




                                                                           119
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 132 of 146




                                                                           120
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 133 of 146




                                                                           121
Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20   Desc
                        Main Document   Page 134 of 146




                                  EXHIBIT 5




                                                                           122
      Case 2:21-bk-11188-BB                 Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                     Desc
                                            Main   Document
DocuSign Envelope ID: 39BF0D9D-3694-40A0-ADBE-9202EBADE998
                                                            Page 135 of 146




                                SETTLEMENT AGREEMENT AND RELEASE

                  This Settlement Agreement and Release ("Settlement Agreement") is entered into by and
          between U.S. Real Estate Credit Holdings Ill-A, LP ("Plaintiff') and Defendant Gary Stiffelman
          ("Defendant") with respect to the matters set fo1th below. Collectively, Plaintiff and Defendant
          are referred to herein as the "Parties", and each are a "Party" hereto.

                                                    RECITALS

                 A.      There is pending in the Superior Court of California, County of Riverside (the
                         "Court"), a civil action entitled US. Real Estate Credit Holdings ill-A, LP v.
                         Glenroy Coachella, LLC, et al. bearing Case No. RJC1905743 (the "Action").

                 B.      Plaintiff commenced the Action seeking to, among other things, enforce an
                         Indemnity and Guaranty Agreement dated April 27, 2018 (all causes of action
                         alleged in the Action, referred to herein as the "Claims").

                 C.      The Parties have agreed to settle all claims against each other arising out of or
                         related to the Action and the Claims in their entirety pursuant to the terms and
                         conditions set forth below.

                  In consideration of the promises, covenants, representations and warranties contained
          herein, and for good and valuable consideration given hereunder, the sufficiency of which is
          hereby acknowledged by the signatories to this Settlement Agreement, the Parties hereby agree
          as follows:

                                           INCORPORATION OF RECITALS

                 The foregoing recitals are an integral part of this Settlement Agreement and are
          incorporated herein by reference.

                                      TERMS, COVENANTS AND CONDITIONS

          1.     EFFECTIVE DATE
                         This Settlement Agreement shall become effective on the last date of full
          execution by the Parties.

          2.     CONSIDERATION

                 2.1     Obligations of Defendant

                  Immediately 'following the execution of this Settlement Agreement, and by not later than
          Friday, April 23 , 2021 (the "Payment Deadline"), Defendant shall cause an electronic transfer in
          immediately available funds in the amount of US $3 ,100,000 (the "Settlement Payment") to be
          made to Plaintiff from the escrow sale of the real property located at 383 Beverly Glen Blvd. ,
          Los Angeles, CA 90024. Additionally, immediately following the execution of this Settlement
          Agreement, Defendant shall send a letter to the escrow agent consistent with the draft attached
          hereto as Exhibit A, with a copy to counsel for Plaintiff, instructing the escrow agent to deliver
          the Settlement Payment to Plaintiff at an account selected by Plaintiff. Should Defendant fail to
          immediately send the letter, Defendant expressly authorizes Plaintiff to do so and to disclose the
          terms of this Settlement Agreement (as well as providing a copy), to the escrow agent
          notwithstanding anything to the contrary in Section 6, below.



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       Case 2:21-bk-11188-BB             Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                           Desc
                                         Main Document   Page 136 of 146
OocuSign Envelope 10: 39BF0D9O-3694-40A0-ADBE-9202EBADE998


            General Release and Settlement Agreement
            Page 2 of7

                    2.2      Obligations of Plaintiff

                            Expressly conditional upon Defendant delivering the timely Settlement Payment
            and delivering an executed copy of this Settlement Agreement to Plaintiff, Plaintiff shall cease
            any efforts to enforce the Action or the Claims against Defendant, with the understanding,
            however, that in the interests of confidentiality that Plaintiff will refrain from dismissing the
            Action or Claims as to Defendant until such time as: (a) the monetary terms of the Settlement
            Agreement are disclosed in accordance with Section 6 below, (b) Plaintiff has obtained judgment
            against the Borrowers and the other guarantors (other than Defendant) in the Action; (c) the debt
            owed to Plaintiff, as further evidenced by the Claims, is fully satisfied; or (d) the real property
            has been forec losed upon by Plaintiff.

                            The timely-made Settlement Payment shall constitute a full and complete
            settlement and compromise of all of Plaintiffs claims against Defendant, whether now known or
            unknown, asserted or unasserted, for damages, costs, and attorney's fees against Defendant
            arising out of or related in any way to the Claims.

            3.      MUTUAL RELEASES

                     In consideration for receipt by Plaintiff of the Settlement Amount, the Plaintiff, for itself
            and on behalf of its successors, entities, and assigns, hereby releases, acquits and forever
            discharges Defendant, and his spouse, heirs, successors, affiliates (including affiliated trusts),
            assigns, and attorneys, of and from any and all claims, demands, obligations, liabilities,
            indebtedness, breaches of contract, breaches of duty or of any relationship, acts, omissions,
            misfeasance, malfeasance, causes of action, defenses, offsets, debts, sums of money, accounts,
            compensation, contracts, controversies, promises, damages, costs, losses and expenses, of every
            type, kind, nature, description or character, whether known or unknown, suspected or
            unsuspected, liquidated or unliquidated, each as though fully set forth herein at length, from any
            and all claims arising out of or relating to the Action and/or Claims, except for any claim for
            relief ari sing from the breach of this Agreement (collectively, the "Plaintiff Released Claims"),
            and Defendant, for himself and on behalf of his successors, entities, and assigns, does hereby
            release, acquit and forever discharge Plaintiff, its successors, affi liates, entities, assigns
            (includ ing, w ithout limitation, Calmwater Asset Management, LLC), and all of their respective
            past and present officers, directors, attorneys, affiliates, employees and agents, of and from any
            and a ll c laims, demands, obligations, liabilities, indebtedness, breaches of contract, breaches of
            duty or of any relationship, acts, omissions, misfeasance, malfeasance, causes of action,
            defenses, offsets, debts, sums of money, accounts, compensation, contracts, controversies,
            promises, damages, costs, losses and expenses, of every type, kind, nature, description or
            character, whether known or unknown, suspected or unsuspected, liquidated or unliquidated,
            each as though fully set forth herein at length arising out of or relating to the Action and/or
            Claims, except for any claim for relief arising from the breach of this Agreement (collectively,
            the "Defendant Released C laims").

                    The Patties each acknowledge that they have read each of the provisions of these
            releases. The Pa1ties fully understand that these releases have important legal consequences and
            realize that they are respectively releasing any and all Plaintiff Released Claims and Defendant
            Released Claims. The Parties each acknowledge that they are represented by competent counsel
            and have obtained their respective lawyer's advice concerning the legal consequences of each of
            the provisions of this release.

                   The Parties hereby specifically acknowledge and agree that any attempt to assert a
            released claim barred by the provisions of this release shall subject such Party to the provisions
            of applicable law setting forth the remedies for the bringing of groundless, frivolous or baseless
            claims or causes of action.


                                                                                                  US_ACTIVE-105849221 4




                                                                                                                  124
      Case 2:21-bk-11188-BB              Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                         Desc
                                         Main Document   Page 137 of 146
DocuSign Envelope ID: 39BF0D9D-3694-40A0-ADBE-9202EBADE998


            General Release and Settlement Agreement
            Page 3 of7

            4.      W AIYER OF CIVIL CODE § 1542

                  The Parties understand the meaning and effect of Section I 542 of the California Civil
            Code which provides:

                             A general release does not extend to claims that the creditor or
                             releasing party does not know or suspect to exist in his or her favor
                             at the time of execuling the release and that, if known by him or
                             her, would have materially affected his or her settlement with the
                             debtor or released party.

                    With regard to Section 1542 of the California Civil Code, the Parties agree to assume the
            risk of any and all unknown, unanticipated or misunderstood defenses with respect to lhe
            Plaintiff Released Claims and Defendant Released Claims which are herein released, and the
            Parties hereby waive and release all rights and benefits that they might otherwise have under
            Section 1542 of the California Civil Code with regard to the release of such unknown,
            unanticipated or misunderstood defenses.

            5.      COOPERATION

                    Defendant understands that it is important that the terms of this Settlement Agreement
            remain confidential and understands that Plaintiff will not be immediately dismissing Defendant
            from the Action. Plaintiff will refrain from seeking formal discovery from Defendant, without
            his permission (e.g., if a subpoena may be needed), and will not file any motions to enforce the
            Claims against Defendant in the Action or in another forum. Defendant will cooperate with
            Plaintiff regarding its pursuit of recoveries with respect to other defendants in the Action and
            with respect to strategic matters in connection with the pending bankruptcy case of Glenroy
            Coachella, LLC, and will provide documents and information reasonably requested by Plaintiff
            in connection with the Action, and will assist Plaintiff (at Plaintiffs expense) regarding any
            necessary authentication or testimony reasonably requested by Plaintiff.

            6.      CONFIDENTIALITY

                    The Parties agree that the terms and conditions of this Agreement, the amount of the
            settlement (including any reference to the range of settlement), all offers or counteroffers, all
            non-publicly disclosed facts, information, documents and/or details about the Action (including,
            but not limited to, all information governed by a protective order or confidentiality order), and all
            other aspects of negotiations between the Parties are confidential and shall not be disclosed or
            revealed by them, except as specified below. The Parties expressly agree that the terms and
            conditions of this Agreement may be disclosed:

                            a.      By the Parties to their tax return preparer, the IRS, accountants, auditors,
            or attorneys;

                            b.     By the Parties if necessary to enforce or litigate over any provision of thi s
            Agreement, provided that the terms of the Settlement Agreement should be filed under seal and
            other steps taken to maintain the confidentiality of its terms to the maximum extent possib le;

                           c.      By Plaintiff solely for purposes of filing or amending its proof(s) of claim
            in the United States Bankruptcy Court;

                          d.     In the event a court or other tribunal of competent jurisdiction shal l
            compel disclosure or production of this Settlement Agreement or any pa1t hereof, the Party
            compelled to disclose will provide immediate written notice to the non-disclosing Party or its


                                                                                                 US_ACTIVE-1058"9221 4




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      Case 2:21-bk-11188-BB              Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                            Desc
                                         Main Document   Page 138 of 146
DocuSlgn Envelope ID: 39BF0D9D-3694-40A0-ADBE-9202EBADE998


            General Release and Settlement Agreement
            Page 4 of7

            attorney and will cooperate with the efforts of the non-disclosing Party to maintain the
            confidentia lity of its terms to the maximum extent possible. For the avoidance of doubt, and
            so lely by way of example, if Defendant is asked in w ritten discovery or deposition for
            information regarding the terms of this Settlement Agreement, Defendant shall object and state
            that there is a Settlement Agreement the terms of which are confidential and that Defendant is
            obl igated to maintain such confidentiality. Defendant shall then promptly notify Plaintiff of the
            issue and may involve P laintiff in meet and confer correspondence and provide Plaintiff with
            notice of any motion to compel so that Plaintiff m ay object and oppose such motion (and if
            Pla intiff is unable to intervene into another proceeding, as a practical matter, Defendant w ill file
            oppositions at Plaintiffs behest and at Plainti ffs expense).

            7.      ENTIRE AGREEMENT

                   The Parties agree that no representations or inducements of any k ind which are not
            contained in this Settlement Agreement have been made by either Party to the other and that no
            matter extra neous to this Settlement Agreement has been relied upon by the Parties as an
            inducement o r otherwise, either verbal or written, in entering into this Settlement Agreement.

            8.      REPRESENTATIONS AND WARRANTIES

                   In making and executing this Settlement Agreement, the Pa rties hereby represent, warrant
            and agree that:

                      8.1   Investigation: The Parties have made such investigation of a ll m atters pertaining
                            to this Settlement Agreement as they deem necessary, and do not rely on any
                            statement, promise or representation by a ny other party with respect to such
                            matters.

                      8.2   Authority to Execute Agreement: The Parties have full power and authority to
                            execute th is Settlement Agreement on their own behalf and, to the extent required
                            by law, have obtained all necessary approvals to do so.

                      8.3   No Assignment of C laims: The Parties each represent and warrant that they have
                            not assigned or otherwise transferred, or attempted to assign or trans fer, any claim
                            o r claims against the other and that there is no other person or legal e ntity that has
                            not executed this Settlement Agreement as a releasing party that has any interest
                            in any such claim or claims.

            9.      NO RESCISSION

                   This Settlement Agreement is intended to be final and binding regardless of any claim of
            misrepresentation, promise made without the intention of performance, concealment of fact,
            mistake of fact or law, duress, or any act, omission or circumstance heretofore or hereafter
            occurring or any other circumstance whatsoever.

            10.     CONSTRUCTION

                    I 0.1   Agreement Prepared by A ll Parties: This Settlement Agreement shall not be
                            construed in favor of or. against any Party on gro unds that said Party prepared the
                            Settlement Agreement, but shall be construed as if all Parties prepared this
                            Settlement Agreement.

                    10.2    Severance: If any provision of this Settlement Agreement is held by a Court of
                            competen t jurisdiction to be invalid, void or unenforceable, the balance of the


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      Case 2:21-bk-11188-BB              Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                           Desc
                                         Main Document   Page 139 of 146
DocuSign Envelope ID· 39BF0D9D-3694-40A0-ADBE-9202EBADE998


            General Release and Settlement Agreement
            Page 5 of7

                             provisions shall nevertheless remain in full force and effect. The waiver of any
                             one provision of this Settlement Agreement shall not be deemed a waiver of any
                             other provision hereof.

                     I 0.3   California Law: This Settlement Agreement shall in all respects be interpreted and
                             governed by and under the laws of California.

                     l 0.4   Headings: Headings or captions contained in this Settlement Agreement are solely
                             for the convenience of the Parties, are not a part of this Settlement Agreement,
                             and shall not be used for the interpretation of, or determination of the validity of,
                             this Settlement Agreement or any provision hereof.




            11.     INTEGRATION

                    This Settlement Agreement constitutes a single integrated written contract expressing the
            entire agreement between the Parties. There are no other agreements, written or oral, express or
            implied, between the Parties except as set forth in this Settlement Agreement, and this Settlement
            Agreement supersedes and replaces all prior negotiations and agreements between the Parties, or
            any of them, whether w ritten or oral, relating to the Action or Account.

            12.     NOTICES
                    Any notice or communication required under this Settlement Agreement shall be
            effective w hen received and sufficient if given in writing, and shall be addressed as fo llows:

                             For Plaintiffs:                 U.S. Real Estate Holdings m-A,L.P
                                                             c/o Calmwater Asset Management, LLC
                                                             11755 Wilshire, Blvd., Suite 1425
                                                             Los A ngeles, CA 90025
                                                             Attn: Simond Lavian

                                                             With a copy to:
                                                             Marsha A. Houston
                                                             Christopher 0. Rivas
                                                             REED SMITH LLP
                                                             355 South Grand A venue, Suite 2900
                                                             Los Angeles, CA 90071


                             For Defendant:                  Gary Stiffelman
                                                             5011 Serena Circle, Tarzana, CA 9 I 356

                                                             With a copy to:
                                                             Damian D. Capozzola
                                                             Timothy Laguer
                                                             LAw OFFICES or DAMIAN D. CAPOZZOl ,A
                                                             609 Deep Valley Drive, Ste. 3 10
                                                             Rolling Hills Estates, CA 90274
                                                                    -and-
                                                             Richard M. Pachulski


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      Case 2:21-bk-11188-BB              Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                          Desc
                                         Main Document   Page 140 of 146
DocuSign Envelope ID: 39BF0D9D-3694-40A0-ADBE-9202EBADE998


            General Release and Settlement Agreement
            Page 6 of 7

                                                             Pachulski Stang Ziehl & Jones
                                                             IO I 00 Santa Monica Blvd., 13th Floor
                                                             Los Angeles, CA 90067-4003

            13.     OTHER

                     15.1   No Modification Except in Writing: This Settlement Agreement may not be
                            changed, modified or amended unless by a written instrument signed by the
                            Parties.

                     15.2   Futther Cooperation: The Parties agree to execute promptly any and all additional
                            documents necessary to implement this Settlement Agreement.

            14.     COUNTERPARTS

                    This Settlement Agreement may be executed in multiple counterpart copies and/or by
            facsimi le signature, each of which shall be deemed an original.

                                                    [Signatures on Following Page]




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Case 2:21-bk-11188-BB          Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                     Desc
                               Main Document   Page 141 of 146

    General Release and Settlement Agreement
    Page 7 of7

                                     ACCEPTED AND AGREED

               /          2.
    DATED: r\_P1tl __1.,, _ , 2021           U.S. REAL ESTATE CREDIT
                                             HOLDINGS 1LI~A, LP /
                                                        /
                                                        I
                                                            \
                                                            )    1
                                                                     ('   ,· ,----.,.

                                                     I       ., ----··· ----- ·····-
                                             By:caimwater ;G~et Management, CLc; ·;; .
                                             Delaware limited liability company
                                                 Its: Investment Manager
                                                     By: Dean Chang, Authorized Signer


   DATED:                  , 2021           GARY STIFFELMAN



                                            Gary Stiffelman ·




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       Case 2:21-bk-11188-BB             Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                           Desc
                                         Main Document   Page 142 of 146
DocuSign Envelope ID: 39BF0D9D-3694-40A0-ADBE-9202EBADE998


             General Release and Settlement Agreement
            .P age 7 of7

                                                 ACCEPTED AND AGREED


            DATED: _ _ __             , 2021                     U.S. REAL ESTATE CRRDIT
                                                                 HOLDINGS III-A, LP



                                                                 By: Calmwater Asset Management, LLC, a
                                                                 Delaware limited liability company
                                                                     Its: Investment Manager
                                                                         By: Dean Chang, Authorized Signer



            DATED: April 22nd , 2021                             GARY STIFFELMAN
                                                                   OocuSlgn1d by:

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       Case 2:21-bk-11188-BB              Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                     Desc
                                          Main Document   Page 143 of 146
DocuSign Envelope ID: 39BF0D9D-3694-40A0-ADBE-9202EBADE998


            General Release and Settlement Agreement
            Page 8 of7

                                                             EXHIBIT A


            Gary Stiffelman
                                                                                                      310-709-2200
                                                                                         gary.stiffelman@gmail.com



            Re: Escrow No. 018038-MD

            To: Camden Escrow:

            We write to you in connection with cettain obligations owed by Gary Stiffelman to U.S. Real
            Estate Credit Holdings III-A, LP ("Lender") pursuant to a Settlement Agreement and Release
            (the "Settlement Agreement"). Mr. Stiffelman is obligated to pay to Lender the sum of US
            $3,100,000.00 (the "Settlement Payment") from the proceeds of this escrow.

            Please be advised that, pursuant to the Settlement Agreement, you are to immediately remit the
            Settlement Payment to Lender by wire as fo llows:

                    Wells Fargo Bank
                    ABA #: 121000248
                    Account#:4375500956
                    Credit: U.S. Real Estate Credit Holdings
                    Reference: 230600 I

            Should you have any questions about this, please contact the undersigned. Thank you for your
            assistance.



            DATED: April 22nd , 2021                         GARY STIFFELMAN




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                                                                                                              131
Case 2:21-bk-11188-BB        Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20                      Desc
                             Main Document   Page 144 of 146


  1
                                    PROOF OF SERVICE OF DOCUMENT
  2

  3   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 26 Executive Park, Suite 250, Irvine, CA 92614.
  4
      A true and correct copy of the foregoing document entitled: DEFENDANT ELLIOT B. LANDER’S
  5   OPPOSITION TO CHAPTER 7 TRUSTEE’S MOTION FOR ENTRY OF ORDER (1)
      DETERMINING THAT TRUSTEE DOES NOT HAVE TO RESPOND TO NON-BANKRUPTCY
  6   COURT SUBPOENA FOR FAILURE TO COMPLY WITH BARTON DOCTRINE; OR, IN THE
      ALTERNATIVE, (2) AUTHORIZING TRUSTEE TO INCUR ADMINISTRATIVE EXPENSES
  7   AND TO USE ESTATE PROPERTY TO RESPOND TO NON-BANKRUPTCY COURT
      SUBPOENA; DECLARATION OF SEAN A. O’KEEFE IN SUPPORT THEREOF will be served or
  8   was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
      manner stated below:
  9
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 10   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On August 23, 2023, I checked the CM/ECF docket for this bankruptcy case or
 11   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
 12

 13       Service information continued on attached page

 14   2. SERVED BY UNITED STATES MAIL: On ____________, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
 15   correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 16   completed no later than 24 hours after the document is filed.

 17       Service information continued on attached page

 18   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION
      OR EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
 19   LBR, ____________, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 20   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 21
          Service information continued on attached page.
 22

 23   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
      correct.
 24
        8/20/2023                 Sean A. O’Keefe                         /s/ Sean A. O’Keefe
 25     Date                     Printed Name                             Signature
 26

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Case 2:21-bk-11188-BB   Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20         Desc
                        Main Document   Page 145 of 146


                                             NEF LIST
  1

  2   Steven M Berman sberman@shumaker.com,
      cparrish@shumaker.com;bgasaway@shumaker.com
  3   Joseph Boufadel jboufadel@salvatoboufadel.com,
      Gsalvato@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
  4   Daren Brinkman firm@brinkmanlaw.com, 7764052420@filings.docketbird.com
      Caroline Djang cdjang@buchalter.com, docket@buchalter.com;lverstegen@buchalter.com
  5
      Jenny L Doling jd@jdl.law,
  6   dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net
      Jonathan R Doolittle jonathan.doolittle@pillsburylaw.com, courtalertecf@pillsburylaw.com
  7   Richard T Egger richard.egger@bbklaw.com, linda.tapia@bbklaw.com
      Eryk R Escobar eryk.r.escobar@usdoj.gov
  8   Chad V Haes chaes@marshackhays.com,
      chaes@ecf.courtdrive.com;cmendoza@ecf.courtdrive.com;cmendoza@marshackhays.com;kfreder
  9
      ick@ecf.courtdrive.com
 10   Brian Stuart Harnik bharnik@rhlawfirm.com, bharnik@rhlawfirm.com
      Sarah Rose Hasselberger shasselberger@marshackhays.com,
 11   shasselberger@ecf.courtdrive.com;cbastida@marshackhays.com;kfrederick@ecf.courtdrive.com
      D Edward Hays ehays@marshackhays.com,
 12   ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
      oza@ecf.courtdrive.com
 13
      William C Hoggard wch@wchlawgroup.com, admin@wchlawgroup.com
 14   Mark S Horoupian mark.horoupian@gmlaw.com,
      mhoroupian@ecf.courtdrive.com;cheryl.caldwell@gmlaw.com;karen.files@gmlaw.com
 15   Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
      Aluyah Imoisili aimoisili@drwelchlaw.com
 16   Sandra Khalili skhalili@rpblaw.com, maltamirano@rpblaw.com
 17   Michael S Kogan mkogan@koganlawfirm.com
      Timothy R Laquer trl@ddclaw.com, trl@ddclaw.com
 18   Crystle Jane Lindsey crystlelindsey27@gmail.com
      Tinho Mang tmang@marshackhays.com,
 19   tmang@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@ecf.courtdrive.com
      Richard A Marshack (TR) pkraus@marshackhays.com,
 20   rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
 21   Stacey A Miller smiller@tharpe-howell.com
      Michael K Murray mkmurray@lanak-hanna.com, lrarriaga@lanak-hanna.com
 22   Dustin Nirschl dustin.nirschl@bbklaw.com,
      linda.tapia@bbklaw.com;wilma.escalante@bbklaw.com
 23   Ryan D O'Dea rodea@shulmanbastian.com, lgauthier@shulmanbastian.com
      Sean A OKeefe sokeefe@okeefelc.com, seanaokeefe@msn.com
 24   Zachary Page ztp@lnbyg.com
 25   R Gibson Pagter gibson@ppilawyers.com, pagterandperryisaacson@jubileebk.net
      Ronak N Patel rpatel@rivco.org, suhernandez@rivco.org;dresparza@rivco.org
 26   Matthew D Pham mpham@allenmatkins.com, mdiaz@allenmatkins.com
      Sheila M Pistone sheila@pistonelawoffice.com, sheilapistone@yahoo.com
 27   Maria Plumtree agrow@plumtreelaw.com, mplumtree@plumtreelaw.com
      Thomas J Polis tom@polis-law.com, paralegal@polis-law.com;r59042@notify.bestcase.com
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                                                 3                                133
Case 2:21-bk-11188-BB    Doc 769 Filed 08/23/23 Entered 08/23/23 15:37:20         Desc
                         Main Document   Page 146 of 146


      Arvind Nath Rawal arawal@aisinfo.com
  1   Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
  2   Debra Riley driley@allenmatkins.com
      Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
  3   James R Selth jselth@wztslaw.com,
      jselth@yahoo.com;maraki@wztslaw.com;sfritz@wztslaw.com
  4   Leonard M Shulman lshulman@shulmanbastian.com
      Evan L Smith els@elsmithlaw.com
  5
      Alan G Tippie Alan.Tippie@gmlaw.com,
  6   atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denise.walke
      r@gmlaw.com
  7   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
      Daniel J Weintraub dweintraub@wztslaw.com, vinnet@ecf.inforuptcy.com
  8   Beth Ann R. Young bry@lnbyg.com, bry@lnbyb.com
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